12-12020-mg          Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                A Pg 1 of 85



 VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED
 BY AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF
 DEALING AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS

 A. SINGLE ENTITY THEORIES OF LIABILITY

      1. Piercing The Corporate Veil And Alter Ego Claims

        The Examiner has been charged with investigating any potential claim(s) against AFI
 under theories of piercing the corporate veil and/or alter ego liability.1 The Examiner
 concludes that Delaware law would govern and recognizes the existence of a potential claim
 by ResCap to pierce its own corporate veil that, if successful, could result in a judgment
 holding AFI liable for all of ResCap’s debts.2 The Examiner further concludes, however, that
 it is unlikely that any such potential veil-piercing claim would prevail.

      Courts do not lightly pierce the corporate veil. A successful veil-piercing claim would
 require proof both (1) that ResCap and AFI operated as a “single economic entity”; and (2) of
 the presence of an “overall element of injustice or unfairness.” Proof that AFI and ResCap
 operated as a “single economic entity” would have to do more than show that ResCap was
 AFI’s wholly owned subsidiary or that AFI exercised the degree of control over ResCap that is
 typical of parent-subsidiary relationships. Likewise, the requisite “injustice or unfairness”
 must be something akin to fraud and the mere fact that ResCap is now unable to satisfy all the
 claims of its creditors would not be enough. Although the likelihood of success of a potential
 veil-piercing claim cannot be determined with complete certainty,3 here the evidence would
 pose obstacles to any plaintiff seeking to surmount these high legal hurdles.
 1   See AFI Settlement and Plan Sponsor Agreement, at 1; Examiner Scope Approval Order. The Examiner’s
     description of the potential liability of AFI under such a theory as a “claim” is not a conclusion concerning
     whether such a theory is best described under applicable law as an equitable remedy or as a cause of action.
     See, e.g., Stern v. Singh Factors, LLC (In re Shore to Shore Realty Inc.), Adv. No. 09-08296, 2011 Bankr.
     LEXIS 415, at *17 (Bankr. E.D.N.Y. Feb. 1, 2011) (“While piercing the corporate veil is sometimes referred
     to as a cause of action or a claim, it is also viewed as a remedy imposed based on the facts and circumstances
     of the case.”).
 2   Courts have often used the terms “alter ego,” “veil piercing,” and “instrumentality” liability interchangeably
     when analyzing claims to disregard corporate separateness. See Pearson v. Component Tech. Corp.,
     247 F.3d 417, 485 n.2 (3d Cir. 2001) (“Although the tests employed to determine when circumstances
     justifying ‘veil-piercing’ exist are variously referred to as the ‘alter ego,’ ‘instrumentality,’ or ‘identity’
     doctrines, the formulations are generally similar, and courts rarely distinguish them.”); Mobil Oil Corp. v.
     Linear Films, Inc., 718 F. Supp. 260, 266 (D. Del. 1989) (“The terminology used by courts in considering
     whether a parent corporation will be held liable for the actions of its subsidiary has not been a model of
     clarity . . . . A subsidiary found to be the ‘alter ego’ of its parent company could likewise be designated its
     ‘instrumentality.’”). Unless specifically noted otherwise, the Examiner does not distinguish between those
     terms.
 3   See PSG Poker, LLC v. DeRosa-Grund, Civ. No. 06-1104, 2008 U.S. Dist. LEXIS 4225, at *36 (S.D.N.Y.
     Jan. 22, 2008) (noting that “the standard to be met [to pierce the corporate veil under Delaware law] is high (and,
     it should be recognized, less than clear)”); Allied Capital Corp. v. GC-Sun Holdings, LP, 910 A.2d 1020,
     1043 (Del. Ch. 2006) (“[T]he tests used to determine whether a corporate veil should be pierced, or an entity
     should be considered a mere alter ego, yield few predictable results.”) (quotation marks omitted).

                                                        VII-A-1
12-12020-mg      Doc 3698-20       Filed 05/13/13 Entered 05/13/13 17:08:13              Section VII
                                         A Pg 2 of 85




      The Investigation has uncovered evidence indicating the presence of certain indicia that
 ResCap and AFI operated as a single economic entity. ResCap’s conduct in connection with
 certain Affiliate Transactions (e.g., the 2006 Bank Restructuring, the MSR Swap and the
 Pipeline Swap, the First 2009 Tax Allocation Agreement and the Second 2009 Tax Allocation
 Agreement, and the allocation of liability in connection with the FRB/FDIC Settlement and
 the DOJ/AG Settlement) departed in some important respects from appropriate corporate
 formalities, including the requirements of ResCap’s Operating Agreement. For example, as
 detailed in Section V.A, the 2006 Bank Restructuring, whereby ResCap transferred its 100%
 controlling interest in Old GMAC Bank for a non-voting interest in IB Finance and other
 consideration (with a value of approximately $390–465 million less than the value of the
 controlling interest in Old GMAC Bank that it parted with), was approved by the ResCap
 Board without any formal fairness opinion or valuation and without disclosure to the
 Independent Directors of material information about potential alternatives that would have
 been more favorable to ResCap. Moreover, there is evidence—in particular after the closing of
 the Cerberus PSA—of interference in the day-to-day operations of ResCap by AFI and
 Cerberus (particularly Cerberus personnel who had assumed positions with AFI) outside the
 normal lines of corporate authority.

      The Investigation also revealed evidence that could be used to attempt to prove that
 certain Affiliate Transactions constituted a “siphoning” of assets from ResCap, including with
 respect to the 2006 Bank Restructuring and the Second 2009 Tax Allocation Agreement.
 Affiliate Transactions where ResCap received less than fair market value appear, however, to
 have been the exception—not the rule. Apart from those exceptions, the various asset sales,
 financings, and derivatives transactions ResCap entered into with AFI and its affiliates
 provided ResCap with essential liquidity and resulted in ResCap’s receipt of at least—and
 sometimes more than—fair value. Moreover, any inference of “siphoning” that could
 otherwise arise would be undermined by the more than $8 billion in financial support that
 ResCap received from AFI beginning in 2007 in the form of cash contributions, debt
 forgiveness, and contributions of other assets.

       There is also other evidence in the factual record that is inconsistent with the theory that
 ResCap and AFI operated as a single economic entity. For example, rather than being set up
 for financial failure, ResCap was neither inadequately capitalized nor insolvent at or around its
 formation. Instead, AFI contributed to ResCap in 2005 the subsidiaries RFC and GMAC
 Mortgage together with $2 billion in capital in the form of debt forgiveness. ResCap soon
 thereafter raised billions of dollars in outside financing and would report hundreds of millions
 of dollars of net income in 2005 and 2006. ResCap is also unlikely to be considered a “mere
 façade” for AFI, given that ResCap and its subsidiaries operated multiple businesses,
 employed thousands of people, and entered into independent contractual relationships with a
 wide variety of outside parties.

      Even assuming arguendo that ResCap and AFI were proven to be a single economic
 entity, a plaintiff would still face significant obstacles to establishing the second “injustice or
 unfairness” element of any veil-piercing claim. The available evidence does not appear to fit


                                              VII-A-2
12-12020-mg        Doc 3698-20       Filed 05/13/13 Entered 05/13/13 17:08:13               Section VII
                                           A Pg 3 of 85




 the typical paradigm of “injustice or unfairness” sometimes found sufficient to pierce the
 corporate veil, where a subsidiary became unable to satisfy its creditors either because it was
 undercapitalized by its parent at formation or later siphoned of assets by its parent. By
 contrast, here ResCap was not undercapitalized at formation, and those Affiliate Transactions
 where ResCap received less than fair value were dwarfed in size by the $8 billion in
 contemporaneous financial support provided by AFI. The better view of the evidence appears
 to be that ResCap became unable to satisfy its creditors because of the billions of dollars in
 operating losses it recorded beginning in the fourth quarter of 20064 through the end of 20075
 (which were sufficient to render ResCap insolvent), followed by billions of dollars in
 additional operating losses in 2008 and 20096—not because of an abuse of the corporate form
 by AFI.

      The Examiner does not expect any potential alternative theories of “injustice or
 unfairness” to fare better. For example, although the evidence supports the proposition that
 AFI’s financial support of ResCap was at all times self-interested and generally inadequate to
 do more than maintain ResCap on “life support,” the Investigation has uncovered no
 significant evidence that ResCap or its creditors were harmed as a result. That AFI may have
 continued to support ResCap as a means to the end of achieving bank holding company status
 and obtaining TARP funds does not change the effect of that support on ResCap’s balance
 sheet. Without more, the Examiner expects that such theories would prove insufficient to
 warrant piercing the corporate veil and therefore concludes that such claims would not
 succeed.

              a. Choice Of Law

      The Second Circuit Court of Appeals and lower courts in this circuit have in general
 recognized that “[t]he law of the state of incorporation determines when the corporate form




 4   See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 54 (fourth quarter 2006
     operating loss of $651 million); see also Section III.F.
 5   See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 56 (2007 net loss of
     $4.3 billion); see also Section III.G.
 6   See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 3, 2009), Item 9.01 (2008 net loss of
     $5.6 billion); see also Sections III.H and III.I.

                                                 VII-A-3
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                               A Pg 4 of 85




 will be disregarded and liability will be imposed on shareholders.”7 According to those courts,
 “[b]ecause a corporation is a creature of state law whose primary purpose is to insulate
 shareholders from legal liability, the state of incorporation has the greater interest in
 determining when and if that insulation is to be stripped away.”8 Under this approach,
 Delaware law would apply to any potential veil-piercing claim brought on behalf of ResCap
 against AFI, because ResCap (i.e., the entity with the “corporate veil” that needs to be
 “pierced” to reach indirect parent AFI) is organized under the laws of Delaware.9

       Nonetheless, certain decisions by courts in this circuit have held or suggested that, at
 least in limited circumstances, the substantive law of a jurisdiction other than the jurisdiction
 of incorporation might be applied to a veil-piercing claim. For example, at least one such court
 has recognized that the veil-piercing law of the jurisdiction of incorporation may be
 “disregard[ed] . . . when the Defendant’s contacts and the events at issue in the case
 substantially implicate [a different jurisdiction]” and contacts with the jurisdiction of




 7   Fletcher v. Atex, Inc., 68 F.3d 1451, 1456 (2d Cir. 1995) (“Because [subsidiary] Atex was a Delaware
     corporation, Delaware law determines whether the corporate veil can be pierced in this instance.”); see also
     Quinn v. Teti, No. 99-9433, 2000 U.S. App. LEXIS 27210, at *7–8 & n.2 (2d Cir. Oct. 27, 2010) (assuming
     that Idaho law applies to veil-piercing claims where subsidiary “was an Idaho corporation”); Kalb, Voorhis &
     Co., v. Am. Fin. Corp., 8 F.3d 130, 132 (2d Cir. 1993) (“Texas substantive law applies to this alter ego claim
     because Texas is the place of [the subsidiary’s] incorporation”); Official Comm. of Unsecured Creditors v.
     Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R. 112, 133 (Bankr. S.D.N.Y. 2009) (Glenn,
     J.) (“Since Holdings, Holdco and most of the other corporate entities here are based in Delaware, Delaware
     law applies to the veil-piercing and fiduciary-breach claims.”); In re Alper Holdings USA, Case
     No. 07-12148, 2008 Bankr. LEXIS 522, at *16 n.7 (Bankr. S.D.N.Y. Feb. 25, 2008) (“[T]he law of the state
     of incorporation controls the analysis of alter ego claims and, accordingly, Delaware law controls our
     analysis.”); Official Comm. of Unsecured Creditors of RSL Com Primecall, Inc. v. Beckoff (In re RSL Com
     Primecall, Inc.), Adv. Proc. No. 03-2176, 2003 Bankr. LEXIS 1635, at *24 (Bankr. S.D.N.Y. Dec. 11, 2003)
     (applying Delaware veil-piercing law “[s]ince [subsidiary] RSL USA is a Delaware corporation”); Duke
     Energy Trading and Mktg., LLC v. Enron Corp. (In re Enron Corp.), Adv. Proc. No. 02-3609A, 2003 Bankr.
     LEXIS 330, at *10 n.11 (Bankr. S.D.N.Y. Apr. 17, 2003) (applying Delaware law to determine “whether the
     Debtors have the right to assert a claim to pierce their own corporate veils” where the debtors “whose
     corporate veils the Duke Entities seek to pierce, are Delaware corporations or, in one instance, a Delaware
     limited liability company”).
 8   Kalb, Voorhis & Co., 8 F.3d at 132 (quoting Soviet Pan Am Travel Effort v. Travel Comm., 756 F. Supp. 126,
     131 (S.D.N.Y. 1991)).
 9   Assuming arguendo that the veil of ResCap’s direct parent GMAC Mortgage Group LLC would separately
     need to be pierced, it too is organized under the laws of Delaware. As discussed at Section VII.A.1.c, there
     appear to be unsettled questions of Delaware law concerning whether and how intermediate entities like
     GMAC Mortgage Group LLC should be taken into consideration when assessing a veil-piercing claim against
     an indirect parent entity (here, AFI).

                                                     VII-A-4
12-12020-mg          Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                                A Pg 5 of 85




 incorporation are minimal or nonexistent.10 Moreover, “a separate line of cases . . . has applied
 substantive New York state law to veil piercing claims” where the parties “agreed, by briefing
 the veil piercing claim solely under New York law or otherwise, to apply New York law to the
 claim,” and New York law and the law of the jurisdiction of incorporation are “virtually
 identical.”11

       Although the case law is not entirely uniform in this respect, the Examiner concludes that
 the application of Delaware law to the assessment of potential veil-piercing claims is
 consistent with the weight of authority in this circuit. Moreover, none of the parties has argued
 that the law of a different jurisdiction should apply here.12

                b. Can A Debtor Pierce Its Own Corporate Veil?

      AFI, the Creditors’ Committee, and the Debtors agree that “Delaware law allows a
 subsidiary to maintain an action [to pierce its own corporate veil] against a corporate




 10   See Hayden Capital USA, LLC v. Northstar Agri Indus., LLC, Civ. No. 11-594, 2012 U.S. Dist. LEXIS 58881,
      at *17–19 (S.D.N.Y. Apr. 23, 2012) (applying law of “Delaware, as the state of incorporation” to successor
      liability claim where although defendants’ “contacts with Delaware are minimal, their contacts with
      New York are non-existent”); see also UBS Sec. LLC v. Highland Capital Mgmt., LP, 93 A.D.3d 489,
      490 (N.Y. App. Div. 2012) (holding that “[t]he motion court correctly ruled that New York law governs
      plaintiff’s veil-piercing claim” where entity was incorporated in Cayman Islands but had no other ties there);
      Serio v. Ardra Ins. Co., 304 A.D.2d 362, 362 (N.Y. App. Div. 2003) (New York law applied to claim to pierce
      the veil of entity “incorporated in Bermuda, [where its] contacts with that jurisdiction were minimal”).
 11   See Wausau Bus. Ins. Co. v. Turner Constr. Co., 141 F. Supp. 2d 412, 417 (S.D.N.Y. 2001) (“As the standards
      for piercing the corporate veil are substantially similar under Delaware and New York law, New York law
      will be applied as per the parties’ submissions.”) (internal citation omitted); Kempf v. Mitsui Plastics, Inc.,
      Civ. No. 96-1106, 1996 U.S. Dist. LEXIS 17240, at *9 n.1 (S.D.N.Y. Nov. 18, 1996) (“Since there is no
      dispute between the parties, and they have not briefed the law of any other jurisdiction, I will apply New York
      law. I note, however, that the parties’ assumption is probably incorrect [because Delaware was the state of
      incorporation].”); S.J. Berwin & Co. v. Evergreen Entm’t Group, Inc., Civ. No. 92-6209, 1995 U.S. Dist.
      LEXIS 15155, at *5–6 (S.D.N.Y. Oct. 12, 1995) (“Although it is clear that Delaware law should have applied
      to the piercing claim [of a Delaware corporation] from the outset, the law of the case doctrine, the conduct of
      the parties, and the fact that Delaware’s piercing standard is not all that different from the one used in New
      York suggest that New York law should continue to apply.”).
 12   See AFI Submission Paper, dated Dec. 19, 2012, at 3 (“Delaware law will govern any claim to pierce the
      corporate veil”); Debtors’ Submission Paper, dated Dec. 18, 2012, at 86 (“Delaware law applies to any alter
      ego claims asserted against AFI or the Debtors”); Creditors’ Committee Submission Paper, dated Mar. 7,
      2013, at 88 n.71 (“Delaware law governs the Committee’s veil-piercing claim”); Wilmington Trust
      Submission Paper, dated Oct. 24, 2012, at 30 (“Delaware law applies to any veil piercing analysis . . . .”).

                                                       VII-A-5
12-12020-mg            Doc 3698-20            Filed 05/13/13 Entered 05/13/13 17:08:13                             Section VII
                                                    A Pg 6 of 85




 parent.”13 Although the Examiner concludes that those parties are correct, further discussion is
 warranted because “there is a great deal of ambiguity regarding whether [such] an alter ego
 claim or remedy [is available and] constitutes property of the estate.”14 “Bankruptcy courts
 normally determine whether any alter ego claims are included in the bankruptcy estate by
 looking at the law of the state where the corporate debtor is incorporated.”15 “[B]ecause the
 issue of whether alter ego claims constitute estate assets turns on state law, courts in different
 jurisdictions have come to different conclusions.”16

 13   Debtors’ Amended Joinder to Motion By Ally Financial Inc. and Ally Bank for an Order Enforcing the
      Automatic Stay Pursuant to 11 U.S.C. Section 362(a)(3) (Feb. 4, 2013) [Docket No. 2834] at 7; see also Motion
      By Ally Financial Inc. and Ally Bank for an Order Enforcing the Automatic Stay Pursuant to 11 U.S.C.
      § 362(a)(3) (Dec. 21, 2012) [Docket No. 2511] at 9 (“[A] bankruptcy trustee or debtor in possession has the right
      [under Delaware law] to assert a veil-piercing or alter ego claim on behalf of the estate.”); AFI Submission
      Paper, dated Dec. 19, 2012, at 25 (“[E]ven if there were a potentially viable veil-piercing claim against AFI (and
      there is not), such a claim is the property of ResCap’s estate . . . .”); Creditors’ Committee Submission Paper,
      dated Mar. 7, 2013, at 87 n.68 (“[A]s a general matter, the veil-piercing claim belongs to the estate.”).
 14   In re Flintkote Co. and Flintkote Mines Ltd., 486 B.R. 99, 119 (Bankr. D. Del. 2012); see also
      Limor v. Buerger (In re Del-Met Corp.), 322 B.R. 781, 830 (Bankr. M.D. Tenn. 2005) (“A variety of fact
      patterns, difficult or nonexistent state law and not altogether consistent interpretations of state law by federal
      courts have produced a patchwork of reported decisions addressing whether a bankruptcy trustee has standing
      to disregard corporate form in an action to reach the assets of a nondebtor or to hold a nondebtor responsible
      for debts of the debtor.”); Raytheon Co. v. Boccard USA Corp., 369 S.W.3d 626, 636 (Tex. Ct. App. 2012)
      (“The decisions [concerning] whether a trustee has standing to assert an alter ego claim on behalf of the
      bankruptcy estate . . . vary widely from state to state.”).
 15   MeccaTech, Inc. v. Kiser, Civ. No. 05-570, 2008 U.S. Dist. LEXIS 30829, at *36 (D. Neb. Apr. 15, 2008); see also
      Kalb, Voorhis & Co. v. Am. Fin. Corp., 8 F.3d 130, 132 (2d Cir. 1993) (“If under governing state law the debtor could
      have asserted an alter ego claim to pierce its own corporate veil, that claim constitutes property of the bankrupt estate
      and can only be asserted by the trustee or the debtor-in-possession.”); Mixon v. Anderson (In re Ozark Restaurant
      Equip. Co.), 816 F.2d 1222, 1226 n.7 (8th Cir. 1987) (“It is possible that some states permit the corporation or its
      stockholders to assert an alter ego cause of action to pierce the corporate veil, and thus, that a bankruptcy trustee would
      be able to enforce the claim . . . .”); Mannucci v. Cabrini Med. Ctr. (In re Cabrini Med. Ctr.), Civ. No. 12-6661, 2012
      U.S. Dist. LEXIS 180896, at *20 (S.D.N.Y. Dec. 20, 2012) (“[T]he question of whether a veil-piercing claim is
      property of the estate . . . is a matter determined by the source of law giving rise to the veil piercing claim.”);
      Krasny v. Bagga (In re Jamuna Real Estate, LLC), 365 B.R. 540, 563 (Bankr. E.D. Pa. 2007) (“[T]he majority of the
      decisions have allowed a trustee to bring an alter ego claim, but the result is a function of the underlying state law.”);
      Turner v. Bolduc (In re Crowe Rope Indus., LLC), 307 B.R. 1, 6 (Bankr. D. Me. 2004) (“Whether a corporation can
      pierce its own veil must be determined under state law.”); Duke Energy Trading and Mktg., LLC v. Enron Corp. (In re
      Enron Corp.), Adv. Proc. N 02–3609A, 2003 Bankr. LEXIS 330, at *10 (Bankr. S.D.N.Y. Apr. 17, 2003) (“Where a
      debtor has a right to assert an alter ego claim to pierce its own corporate veil under applicable state law, that claim is
      property of the debtor’s estate and the claim may only be asserted by the trustee or debtor-in-possession.”); 5 [COLLIER
      oN BANKRUPTCY] 541.07[5] (16th Ed. 2012) (“Bankruptcy trustees sometimes sue corporate affiliates of the debtor
      under a theory of alter ego. The standing of the trustee . . . generally depends upon whether, under nonbankruptcy law,
      the debtor itself would have had standing.”).
 16   In re Flintkote Co. and Flintkote Mines Ltd., 486 B.R. at 120 & n.57 (confirming plan of reorganization that
      provided for “abandonment of the alter ego claim, to the extent the estate holds one”) (collecting cases); see
      also William T. Vukovich, Civil Remedies in Bankruptcy for Corporate Fraud, 6 AM. BANKR. INST. L. REV.
      439, 461–62 (Winter 1998) (“Because different states answer this question differently, some cases hold that it
      is the right of the estate and assertable by the trustee while others conclude that it is the right of creditors and
      may not be asserted by the trustee.”).

                                                            VII-A-6
12-12020-mg           Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                 A Pg 7 of 85




       Although “[i]t may seem strange to allow a corporation to pierce its own veil, since it
 cannot claim to be . . . a creditor that was deceived or defrauded by the corporate fiction,”
 various courts have recognized that the laws of several states permit “a debtor corporation to
 pursue a claim based upon such a theory.”17 Courts that have recognized such a claim have
 done so in part because, under the applicable substantive law, “piercing the corporate veil or
 alter ego causes of action are based upon preventing inequity or unfairness” and “are not
 based solely on a policy of protecting creditors.”18 Those courts also have “reasoned that
 allowing the representative of a corporation’s bankruptcy estate to assert the claim, rather than




 17   Phar-Mor, Inc. v. Coopers & Lybrand, 22 F.3d 1228, 1240 n.20 (3d Cir. 1994); see also Baillie Lumber Co.,
      LP v. Thompson, 413 F.3d 1293, 1295 (11th Cir. 2005) (Georgia law); Steyr-Daimler-Puch of Am. Corp. v.
      Pappas, 852 F.2d 132, 136 (4th Cir. 1988) (Virginia law); Koch Refining v. Farmers Union Cent. Exch., Inc.,
      831 F.2d 1339, 1346 (7th Cir. 1987) (Illinois and Indiana law); S.I. Acquisition, Inc. v. Eastway Delivery
      Serv., Inc. (In re S.I. Acquisition, Inc.), 817 F.2d 1142, 1153 (5th Cir. 1987) (Texas law); St. Paul Fire and
      Marine Ins. Co v. PepsiCo, Inc., 884 F.2d 688, 703 (2d Cir. 1989) (Ohio law); Schupper v. Gefreh (In re
      Monument Gun Shop, Inc.), Civ. No. 98-2288, 1999 U.S. Dist. LEXIS 23590, at *33–34 (D. Colo. Sept. 30,
      1999) (Colorado law); Towe v. Martinson, 195 B.R. 137, 140–41 (D. Mont. 1996) (Montana law); ANR
      Limited Inc. v. Chattin, 89 B.R. 898, 904 (D. Utah 1988) (Utah law); In re Cabrini Med. Ctr., Bankr. Case.
      No. 09-14398, 2012 Bankr. LEXIS 2747, at *28 (Bankr. S.D.N.Y. June 15, 2012) (New York law), aff’d, Civ.
      No. 12-6661, 2012 U.S. Dist. LEXIS 180896, at *21 (S.D.N.Y. Dec. 20, 2012); Slone v. Lorenz (In re
      Lorenz), Adv. No. 10-3264, 2011 Bankr. LEXIS 738, at *30 (Bankr. S.D. Ohio Mar. 8, 2011) (Ohio law); In
      re Jamuna Real Estate, LLC, 365 B.R. at 564 (Pennsylvania law); In re Bridge Info. Sys., Inc., 325 B.R. 824,
      833–34 (Bankr. E.D. Mo. 2005) (Missouri Law), aff’d, 344 B.R. 587, 596 (E.D. Mo. 2006); Tsai v. Buildings
      By Jamie, Inc. (In re Buildings By Jaime, Inc.), 230 B.R. 36, 41 (Bankr. D.N.J. 1998) (New Jersey law);
      Henderson v. Buchanan (In re W. World Funding, Inc.), 52 B.R. 743, 784 (Bankr. D. Nev. 1985) (Nevada
      law), aff’d in part and rev’d in part, 131 B.R. 859 (D. Nev. 1990), rev’d, 985 F.2d 1021 (9th Cir. 1993).
 18   Phar-Mor, Inc., 22 F.3d at 1240 n.20; see also St. Paul Fire and Marine Ins. Co., 884 F.2d at 703 (“If
      injustice would result from a corporation’s not being recognized as the alter ego of its subsidiary, and that
      subsidiary brought an alter ego action against the parent, there is nothing to indicate that such an action would
      not be recognized in Ohio.”); In re S.I. Acquisition, Inc., 817 F.2d at 1152 (“[T]he predominate policy of
      Texas alter ego law is that the control entity that has misused the corporation form will be held accountable
      for the corporation’s obligations. Since the corporation has an independent existence at law, we do not believe
      it is inconsistent in light of the above policy to say that a corporation may pierce its own corporate veil and
      hold accountable those who have misused the corporation in order to meet its corporate obligations.”)
      (internal citations omitted); Raytheon Co., 369 S.W.3d at 638 (concluding that Delaware and Pennsylvania
      law afford an insolvent corporation “standing to pierce its own corporate veil” and explaining that “[t]he focus
      of Delaware and Pennsylvania law is on the conduct of the corporation rather than on the relationship between
      the corporation and its creditors”); Baillie Lumber Co. v. Thompson, 612 S.E.2d 296, 300 (Ga. 2005)
      (“Georgia alter ego law is not focused solely on the relationships between parties, but also is premised on
      equitable principles designed to prevent unjust treatment in appropriate circumstances. We are convinced that
      this reasoning . . compels that we recognize that in these circumstances, a corporation has a right to pursue an
      alter ego action [in bankruptcy].”) (internal citation omitted).

                                                        VII-A-7
12-12020-mg           Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                 A Pg 8 of 85




 an individual creditor, furthers a goal of the Bankruptcy Code of providing similarly situated
 creditors with an equal distribution.”19 “Otherwise, any creditor could seek remuneration from
 the debtor’s [parent], and the multi-jurisdictional, first-come/first-served, unequal distribution,
 which cuts against the policies of the Code, would be promoted.”20

     By contrast, courts applying the laws of certain “other states, including Arkansas, North
 Dakota, Missouri, Michigan, and Maryland, have held that a corporation may not pierce its
 own veil.”21 Such courts have “generally held that, in those states, piercing the corporate veil




 19   In re iPCS Wireless, Inc., 297 B.R. 283, 297–98 (Bankr. N.D. Ga. 2003) (recognizing estate veil-piercing
      claim under Delaware law); see also Kalb, Voorhis & Co., 8 F.3d at 133 (“granting the bankruptcy trustee
      exclusive standing to assert alter ego claims furthers the bankruptcy policy of ensuring that all similarly
      situated creditors are treated fairly”); Koch Refining, 831 F.2d at 1346 (“[T]his logical procedure obviates
      multiple liability of the debtor to separate creditors and accords with the Bankruptcy Code’s ultimate goal of
      balancing the equities . . . in a bankruptcy case.”); In re Monument Gun Shop, Inc., 1999 U.S. Dist. LEXIS
      23590, at *34 (“By confining the alter-ego claim to the bankruptcy forum, it promotes the overriding policy of
      the Bankruptcy Code of ‘equality of distribution among creditors,’ as any recovery the bankruptcy trustee
      may have inures to the benefit of the bankruptcy estate.”) (quotation marks omitted); In re Enron Corp., 2003
      Bankr. LEXIS 330, at *12 (“The trustee or debtor-in-possession is given exclusive right to assert alter ego
      claims to ensure fair and equitable treatment of all similarly situated creditors.”); Moore v. Kumer (In re
      Adam Furniture Indus., Inc.), 191 B.R. 249, 255 (Bankr. S.D. Ga. 1996) (“Within the bankruptcy context . . .
      it is entirely reasonable that an objective third-party, the trustee, would pursue the claim to enhance the
      debtor’s estate.”).
 20   In re Schimmelpenninck, 183 F.3d 347, 356 (5th Cir. 1999); see also In re Enron Corp., 2003 Bankr. LEXIS
      330, at *12 (“Allowing the trustee or debtor-in-possession to pursue the claim avoids the prospect of creditors
      . . . pursuing the alter ego claims on a first-come, first-serve basis.”).
 21   Elegant Custom Homes, Inc. v. Dusharm (In re Elegant Custom Homes, Inc.), Civ. No. 06-2574, 2007 U.S.
      Dist. LEXIS 35564, at *9–11 (D. Ariz. May 14, 2007) (Arizona law); see also Ahcom, Ltd. v. Smeding, 623
      F.3d 1248, 1252 (9th Cir. 2010) (California law); Spartan Tube and Steel, Inc. v. Himmelspach (In re RCS
      Engineered Prods. Co.), 102 F.3d 223, 226 (6th Cir. 1996) (Michigan law); Mixon v. Anderson (In re Ozark
      Restaurant Equip. Co.), 816 F.2d 1222, 1226 & n.7 (8th Cir. 1987) (Arkansas law); Regions Bank v. JP
      Realty Partners, Ltd., Civ. No. 12-01113, 2012 U.S. Dist. LEXIS 173210, at *35 (M.D. Tenn. Dec. 6, 2012)
      (Tennessee law); Turner v. Bolduc (In re Crowe Rope Indus., LLC), 307 B.R. 1, 7 (Bankr. D. Me. 2004)
      (Maine law); Nat’l City Bank of Minneapolis v. Lapides (In re Transcolor Corp.), 296 B.R. 343, 365 (Bankr.
      D. Md. 2003) (Maryland law); Mar-Kay Plastics, Inc. v. Reid Plastics, Inc. (In re Mar-Kay Plastics, Inc.),
      234 B.R. 473, 481–82 (Bankr. W.D. Mo. 1999) (Missouri law); Limor v. Buerger (In re Del-Met Corp.), 322
      B.R. 781, 833–34 (Bankr. M.D. Tenn. 2005) (Tennessee law); Amazing Enters. v. Jobin (In re M&L Bus.
      Mach. Co.), 136 B.R. 271, 278 (Bankr. D. Colo. 1992) (Colorado law); Armstrong v. Pedie (In re Dakota
      Drilling, Inc.), 135 B.R. 878, 884 (Bankr. D.N.D. 1991) (North Dakota law); Robert K. Morrow, Inc. v.
      Kelson (In re Morgan-Staley Lumber Co., Inc.), 70 B.R. 186, 188 (Bankr. D. Or. 1986) (Oregon law); Selcke
      v. Hartford Fire Ins. Co. (In re Rehabilitation of Centaur Ins. Co.), 632 N.E.2d 1015, 1017 (Ill. 1994) (Illinois
      law).

                                                        VII-A-8
12-12020-mg             Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                  A Pg 9 of 85




 is designed to protect the rights of third party creditors, not to protect the rights of the
 corporation itself.”22 Certain of those courts also have concluded that, under applicable state
 law, “an alter ego claim is not by itself a cause of action” and therefore cannot give rise to an
 estate claim.23 For example, in Ahcom, Ltd. v. Smeding, the U.S. Court of Appeals for the
 Ninth Circuit reversed the dismissal of a veil-piercing claim asserted by a creditor against the
 debtor’s owners, in part because California law does not “permit[] a corporation to bring a
 general alter ego claim against its owners.”24 The Ninth Circuit reasoned that, under California
 law, “there is no such thing as a substantive alter ego claim at all,” and it was a “made-up
 cause of action.”25

      No party has identified any controlling decision on point applying Delaware law and the
 Examiner’s Professionals have not located any such decision.26 Courts in the Second Circuit
 and other jurisdictions have “found that a Delaware court would permit a debtor corporation to


 22   Raytheon Co., 369 S.W.3d at 636; see also In re RCS Engineered Prods. Co., 102 F.3d at 226 (“[T]he
      corporate veil is pierced only for the benefit of third parties, and never for the benefit of the corporation or its
      stockholders.”); In re Ozark Restaurant Equip. Co., 816 F.2d at 1225 (“[T]he obligations and liabilities of an
      action to pierce the corporate veil in Arkansas do not run to the corporation, but to third parties, e.g., creditors
      of the corporation.”); In re Elegant Custom Homes, Inc., 2007 U.S. Dist. LEXIS 35564, at *11 (“[O]nly third
      parties who deal with the corporation may bring a veil piercing action.”); In re M&L Bus. Mach. Co., 136
      B.R. at 278 (“The [veil-piercing] liability itself arises from fraud or injustice perpetrated not on the
      corporation, but on third persons dealing with the corporation.”); In re Dakota Drilling, Inc., 135 B.R. at 884
      (“The trustee does not identify from where his power to invoke an alter ego remedy was derived, but . . .
      piercing of a corporate veil must never be made for the benefit of the corporation or its shareholders.”); In re
      Rehabilitation of Centaur Ins. Co., 632 N.E.2d at 1018 (“The alter ego doctrine was developed for and has
      been traditionally used by third persons injured due to their reliance on the existence of a distinct corporate
      entity.”). Nonetheless, some courts have concluded that “the usual requirement of third-party benefit for a
      veil-piercing claim is, in fact, met in the case of an insolvent corporation [in] bankruptcy,” because “any alter
      ego claim asserted by the corporation itself will necessarily benefit third parties by providing more money
      with which to satisfy unsecured claims.” Baillie Lumber Co., 612 S.E.2d at 300.
 23   In re RCS Engineered Prods. Co., 102 F.3d at 226; see also Mark L. Prager, Pursuing Alter-Ego Liability
      Against Non-Bankrupt Third Parties: Structuring a Comprehensive Conceptual Framework, 35 ST. LOUIS
      U.L.J. 657, 690 (1991) (“Alter ego is not a cause of action in itself; rather, it is an equitable remedy which
      permits a creditor to impose on owners the liability for a pre-existing claim against the corporation. A
      corporation, of course, cannot possess a claim against itself. Thus, it possesses no cause of action for which it
      may shift the liability to its owners under the alter ego doctrine.”); Richard L. Epling, Trustee’s Standing to
      Sue in Alter Ego or Other Damage Remedy Actions, 6 BANKR. DEV. J. 191, 196 (1989) (“There is the strong
      sense . . . that federal courts [recognizing that a corporation may pierce its own corporate veil] are creating,
      not construing, state law in order to reach an appropriate policy result. These courts have made a
      determination that . . . the trustee is the best party to bring suit.”).
 24   623 F.3d at 1251.
 25   Id. at 1251–52.
 26   See MC Asset Recovery, LLC v. S. Co., Civ. No. 06-0417, 2006 U.S. Dist. LEXIS 97034, at *40–42 (N.D. Ga.
      Dec. 11, 2006) (noting that “there are no Delaware cases directly on-point,” apparently “because no Delaware
      court has ever addressed that question”); Raytheon Co., 369 S.W.3d at 633 (“No Delaware . . . state court has
      answered this question.”).

                                                         VII-A-9
12-12020-mg           Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                 A Pg 10 of 85




 assert a claim to pierce its own corporate veil.”27 This finding has in part been “[b]ased on the
 fact that Delaware law allows a subsidiary [in certain other contexts] to maintain an action
 against a corporate parent.”28 In Murray v. Miner, for example, the U.S. District Court for the
 Southern District of New York explained that “[a]lthough no cases have been found holding
 that a trustee of a debtor corporation in bankruptcy may bring such a [veil-piercing] claim,
 several cases make clear that under Delaware law, a subsidiary may maintain an action against
 its corporate parent or controlling shareholder.”29 According to the Murray court, “[t]hese
 cases indicate that under Delaware law, because of a corporate parent’s fiduciary duties to a
 subsidiary, the subsidiary may institute proceedings against the parent if it has sustained
 liability to third parties as a result of the parent’s control.”30 Certain litigants have criticized
 Murray and its progeny for a “lack of analysis,” but their criticisms appear not to have been
 met with success.31

 27   See Duke Energy Trading and Mktg., LLC v. Enron Corp. (In re Enron Corp.), Adv. Proc. No. 03-2176, 2003
      Bankr. LEXIS 330, at *11(Bankr. S.D.N.Y. Apr. 17, 2003); see also MeccaTech, Inc. v. Kiser, Civ. No. 05-
      570, 2008 U.S. Dist. LEXIS 30829, at *38 n.14 (D. Neb. Apr. 15, 2008) (“[T]he claim of a corporate debtor to
      pierce its own corporate veil is permitted under Delaware law.”); MC Asset Recovery, LLC, 2006 U.S. Dist.
      LEXIS 97034, at *42 (“agree[ing] that Delaware law would allow [an action by a corporation to pierce its
      own corporate veil]”); Murray v. Miner, 876 F. Supp. 512, 517 (S.D.N.Y. 1995) (“[T]he trustee has sole
      standing to raise all alter ego claims of a general nature asserted [under Delaware law] by the Gnubrokers
      Companies’ creditors.”); In re Alper Holdings USA, Case No. 07-12148, 2008 Bankr. LEXIS 522, at *17
      (Bankr. S.D.N.Y. Feb. 25, 2008) (“Under Delaware law, an alter ego cause of action constitutes a corporate
      right.”); In re Spiegel, Inc., Case No. 03-11540, 2006 Bankr. LEXIS 2158, at *25 (Bankr. S.D.N.Y. Aug. 16,
      2006) (“[T]he alter ego type claims . . . are by law property of the Debtors . . . .”); In re iPCS Wireless, Inc.,
      297 B.R. 283, 297 (Bankr. N.D. Ga. 2003) (agreeing that “Delaware law would allow a bankrupt corporation
      to pierce its own corporate veil” and granting creditors’ committee’s application for leave to assert
      veil-piercing claim to hold “the Sprint Companies . . . liable for the Debtors’ debts”); Raytheon Co., 369
      S.W.3d at 638 (“[U]nder Delaware and Pennsylvania law, a corporation, particularly an insolvent one, has
      standing to pierce its own corporate veil under an alter ego theory to reach the assets of its parent.”). Still
      other opinions have decided motions to dismiss claims asserted on behalf of a debtor seeking to pierce the
      debtor’s own corporate veil without discussion of whether such claims are permitted by Delaware law. See
      Burtch v. Opus, LLC (In re Opus East, LLC), 480 B.R. 561, 571 (Bankr. D. Del. 2012) (granting on other
      grounds motion to dismiss without prejudice veil-piercing claim asserted by trustee against debtor’s parent);
      Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R.
      112, 52 n.15 (Glenn, J.) (Bankr. S.D.N.Y. 2009) (granting motion to dismiss veil-piercing claim asserted by
      the creditors’ committee and noting that “[t]he Complaint here only asserts claims belonging to the Debtors”);
      Official Comm. of Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp. (In re Verestar, Inc.), 343 B.R.
      444, 462, 465 (Bankr. S.D.N.Y. 2006) (denying motion to dismiss veil-piercing claim asserted by creditors’
      committee on behalf of debtor seeking judgment declaring that parent “should be liable for all of their debts”).
 28   See In re Enron Corp., 2003 Bankr. LEXIS 330, at *11.
 29   876 F. Supp. at 516.
 30   Id. at 516–17 (S.D.N.Y. 1995).
 31   Raytheon Co., 369 S.W.3d at 633, 638; see also MC Asset Recovery, LLC, 2006 U.S. Dist. LEXIS 97034, at
      *40–41 (rejecting “attempt to question the holdings of [Murray and its progeny]” and noting that the
      defendant “can cite to no cases supporting [the] proposition [that Delaware law does not permit a subsidiary
      to pierce its own corporate veil]”).

                                                       VII-A-10
12-12020-mg           Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                 A Pg 11 of 85




      Accordingly, and although the issue is not entirely free from doubt in light of the
 apparent absence of controlling authority, the Examiner concludes that Delaware law
 recognizes the existence of a claim on behalf of a debtor to pierce its own corporate veil. Such
 an “alter ego claim constitutes property of the debtor corporation, and the debtor-in-possession
 or bankruptcy trustee, rather than individual creditors, has exclusive standing to assert the
 claim.”32 If granted standing by the Bankruptcy Court, a creditors’ committee may pursue
 such a veil-piercing claim on behalf of the debtor’s estate.33 A debtor that succeeds in piercing
 its own corporate veil may “hold [its parent] liable for all of the Debtors’ debts.”34




 32   Kalb, Voorhis & Co. v. Am. Fin. Corp., 8 F.3d 130, 133 (2d Cir. 1993); see also In re Enron Corp., 2003
      Bankr. LEXIS 330, at *11 (“[T]he trustee or debtor-in-possession would have exclusive standing to maintain
      a Delaware corporation’s alter ego claim of a general nature.”). The Examiner considers whether those Third-
      Party Claimants that have asserted claims against AFI on a veil-piercing theory have standing to pursue such
      claims in Section VIII.C.
 33   See Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420
      B.R. 112, 52 & n.15 (Glenn, J.) (Bankr. S.D.N.Y. 2009) (granting motion to dismiss veil-piercing claim
      asserted by the creditors’ committee; noting that a prior order had granted the committee standing to pursue
      estate claims and “[t]he Complaint here only asserts claims belonging to the Debtors”); Official Comm. of
      Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp. (In re Verestar, Inc.), 343 B.R. 444, 458–59
      (Bankr. S.D.N.Y. 2006) (denying motion to dismiss veil-piercing claim asserted by creditors’ committee and
      noting that the court had previously “approved a stipulation . . . granting the Committee standing to pursue
      claims on behalf of the Debtors”).
 34   Official Comm. of Unsecured Creditors of RSL Com Primecall, Inc. v. Beckoff (In re RSL Com Primecall,
      Inc.), Adv. Proc. No. 03-2176, 2003 Bankr. LEXIS 1635, at *49 (Bankr. S.D.N.Y. Dec. 11, 2003) (granting
      motion to dismiss veil-piercing claim for failure to state a claim); see also Palmer v. Am. Bodyworks, Inc. (In
      re Secure Buildout, LLC), Adv. No. 12-05063, 2012 Bankr. LEXIS 4554, at *13 (Bankr. N.D. Ga. Aug. 22,
      2012) (“Georgia law allows a corporation to pierce its own veil to hold the corporation’s principals liable for
      the entirety of the corporations debts.”); In re Verestar, Inc., 343 B.R. at 462 (denying motion to dismiss
      veil-piercing claim asserting “that the Debtors should be treated as [the parent’s] alter ego, and that [the
      parent] should be liable for all of their debts.”); In re iPCS Wireless, Inc., 297 B.R. 283, 298 (Bankr. N.D. Ga.
      2003) (“[T]he injury is one that has been suffered by the corporation because of the exertion of control by
      another corporation, and the equitable remedy would be one that would provide a recovery to all of the
      Debtors’ creditors, rather than to a particular creditor.”) (applying Delaware law); William T. Vukovich, Civil
      Remedies in Bankruptcy for Corporate Fraud, 6 AM. BANKR. INST. L. REV. 439, 461 (1998) (“[T]he effect of
      disregarding the corporate veil is to hold the shareholders liable for the corporate debts.”).

                                                       VII-A-11
12-12020-mg           Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                 A Pg 12 of 85




                c. How Many Corporate Veils Must Be Pierced To Reach The Ultimate Parent
                   Company?

       Were a claim to be brought seeking to pierce the corporate veil of ResCap to impose
 liability on AFI, a question might arise as to whether it would be necessary also to plead and
 prove that the corporate veil of GMAC Mortgage Group LLC, ResCap’s direct parent, should
 be pierced. The state of the law as to this question has been described as “far from clear” and
 there does not appear to be any controlling precedent on point.35 Courts applying Delaware
 law to veil-piercing claims in circumstances involving intermediate entities have reached
 different conclusions. In Faulkner v. Kornman (In re Heritage Org., LLC), for example, the
 Bankruptcy Court for the Northern District of Texas concluded that under Delaware law the
 test for veil-piercing liability “must be applied to, and satisfied at, each level or layer of
 ownership applicable within the multi-faceted entity structure.”36 That court further explained
 that veil-piercing “does not work on . . . a global basis” to “collapse” all related entity
 defendants.37




 35   See In re BH S&B Holdings LLC, 420 B.R. at 135 (“Since . . . the Committee has not adequately pled a veil-
      piercing theory . . . the Court does not have to reach the question whether the Committee would have to pierce
      each veil separately.”); see also Sykes v. Mel Harris and Assocs., LLC, 757 F. Supp. 2d 413, 430 & n.15
      (S.D.N.Y. 2010) (“The law in this jurisdiction is unclear as to whether a plaintiff is required to pierce the veil
      of each layer of alleged corporate control. Deciding that issue is not necessary here, as I find a plausible claim
      of veil-piercing against LNC with respect to the seven other corporate entities.”) (internal citation omitted).
 36   413 B.R. 438, 514 (Bankr. N.D. Tex. 2009) (entering judgment against plaintiff after trial on veil-piercing
      claims); see also Soroof Trading Dev. Co. v. GE Microgen, Inc., Civ. No. 10-1391, 2012 U.S. Dist. LEXIS
      67736, at *26 n.9 (S.D.N.Y. May 11, 2012) (granting motion for leave to filed amended complaint and noting
      that “it is necessary to pierce the corporate veil at each ‘level or layer’ of ownership” under Delaware law);
      Hechinger Liquidation Trust v. Cooper Bussmann, Inc. (In re Hechinger Inv. Co. of Del., Inc.), 297 B.R. 390,
      393 n.3 (Bankr. D. Del. 2003) (denying motion for leave to file amended complaint and noting that
      “[t]echnically, in order to pierce the corporate veil to reach [proposed additional defendant] Cooper, Plaintiff
      would need to show that Bussmann was a mere instrumentality of its parent, McGraw-Edison, and that
      McGraw-Edison was a mere instrumentality of its parent, Cooper”).
 37   In re Heritage Org., LLC, 413 B.R. at 515.

                                                       VII-A-12
12-12020-mg            Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                 A Pg 13 of 85




      Notably, in Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re
 BH S&B Holdings LLC), the Court appeared to express misgivings with the In re Heritage
 Org., LLC approach, explaining that “courts in other contexts . . . have refused to permit the
 corporate structure to stand in the way of a finding of liability,” and adding that “[p]ermitting
 corporate actors to erect a series of shell corporations to make it more difficult for prospective
 plaintiffs to sue the real owners also makes little sense from a policy standpoint.”38 The Court
 dismissed the veil-piercing claims at issue on other grounds and, therefore, found it
 unnecessary to resolve the question of whether the plaintiff “would have to pierce each veil
 separately.”39

       More recently still, in Official Comm. of Unsecured Creditors of Moll Indus., Inc. v.
 Highland Capital Mgmt. LP (In re Moll Indus., Inc.), the Delaware bankruptcy court rejected
 the view that a plaintiff must “establish alter ego liability at all layers of subsidiaries ranging
 from [the debtor] to [the indirect parent].”40 At least where the plaintiff “is only seeking to
 treat [the debtor] and [the indirect parent] as one entity and is not seeking to hold any of the
 intermediaries liable,” the court concluded a plaintiff’s “failure to allege alter ego through all
 levels of the corporate structure does not warrant the claim’s dismissal.”41 The court explained
 that it had found “no indication” in Delaware law that veil-piercing liability “may only be
 applied to a direct relationship such as a parent and subsidiary.”42




 38   In re BH S&B Holdings LLC, 420 B.R. at 135; see also Official Comm. of Unsecured Creditors of Buckhead
      Am. Corp. v. Reliance Capital Group, Inc. (In re Buckhead Am. Corp.), 178 B.R. 956, 975 (D. Del. 1994)
      (rejecting view that “alter ego claims can be defeated and defendants can insulate themselves from liability by
      using corporate intermediaries and other complex business structures, thereby indirectly doing that which
      lawfully cannot be accomplished directly”).
 39   In re BH S&B Holdings LLC, 420 B.R. at 135.
 40   454 B.R. 574, 587 (Bankr. D. Del. 2011).
 41   Id. at 587–88.
 42   Id. 587–88 (Bankr. D. Del. 2011); see also United States v. Golden Acres, Inc., 702 F. Supp. 1097, 1113 n.7
      (D. Del. 1988) (rejecting argument that “it is necessary for us to pierce the corporate veils of both [the parent
      company] and [its subsidiary] to hold [the individual owners of the parent] personally liable for the debts of
      [the subsidiary]”) (applying federal common law).

                                                       VII-A-13
12-12020-mg           Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                A Pg 14 of 85




     The Examiner finds it unnecessary to decide this unsettled legal question. GMAC
 Mortgage Group LLC is a holding company that had no operations and few employees.43
 Assuming arguendo that a court were to conclude that the evidence warrants piercing the
 corporate veil of ResCap, then the Examiner would view as a remote possibility a different
 conclusion as to GMAC Mortgage Group LLC.44

                d. Elements That Must Be Pleaded And Proved

       “[P]ublic policy does not lightly disregard the separate legal existence of corporations.”45
 “The corporate form was created to allow shareholders to invest without incurring personal
 liability for the acts of the corporation. These principles are equally applicable when the
 shareholder is, in fact, another corporation, and hence, mere ownership of a subsidiary does
 not justify the imposition of liability on the parent.”46 The use of the corporate form to limit
 liability “is seen as wealth-creating for society as it allows investors to cabin their risk and
 therefore encourages the investment of capital in new enterprises.”47 However, “upon a proper




 43   See Int. of D. Bricker, Mar. 15, 2013, at 12:19–13:3.
 44   The Examiner’s reasoning is similar with respect to the potential claims that could be brought on behalf of
      ResCap indirect subsidiaries GMAC Mortgage and RFC—both also organized under Delaware law—seeking
      to pierce their respective corporate veils and impose liability on AFI for their respective debts (as opposed to
      the debts of ResCap). If a court were to hold that it were necessary to pierce the corporate veil between
      ResCap and AFI before such veil-piercing claims by GMAC Mortgage and RFC could prevail against AFI,
      then the Examiner concludes that such claims against AFI would be unlikely to prevail for that reason alone,
      given the Examiner’s conclusion that a veil-piercing claim on behalf of ResCap against AFI is unlikely to
      prevail. Assuming arguendo that a court were to instead conclude that GMAC Mortgage and RFC need not
      pierce the corporate veil of ResCap before their veil-piercing claims could prevail against AFI, the Examiner
      concludes that any such claims would be unlikely to prevail for the reasons set for in Section VII.A.1.g(2).
 45   BASF Corp. v. POSM II Properties P’ship, Case No. 3608, 2009 Del. Ch. LEXIS 33, at *32 n.50 (Del. Ch.
      Mar. 3, 2009) (applying Delaware law); see also Mason v. Network of Wilmington, Inc., Civ. No. 19434, 2005
      Del. Ch. LEXIS 99, at *9 (Del. Ch. July 1, 2005) (“Persuading a Delaware Court to disregard the corporate
      entity is a difficult task.”) (quoting David v. Mast, Civ. No. 1369, 1999 Del. Ch. LEXIS 34, at *5 (Del. Ch.
      Mar. 2, 1999); Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings
      LLC), 420 B.R. 112, 133 (Glenn, J.) (Bankr. S.D.N.Y. 2009) (“In general, the corporate form is sacrosanct
      and courts will not disturb it to hold shareholders of a corporation, or members of an LLC, liable.”).
 46   Pearson v. Component Tech. Corp., 247 F.3d 471, 484 (3d Cir. 2001); see also Trevino v. Merscorp, Inc., 583
      F. Supp. 2d 521, 530 (D. Del. 2008) (“[L]imiting one’s personal liability is a traditional reason for a
      corporation. Unless done deliberately, with specific intent to escape liability for a specific tort or class or
      torts, the cause of justice does not require disregarding the corporate entity.”) (quotation marks omitted);
      Mabon, Nugent & Co. v. Tex. Am. Energy Corp., Civ. No. 8578, 1990 Del. Ch. LEXIS 46, at *14 (Del. Ch.
      Apr. 12, 1990) (“[T]he separate corporate existences of parent and subsidiary will not be set aside merely . . .
      on a showing that the parent owned all the stock of the subsidiary.”).
 47   BASF Corp., 2009 Del. Ch. LEXIS 33, at *32 n.50.

                                                       VII-A-14
12-12020-mg           Doc 3698-20           Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                  A Pg 15 of 85




 showing corporate entities as between parent and subsidiary may be disregarded and the
 ultimate party in interest, the parent, be regarded in law and fact as the sole party.”48

       “Under Delaware law, to pierce the corporate veil and establish alter-ego liability, a
 plaintiff must show (1) that the parent and subsidiary ‘operated as a single economic entity,’
 and (2) that an ‘overall element of injustice or unfairness is present.’”49 In general, “[t]he fact
 that [it] is a limited liability company does not change the analysis.”50

                e. Pleading Standard And Burden Of Proof

      “Although the question of domination is generally one of fact, courts have granted motions
 to dismiss as well as motions for summary judgment in favor of defendant parent companies
 where there has been a lack of sufficient evidence to place the alter ego issue in dispute.”51
 “[B]ecause Delaware public policy does not lightly disregard the separate legal existence of




 48   In re BH S&B Holdings LLC, 420 B.R. at 133 (quoting Pauley Petroleum, Inc. v. Cont’l Oil Co., 239 A.2d
      629, 633 (Del. 1968)); see also Pearson, 247 F.3d at 484 (“under both state and federal common law, abuse of
      the corporate form will allow courts to employ the ‘tool of equity’ known as veil-piercing”); Mason, 2005
      Del. Ch. LEXIS 99, at *9 (“Corporate form will be disregarded and individuals will be held personally liable
      ‘in the interest of justice, when such matters as fraud, contravention of law or contract, public wrong, or
      where equitable consideration among members of the corporation require it, are involved’”).
 49   In re BH S&B Holdings LLC, 420 B.R. at 133-34 (quoting Trevino, 583 F. Supp. 2d at 528 ); see also NetJets
      Aviation, Inc. v. LHC Commc’ns, LLC, 537 F.3d 168, 177 (2d Cir. 2008) (same).
 50   Nat’l Gear & Piston, Inc. v. Cummins Power Sys., LLC, Civ. No. 10-4145, 2012 U.S. Dist. LEXIS 72879, at
      *86 n.14 (S.D.N.Y. May 17, 2012); see also NetJets Aviation, Inc., 537 F.3d at 176 (“Given the similar
      liability shields that are provided by corporations and LLCs to their respective owners, emerging caselaw
      illustrates that situations that result in a piercing of the limited liability veil are similar to those that warrant
      piercing the corporate veil.”) (quotation marks omitted); Luster v. Greenhill Capital Partners II, LLP (In re
      CLK Energy Partners, LLC), Adv. No. 09-05042, 2010 Bankr. LEXIS 1564, at *19 (Bankr. W.D. La. May 12,
      2010) (“Delaware courts have also held that the alter ego jurisprudence developed in cases involving
      corporations similarly applies to Delaware LLC’s.”).
 51   Fletcher v. Atex, 68 F.3d 1451, 1458 (2d Cir. 1995); see also In re Buckhead Am. Corp., 178 B.R. at 975
      (denying motion to dismiss veil-piercing claim and explaining that “the nature and extent of the dominion and
      control exercised by defendants over [the subsidiary is] a question of fact, not subject to resolution on a
      motion to dismiss”); Youkelsone v. Wash. Mut., Inc. (In re Wash. Mut., Inc.), Adv. No. 09-50039, 2010 Bankr.
      LEXIS 2453, at *30 (Bankr. D. Del. Aug. 13, 2010) (“[C]ourts routinely consider, and grant, motions to
      dismiss for failure to allege facts sufficient to support the imputation of liability on an alleged alter ego.”);
      Official Comm. of Unsecured Creditors of Sunbeam Corp. v. Morgan Stanley & Co., Inc. (In re Sunbeam
      Corp.), 284 B.R. 355, 365 (Bankr. S.D.N.Y. 2002) (“Ordinarily the determination of the nature and extent of
      domination is a question of fact.”).

                                                         VII-A-15
12-12020-mg           Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                 A Pg 16 of 85




 corporations, a plaintiff must do more than plead that one corporation is the alter ego of another
 in conclusory fashion in order for the Court to disregard their separate legal existence.”52

      Whether a veil-piercing claim is also subject to the heightened pleading requirements of
 Federal Rule of Civil Procedure 9(b)—made applicable to adversary proceedings by Federal
 Bankruptcy Rule 7009—has been described by courts in this circuit as a “knotty question.”53
 Because a veil-piercing plaintiff can prevail without proving fraud, “veil-piercing claims are
 generally subject to the pleading requirements imposed by Fed. R. Civ. P. 8(a).”54 However,
 “[w]hen a veil-piercing claim is based on fraud, it is subject to the requirements of [Rule 9(b)],
 which requires the pleading of ‘particularized facts that give rise to a strong inference that
 defendant acted with fraudulent intent.’”55 “[T]he Rule 9(b) pleading standard applies only to
 those components of fraud-based [veil-piercing] claims that relate to fraud. Thus, allegations




 52   MicroStrategy Inc. v. Acacia Research Corp., Civ. No. 5735, 2010 Del. Ch. LEXIS 254, at *46 (Del. Ch.
      Dec. 30, 2010); see also Spagnola v. Chubb Corp., 264 F.R.D. 76, 86 (S.D.N.Y. 2010) (collecting cases from
      other jurisdictions granting motions to dismiss veil-piercing claims); In re Wash. Mut., Inc., 2010 Bankr.
      LEXIS 2453, at *36–37 (dismissing veil-piercing claim where complaint included “mere conclusions that [the
      parent] controlled [its subsidiary] but offer[ed] no factual allegations which would lead to a plausible
      inference that [the parent] directed [the subsidiary] to engage in misconduct specifically related to the
      servicing of Youkelsone’s mortgage”) (applying Washington law); O’Connell v. Arthur Andersen LLP (In re
      AlphaStar Ins. Group Ltd.), 383 B.R. 231, 279 (Bankr. S.D.N.Y. 2008) (dismissing veil-piercing claim where
      it appeared to be “another conclusory allegation of control based on share ownership and the nomination of its
      employees to positions on the Board”) (applying Bermuda law).
 53   Gabriel Capital, LP v. NatWest Fin., Inc., 122 F. Supp. 2d 407, 433 (S.D.N.Y. 2000) (quoting Old Republic
      Ins. Co. v. Hansa World Cargo Serv., Inc., 170 F.R.D. 361, 374 (S.D.N.Y. 1997)).
 54   EED Holdings v. Palmer Johnson Acquisition Corp., 228 F.R.D. 508, 512 (S.D.N.Y. 2005); see also
      Rolls-Royce Motor Cars, Inc. v. Schudroff, 929 F. Supp. 117, 122 (S.D.N.Y. 1996). At least one district court
      has concluded that Rule 9(b) has no application to veil-piercing claims. See Time Warner Cable, Inc. v.
      Networks Group, LLC, Civ. No. 09-10059, 2010 U.S. Dist. LEXIS 93855, at *12–13 (S.D.N.Y. Sept. 9, 2010)
      (“Several district courts in this district have applied Rule 9(b) to claims to pierce the corporate veil that are
      based on a defendant’s fraudulent conduct. Until the Court of Appeals revisits its holding in International
      Controls, however, Rule 8 is the appropriate standard to weigh the sufficiency of the plaintiff’s allegations to
      pierce the corporate veil.”) (internal citations omitted) (citing Int’l Controls Corp. v. Vesco, 490 F.2d 1334,
      1351 n.23 (2d Cir. 1974) (Rule 9(b) “is inapplicable here since [plaintiff] did not proceed on the theory that
      Vesco & Co., itself, committed fraud, but rather that Vesco perpetrated the securities violations and then
      sought to shield his assets from the reach of his victim by transferring them to Vesco & Co”)).
 55   TradeWinds Airlines, Inc. v. Soros, Civ. Nos. 08-5901, 10-8175, 2012 U.S. Dist. LEXIS 39459, at *14
      (S.D.N.Y. Mar. 22, 2012) (quoting EED Holdings, 228 F.R.D. at 512 (requirements of Rule 9(b) apply to
      veil-piercing claim that “sounds in fraudulent inducement”)); see also Pereria v. Greco Gas Ltd. (In re Saba
      Enters., Inc.), 421 B.R. 626, 652 (Bankr. S.D.N.Y. 2009) (“To the extent that the Trustee’s allegations related
      to the veil piercing claim involve fraud, they must satisfy the heightened standard for pleading fraud under
      [Rule 9(b)]; otherwise, the post-Twombly ‘flexible plausibility’ standard under [Rule 8(a)] governs the
      determination of the sufficiency of the Trustee’s pleading.”).

                                                       VII-A-16
12-12020-mg           Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                A Pg 17 of 85




 of dominance and control, for example, are not subject to the heightened pleading standard,
 even where the veil-piercing claim is based on an allegation that the corporate form was
 abused to perpetrate fraud.”56

      The standard of proof applicable to a veil-piercing claim under Delaware law is likewise
 a knotty question and one that remains unsettled.57 The Delaware bankruptcy court analyzed
 the issue in Foxmeyer Drug Co. v. G.E. Elec. Capital Corp. (In re Foxmeyer Corp.), where
 “the parties disagree[d] as to the appropriate standard of proof by which one must prove a case
 for a piercing of the corporate veil under Delaware law.”58 Although the court agreed with the
 plaintiff that “there does not appear to be any relevant caselaw that applies Delaware law
 wherein the clear and convincing evidence standard is utilized,” that did not end the court’s
 analysis.59 Relying upon case law reciting the general difficulty of piercing the corporate veil
 under Delaware law, the bankruptcy court “f[ound] it nonsensical to suggest that the most
 minimal evidentiary standard of a preponderance of the evidence is equivalent to ‘a very
 heavy burden.’”60 The bankruptcy court held, therefore, “that the appropriate standard of proof
 by which one must prove a case for a piercing of the corporate veil under Delaware law is, if
 not a clear and convincing evidence standard, at least somewhat greater than merely a
 preponderance of the evidence standard.”61

      Other courts have disagreed. In ASARCO LLC v. Americas Mining Corp., the U.S.
 District Court for the Southern District of Texas concluded that “Delaware would apply the

 56   Sofia Classic S.A. De C.V. v. Hurowitz, 444 F. Supp. 2d 231, 241 (S.D.N.Y. 2006); see also In re Parmalat
      Sec. Litig., 375 F. Supp. 2d 278, 292 (S.D.N.Y. 2005) (“The domination and control elements of the
      [veil-piercing] claim, however, need comply only with Rule 8.”); Network Enters., Inc. v. APBA Offshore
      Productions, Inc., Civ. No. 01-11765, 2002 U.S. Dist. LEXIS 17256, at *16 (S.D.N.Y. Sept. 10, 2002)
      (rejecting “suggest[ion] that the domination and control elements of an alter ego claim are also subject to
      heightened pleading”).
 57   The parties have not directed the Examiner to any controlling decision on point under Delaware law, nor have
      the Examiner’s Professionals located any such decision. Cf. Gadsden v. Home Preservation Co., Civ.
      No. 18888, 2004 Del. Ch. LEXIS 14, at *11–12 (Del. Ch. Feb. 20, 2004) (noting defendant’s contention that
      plaintiff “must prove her case by clear and convincing evidence” but finding “adequate grounds to disregard
      Home Preservation’s separate corporate existence” without ruling on standard of proof).
 58   290 B.R. 229, 237 (Bankr. D. Del. 2003).
 59   Id. at 237. Some courts appear to have applied a clear and convincing standard of proof to veil-piercing
      claims, albeit under the laws of certain other jurisdictions. See Trustees of the Nat’l Elevator Indus. Pension,
      Health Benefit and Educ. Funds v. Lutyk, 332 F.3d 188, 192 (3d Cir. 2003) (“Because alter ego is akin to and
      has elements of fraud theory, we think it too must be shown by clear and convincing evidence.”) (quotation
      marks omitted) (applying federal common law); Int’l Controls and Measurements Corp. v. Watsco, Inc., 853
      F. Supp. 585, 591 (N.D.N.Y. 1994) (“[T]he plaintiff has failed to provide clear and convincing evidence of
      control, fraud or any other mechanism by which Watsco, Inc. operates Gemaire as a mere instrumentality.
      Absent such a showing, the court will not pierce the corporate veil.”) (applying federal common law).
 60   In re Foxmeyer Corp., 290 B.R. at 237. Cf. Pearson, 247 F.3d at 485 (describing veil-piercing test as
      “notoriously difficult for plaintiffs to meet”).
 61   Id. (finding that the plaintiff “does not even satisfy the minimal preponderance of the evidence standard when
      attempting to prove his case for a piercing of the corporate veil”).

                                                       VII-A-17
12-12020-mg          Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                A Pg 18 of 85




 preponderance of the evidence standard” to veil-piercing claims.62 That court explained that
 “the prevailing default standard in Delaware civil cases dictates the use of the preponderance
 of the evidence” and “[t]here is no authority stating that the standard under Delaware law is
 clear and convincing evidence.”63 Disagreeing with Foxmeyer, the ASARCO court
 “acknowledge[d] that it is not easy for a party to prevail on a veil-piercing claim, but
 [concluded that] this is due to the difficulty in demonstrating that the corporate form was used
 for a fraud or an injustice, not because there is a heightened burden of proof.”64

      In light of the lack of controlling authority imposing a heightened burden of proof on
 such claims, the Examiner assumes for the purposes of his analysis that ResCap would be
 required to prove each of the elements of its potential veil-piercing claim by a preponderance
 of the evidence.

                f. Single Economic Entity

      Factors considered by courts applying Delaware law to determine whether a parent and
 subsidiary should be deemed a “single economic entity” include:

                    (1) undercapitalization, (2) failure to observe corporate
                    formalities, (3) nonpayment of dividends, (4) insolvency of the
                    debtor corporation at the time, (5) siphoning off of the
                    corporation’s funds by the dominant parent, (6) absence of
                    corporate records, and (7) the fact that the corporation is merely
                    a facade for the operations of the dominant parent.65

     Although this “list of factors is not exhaustive and no single factor is dispositive, some
 combination is required.”66 “[T]he absence of one or two factors may be sufficiently
 outweighed by the other considerations when balanced on whole.”67 And, “in the absence of

 62   396 B.R. 278, 318 (S.D. Tex. 2008); see also Hillsborough Holdings Corp. v. Celotex Corp. (In re
      Hillsborough Holdings Corp.), 166 B.R. 461, 468 (Bankr. M.D. Fla. 1994) (“In order to pierce the corporate
      veil under Florida and Delaware law, it is the claimant’s burden to establish by a preponderance of the
      evidence [the relevant factors].”).
 63   ASARCO LLC, 396 B.R. at 318.
 64   Id. The ASARCO court also collected cases from a “majority of [other state] jurisdictions” that “apply a
      preponderance of the evidence standard to veil-piercing actions.” Id.
 65   Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R.
      112, 134 (Bankr. S.D.N.Y. 2009); see also NetJets Aviation, Inc.v. LHC Commc’ns, 537 F.3d 168, 176–77 (2d
      Cir. 2008) (same).
 66   Blair v. Infineon Technologies AG, 720 F. Supp. 2d 462, 471 (D. Del. 2010); see also Burtch v. Opus L.L.C.
      (In re Opus East, LLC), 480 B.R. 561, 571 (Bankr. D. Del. 2012) (granting motion to dismiss veil-piercing
      claim where “[t]he Trustee’s only facially plausible allegation is that the dividend payments . . . left the
      Debtor undercapitalized” because alleging “one element of the single economic entity test . . . is not, on its
      own, enough”).
 67   Blair, 720 F. Supp. 2d at 472-73.

                                                      VII-A-18
12-12020-mg          Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                               A Pg 19 of 85




 allegations of these specific factors,” a plaintiff may still state a veil-piercing claim with
 “other relevant allegations.”68 Each of the enumerated factors is discussed below and, for
 convenience and where appropriate, certain of those factors are discussed together. For the
 reasons below, the Examiner concludes that the evidence does not support the proposition that
 AFI and ResCap should be considered a single economic entity.

                    (1) Undercapitalization And Insolvency

                        (a) Legal Principles

       “A shortage of capital, as with all the factors of the alter ego doctrine, is not per se a
 reason to pierce the corporate veil.”69 “If lack of adequate capitalization were alone enough to
 justify piercing the corporate veil, the veil of every insolvent subsidiary or failed start-up
 corporation could be pierced.”70 “Rather, the inquiry into corporate capitalization is most
 relevant for the inference it provides into whether the corporation was established to defraud
 its creditors or other improper purpose such as avoiding the risks known to be attendant to a
 type of business.”71

       “When determining whether a subsidiary was adequately capitalized, courts focus on the
 initial capitalization: whether a corporate entity was or was not set up for financial failure.”72
 Although “courts usually analyze capitalization at the inception of a corporation,” an analysis
 of capitalization may also be appropriate when, as a result of actions of the parent, “the
 corporation distinctly changes the nature or magnitude of its business.”73 Indeed, evidence of a




 68   Official Comm. of Unsecured Creditors of Sunbeam Corp. v. Morgan Stanley & Co., Inc. (In re Sunbeam
      Corp.), 284 B.R. 355, 365 (Bankr. S.D.N.Y. 2002); see also Union Carbide Corp. v. Montell N.V.,
      944 F. Supp. 1119, 1145 (S.D.N.Y. 1996).
 69   Trustees of the Nat’l Elevator Indus. Pension, Health Benefit and Educ. Funds v. Lutyk, 332 F.3d 188, 197 (3d
      Cir. 2003) (applying federal common law); see also In re BH S&B Holdings LLC, 420 B.R. at 137 (dismissing
      veil-piercing claim in part because allegations that subsidiary was undercapitalized “would not support
      disregarding the corporate form” without “more unusual facts or circumstances,” where subsidiary has
      “sufficient funds to operate for at least a few months” at its inception).
 70   In re RSL Com Primecall, Inc., 2003 Bankr. LEXIS 1635, at *53.
 71   Trevino, 583 F. Supp. 2d at 530 (quotation marks omitted) (dismissing veil-piercing claim where plaintiffs
      admitted that company “was created for a legitimate purpose” and failed to “allege in their Amended
      Complaint any other factors, besides undercapitalization”).
 72   In re BH S&B Holdings LLC, 420 B.R. at 136 (quotation marks omitted).
 73   Pharmacia Corp. v. Motor Carrier Servs. Corp., 309 Fed. Appx. 666, 672 (3d Cir. Feb. 10, 2009) (quotation
      marks omitted) (applying New Jersey law) (rejecting argument that the district court had “improperly
      concluded that [the company] was undercapitalized” where “the nature of [the company’s] business changed
      significantly when it was purchased” by the defendant and after that sale it “had no revenue at all”).

                                                     VII-A-19
12-12020-mg          Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                                A Pg 20 of 85




 subsidiary’s undercapitalization at a time after its formation may be relevant whenever that
 undercapitalization is caused by the parent.74 Although one decision by a Delaware court may
 have gone farther in suggesting that a parent company could have an “ongoing duty to
 maintain adequate capitalization” of a subsidiary, the Examiner does not consider that to be an
 accurate statement of Delaware law.75

     Like undercapitalization, “[i]nsolvency, in and of itself, does not justify piercing the
 corporate veil.”76 Insolvency is not dispositive without more because:

                    If creditors could enter judgments against shareholders every
                    time that a corporation becomes unable to pay its debts as they
                    become due, the limited liability characteristic of the corporate
                    form would be meaningless. Thus, the insolvency inquiry must
                    have a different purpose. Instead, insolvency is one factor to be
                    considered in assessing whether the corporation engaged in
                    conduct that unjustly shields its assets from its creditors. If so,
                    and especially if particular shareholders benefited from and




 74   See Official Comm. of Unsecured Creditors of Moll Indus., Inc. v. Highland Capital Mgmt. LP (In re Moll
      Indus., Inc.), 454 B.R. 574, 588 (Bankr. D. Del. 2011) (dismissing veil-piercing claim where plaintiff “failed
      to allege that [the subsidiary] was inadequately capitalized at its inception or that [its parent] caused the
      undercapitalization or insolvency,” and explaining that allegations that “various financial covenants and
      obligations were relaxed” would have “help[ed] (rather than hurt) [the subsidiary’s] financial condition”); see
      also Autobacs Strauss, Inc. v. Autobacs Seven Co. (In re Autobacs Strauss, Inc.), 473 B.R. 525, 553 (Bankr.
      D. Del. 2012) (denying motion to dismiss veil-piercing claim where plaintiff alleged that subsidiary “ABST
      had no ability to access capital aside from its parent because of the controlling AB7-related ABST Directors”
      and “all it could do was ask . . . for operational funding for AB7 with hopes that ‘Mama’ would provide”); In
      re Saba Enters., Inc., 421 B.R. at 653 (denying motion to dismiss veil-piercing claim where complaint alleged
      that “valuable assets of the Debtor . . . were siphoned off . . . thereby leaving the Debtor undercapitalized”)
      (applying Colorado law); In re Foxmeyer Corp., 290 B.R. at 244 (“[T]he Court agrees . . . that such factors are
      only relevant from a veil piercing standpoint if such subsidiary was inadequately capitalized and/or insolvent
      from its inception or such adverse status was subsequently caused by acts of the subsidiary’s parent.”).
 75   United States v. Golden Acres, Inc., 702 F. Supp. 1097, 1105 (D. Del. 1988) (entering judgment in favor of
      the plaintiff’s veil-piercing claim where “the corporation continued to be undercapitalized after defendants
      took control”) (applying federal common law); see also DeWitt Truck Bros., Inc. v. W. Ray Flemming Fruit
      Co., 540 F.2d 681, 686 (4th Cir. 1976) (“[T]he obligation to provide adequate capital begins with
      incorporation and is a continuing obligation thereafter during the corporation’s operations.”) (quotation marks
      omitted) (applying South Carolina law). The Examiner is not aware of any decision holding that a parent’s
      failure to maintain the adequate capitalization of a subsidiary is a basis for veil-piercing liability under
      Delaware law, and such a rule would appear to invite courts to pierce the veil of “every insolvent subsidiary
      or failed start-up corporation.” See In re RSL Com Primecall, Inc., 2003 Bankr. LEXIS 1635, at *53.
 76   EBG Holdings LLC v. Vredezicht’s Gravenhage 109 B.V., Civ. No. 3184, 2008 Del. Ch. LEXIS 127, at *53
      (Del. Ch. Sept. 2, 2008).

                                                      VII-A-20
12-12020-mg           Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                 A Pg 21 of 85




                     controlled that conduct, then justice would require the piercing
                     of the corporate veil in order to hold the benefiting shareholders
                     responsible.77

     As with evidence of undercapitalization, evidence of a subsidiary’s insolvency after its
 formation may weigh in favor of veil-piercing liability if caused by the parent.78

                         (b) Application To Facts

       The Examiner has concluded that the evidence does not support the proposition that
 ResCap was inadequately capitalized or insolvent at or around its formation.79 After
 March 2005, when AFI transferred subsidiaries RFC and GMAC Mortgage to ResCap and
 ResCap commenced operations, AFI contributed $2 billion in capital through debt forgiveness
 providing ResCap with an equity balance of approximately $6.4 billion.80 AFI also converted
 certain intercompany borrowings from a single revolving facility to provide ResCap with a $5
 billion ten-year subordinated note, $1.5 billion one-year term loan, and $2.5 billion two-year
 revolving line of credit.81 ResCap obtained additional outside funding in 2005, including
 $3.5 billion in syndicated bank credit facilities and $1.25 billion of unsecured debt issued
 pursuant to a $12 billion shelf registration statement.82

       This evidence does not support an inference that ResCap was “set up for financial
 failure.”83 To the contrary, the evidence indicates that ResCap was formed to hold AFI’s
 mortgage operations and “enhance the liquidity and cost effectiveness of the financing”
 thereof by obtaining “a stand-alone credit rating.”84 Those mortgage operations were viewed
 by management as “very profitable” and a “crown jewel.”85 Consistent with that view, in 2005
 and 2006, ResCap reported net income of $1 billion and $705.1 million, respectively.86


 77   Mason, 2005 Del. Ch. LEXIS at *12–13 (denying plaintiff’s motion for summary judgment on veil-piercing
      claim where “even if [the corporation] was insolvent, there is no evidence in the record demonstrating that its
      assets were transferred in an attempt to avoid its creditors”).
 78   See In re Moll Indus., Inc., 454 B.R. at 588; In re Foxmeyer Corp., 290 B.R. at 244.
 79   See Sections VI.B and VI.C.
 80   See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006), at 73.
 81   Id.
 82   Id.
 83   See In re BH S&B Holdings LLC, 420 B.R. at 136–37 (quotation marks omitted) (complaint’s allegations
      “cannot support a finding that [debtor] was undercapitalized” where debtor “had cash on hand, and . . .
      sufficient funds to operate for at least a few months” and was at least “initially a legitimate business”).
 84   General Motors Acceptance Corp., Current Report (Form 8-K) (Jan. 13, 2005); see also Section III.A.
 85   Int. of E. Feldstein, Dec. 14, 2012, at 67:18–22.
 86   See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006), at 57; Residential Capital, LLC,
      Annual Report (Form 10-K) (Mar. 13, 2007), at 55.

                                                          VII-A-21
12-12020-mg           Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                A Pg 22 of 85




       The Examiner’s conclusion that ResCap was not inadequately capitalized or insolvent at
 or around its formation does not, however, end the inquiry. The Examiner has concluded that
 the evidence supports the proposition that ResCap was (1) left with unreasonably small capital
 from August 15, 2007 through the date of ResCap’s chapter 11 bankruptcy filing; and
 (2) balance sheet insolvent from December 31, 2007 through the date of ResCap’s chapter 11
 bankruptcy filing.87 Such evidence could weigh in favor of piercing the corporate veil if
 ResCap’s inadequacy of capital and/or insolvency during those time periods was caused by
 the conduct of AFI.88 The available evidence indicates that proving such a theory would be
 difficult.

      In particular, that evidence indicates that the primary drivers of ResCap’s inadequacy of
 capital and insolvency were the substantial operating losses reported beginning in the fourth
 quarter of 2006, which included a net loss of $4.3 billion in 2007.89 Those reported losses
 reflected, inter alia, lower loan production and gain on sale margins, higher provisions for loan
 losses, and higher losses on foreclosed real estate.90 The Examiner has not found evidence of
 any potential siphoning of assets by AFI from ResCap that could be shown to have been of a
 magnitude to have caused ResCap’s inadequacy of capital and/or insolvency.91 Although
 ResCap entered into various Affiliate Transactions, the Examiner has concluded—with certain
 exceptions—that ResCap received at least fair value in those transactions.92 Moreover, those
 exceptional transactions with respect to which the Examiner finds that ResCap received less
 than fair value (i.e., the 2006 Bank Restructuring and the Second 2009 Tax Allocation
 Agreement)93 were dwarfed in scale both by ResCap’s operating losses and the more than




 87   See Sections VI.B and VI.C.
 88   See In re Autobacs Strauss, Inc., 473 B.R. at 553; In re Moll Indus., Inc., 454 B.R. at 588; In re Saba Enters.,
      Inc., 421 B.R. at 653; In re Foxmeyer Corp., 290 B.R. at 244.
 89   See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 56; see also Sections VI.B–D.
 90   See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 57.
 91   See In re Saba Enters., Inc., 421 B.R. at 653 (denying motion to dismiss veil-piercing claim where complaint
      alleged that “valuable assets of the Debtor . . . were siphoned off . . . thereby leaving the Debtor
      undercapitalized”) (applying Colorado law); In re Verestar, Inc., 343 B.R. at 464–65 (denying motion to
      dismiss veil-piercing claim where complaint alleged that parent “stripped [debtor] of assets” and that debtor
      was “undercapitalized”).
 92   See Section V. The Examiner considers whether there is evidence that AFI siphoned assets from ResCap in
      Section VII.A.1.f(2).
 93   This conclusion does not change if the misallocation of revenues on brokered loans discussed in
      Sections V.B.6, VII.L.2, and VII.A.1.f(2)(b) is included in the analysis.

                                                       VII-A-22
12-12020-mg          Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                                A Pg 23 of 85




 $8 billion in financial support that AFI would provide to ResCap in the form of cash
 contributions, debt forgiveness, and other asset contributions.94

      Nor has the Examiner encountered substantial evidence that AFI prevented ResCap from
 obtaining needed financing.95 Instead, the factual record reflects that, beginning on or before
 the end of 2007, ResCap became unable to obtain financing in the market and became
 dependent upon AFI to meet its liquidity and capital needs.96

      A plaintiff could in theory attempt to prove that ResCap would have obtained TARP
 funds on its own behalf but for the interference of AFI and that—with direct access to such
 funding rather than the periodic, indirect infusions of TARP funds that ResCap received from
 AFI—ResCap could have avoided bankruptcy.97 The Examiner concludes that the evidence
 does not support that proposition. ResCap could not have obtained TARP funds without




 94   See Section VI.C.4.f(4). The $8 billion figure includes the contribution in December 2009 of $1.4 billion in
      “higher risk mortgage assets” that AFI purchased from Ally Bank and then contributed to ResCap. See
      GMAC Inc., Current Report (Form 8-K), (Dec. 30, 2009) at 2–3. The Creditors’ Committee characterizes this
      as a “contribution of toxic assets.” See Creditors’ Committee Submission Paper, dated Mar. 7, 2013, at 71 &
      n.43. It has not been possible to separately value these assets based on the available information. However,
      the assets had an unpaid principal balance of $3.6 billion and a carrying value of $2.8 billion before their
      purchase from the Bank; GMAC Inc. purchased them for $1.4 billion (identified in SEC filings as “fair
      value”), and contributed capital to the Bank to make up the difference between the purchase price and the
      carrying value. Id. at 3. ResCap notably conducted a number of asset sales in 2010 on which it booked gains.
      See Residential Capital LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and
      2010 [EXAM00123128]. The Examiner’s Professionals were not able to trace which of these assets
      contributed by AFI were (or were not) included in these sales. In any event, the Investigation has not
      disclosed evidence that the write-down of the assets to $1.4 billion was inadequate, that the assets were worth
      less than this amount, or that ResCap was somehow injured or disadvantaged by their contribution.
      Nonetheless, even if it were appropriate to discount or ignore the contribution of these assets, given the
      remaining contributions of over $6.5 billion by AFI, the Examiner’s conclusions here would remain unaltered.
 95   See In re Autobacs Strauss, Inc., 473 B.R. at 553 (denying motion to dismiss veil-piercing claim where
      plaintiff alleged that subsidiary “ABST had no ability to access capital aside from its parent because of the
      controlling AB7-related ABST Directors”).
 96   See Section VI.B.
 97   See Section III.H (explaining that ResCap explored a potential application for TARP funds until it learned that
      AFI and Cerberus were also seeking such funds).

                                                      VII-A-23
12-12020-mg           Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                A Pg 24 of 85




 becoming a bank holding company,98 which required Ally Bank’s abandonment of its
 industrial bank charter and conversion to a charter subject to Bank Holding Company Act
 (BHCA) regulation, and would have triggered BHCA requirements for AFI (and Cerberus).
 This conversion could not have occurred without AFI’s agreement and active involvement,
 which it was not obligated to provide.




 98   TARP, created pursuant to the Emergency Economic Stabilization Act of 2008, 12 U.S.C. § 5211, ultimately
      comprised several different programs. These programs had not been fully developed at the time of Marano’s
      October 2008 proposal, which thus does not specify which program it seeks to invoke. See ResCap: Proposal for
      the TARP, at 1–9 [CCM00012373]; see also Minutes of a Special Meeting of the Board of Residential Capital,
      LLC, Oct. 10, 2008, at 2 (discussion of Marano’s proposal) [EXAM00073840]. The Capital Purchase Program, a
      preferred stock and equity warranty purchase program (under which AFI sought and obtained relief), appears to
      have been the most likely program, but to be eligible, an entity had to be a “bank, savings association, bank
      holding company [or] savings and loan holding company organized under the laws of the United States.” See
      U.S. DEPARTMENT OF THE TREASURY, PROCESS-RELATED FAQS FOR CAPITAL PURCHASE PROGRAM,
      www.financialstability.gov/roadtostability/CPPappdocs_faq1.htm. ResCap might also have sought relief under
      the Capital Assistance Program, but, it too, was limited to “bank holding companies, financial holding
      companies, insured depository institutions and savings and loan holding companies,” and, further, no entity ever
      received funding under the program. See APPLICATION GUIDELINES FOR CAPITAL ASSISTANCE PROGRAM, http:/
      /www.treasury.gov/initiatives/financial-stability/TARP-Programs/bank-investment-programs/scap-and-cap/
      Documents/CAP_App-Guidelines.pdf; SUPERVISORY CAPITAL ASSESSMENT PROGRAM & CAPITAL
      ASSISTANCE PROGRAM PURPOSE AND OVERVIEW, http://www.treasury.gov/initiatives/financial-stability/TARP-
      Programs/bank-investment-programs/scap-and-cap/Pages/default.aspx.
      Two other TARP programs, the Asset Guarantee Program and the Targeted Investment Program, were limited
      to institutions deemed “systemically significant” and were applied with “extreme discretion”; only two
      institutions, Bank of America and Citigroup Inc., were deemed to meet these standards. See ASSET
      GUARANTEE PROGRAM PURPOSE AND OVERVIEW, http://www.treasury.gov/initiatives/financial-stability/
      TARP-Programs/bank-investment-programs/agp/Pages/default.aspx; U.S. Treasury Report to Congress
      Pursuant to Section 102 of the Emergency Economic Stabilization Act, at 1–2 (Dec. 31, 2008); TARGETED
      INVESTMENT PROGRAM: PROGRAM PURPOSE AND OVERVIEW, http://www.treasury.gov/initiatives/financial-
      stability/TARP-Programs/bank-investment-programs/tip/Pages/ default.aspx. Particularly in light of the views
      the U.S. Treasury expressed about ResCap (discussed in text), it appears highly unlikely that ResCap could
      have qualified for relief under these programs.
      It appears ResCap would not have been eligible for the remaining TARP programs, such as (1) the Community
      Development Capital Initiative, a program to provide “low-cost capital to Community Development Financial
      Institutions as a means of helping them fulfill their mission of provident credit to small businesses and
      individuals in underserved communities,” see MEMORANDUM TO CDCI PARTICIPANTS, http://
      www.treasury.gov/initiatives/financial-stability/TARP-Programs/bank-investment-programs/tip/Pages/
      default.aspx; BANK-THRIFT APPLICATION GUIDELINES FOR TARP COMMUNITY DEVELOPMENT CAPITAL
      INITIATIVE, http://www.treasury.gov/initiatives/financial-stability/TARP-Programs/bank-investment-programs/
      cdci/Documents/ Bank20Thrift20CDCI20Application20Updated20Form.pdf, or (2) the Term Asset-Backed
      Securities Loan Facility, available to the holders of asset-backed securities where the “underlying credit
      exposures” are “auto loans, student loans, credit card loans, or small business loans guaranteed by the Small
      Business Administration.” See TERM ASSET-BACKED SECURITIES LOAN FACILITY (TALF) TERMS AND
      CONDITIONS, http://www.federalreserve.gov/newsevents/monetary20081125a1.pdf.

                                                       VII-A-24
12-12020-mg           Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                 A Pg 25 of 85




      As a practical matter, it does not appear likely that the federal government would have
 looked positively on separate, arguably competing applications from the parent and its
 subsidiary, and in light of AFI’s own need for TARP assistance, it is not surprising that a
 single AFI application was pursued. Moreover, the evidence suggests that, even had a separate
 ResCap application otherwise been acceptable, the U.S. Treasury is unlikely to have looked
 favorably on ResCap’s application. First, the U.S. Treasury itself “stated that . . . it regarded
 ResCap as ‘marginal, at best’ as a factor in the decision to support [AFI].”99 Instead, the U.S.
 Treasury “defend[ed] its assistance to GMAC as crucial to supporting its extensive
 investments in GM and Chrysler, which, in turn were made for a variety of reasons, including
 the fear of shock to the economy—perhaps rising to the level of systemic risk if the domestic
 auto industry were to fail.”100 Notably, the federal government did not mandate that any
 portion of the TARP funds provided to AFI be given to ResCap.101 When a Congressional
 Oversight Panel reviewed the matter in 2010, issuing a report entitled, “The Unique Treatment
 of GMAC Under the TARP,” it noted that “while ResCap was once a profitable venture for
 GMAC, and ResCap holds significant market shares in both the mortgage origination and
 mortgage servicing sectors, there has been no suggestion that the disruption of these
 businesses caused by a bankruptcy would have any direct systemic effect.”102

      Although AFI’s support for ResCap was never adequate to do more than maintain
 ResCap on “life support,” the Examiner has not encountered evidence sufficient to
 demonstrate that such support was a cause—rather than a symptom—of ResCap’s inadequacy
 of capital and insolvency.103

 99   CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE UNIQUE TREATMENT OF GMAC
      UNDER THE TARP, at 79, http://cybercemetery.unt.edu/ archive/cop/20110402042135/http://cop.senate.gov/
      documents/cop-031110-report.pdf. Tessler’s observation that “[ResCap] was one of the significant reasons the
      Fed and FDIC decided to support [AFI] in becoming a BHC” does not compel a different conclusion. See E-
      mail from L. Tessler to M. Carpenter (Dec. 3, 2009), at CCM00065542 [CCM00065540]. Bank holding
      company status required approval by entities other than the U.S. Treasury, which made decisions concerning
      TARP approval (although they presumably coordinated efforts). Further, Tessler had little interaction with the
      federal government in connection with the TARP application. See Int. of L. Tessler, Feb. 28, 2013, at 94:21–
      97:15, 113:19–114:12.
 100 CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE UNIQUE TREATMENT OF GMAC

      UNDER THE TARP, at 78.
 101 See TARP LETTER AGREEMENT BETWEEN U.S. DEPARTMENT OF THE TREASURY AND GMAC LLC (Dec. 29,

      2008) (online at http://www.treasury.gov/initiatives/financial-stability/TARP-Programs/automotive-programs/
      Documents/ GMAC%20Agreement%20Dated%2029%20December%202008.pdf.).
 102 CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE UNIQUE TREATMENT OF GMAC

      UNDER THE TARP, at 78–79.
 103 See Section VI.B. ResCap’s restructuring beginning in late 2008 likewise was a reaction to and not the cause of

      its ongoing undercapitalization. See Section III.H (describing proposed restructuring that would, inter alia, close
      GMAC Mortgage retail offices, curtail international business activities, and eliminate several thousand jobs).
      Accordingly, and given that this restructuring reduced the scope of ResCap’s business, this is not a case where
      an entity’s post-formation undercapitalization may be deemed relevant for purposes of veil piercing because the
      entity “change[d] the nature or magnitude of its business.” See Pharmacia Corp., 309 Fed. Appx. at 672
      (quotation marks omitted) (applying New Jersey law).

                                                        VII-A-25
12-12020-mg          Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                A Pg 26 of 85




                   (2) Siphoning Of The Subsidiary’s Assets By A Parent

                        (a) Legal Principles

       “Siphoning” has been described as “the improper taking of funds [from an entity] that the
 owner was not legally entitled to receive.”104 The transfer of assets from a subsidiary to its
 parent may, in certain circumstances, be deemed “siphoning” that weighs in favor of a finding
 that the parent and subsidiary were a “single economic entity.”105 In Official Comm. of
 Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp. (In re Verestar, Inc.), for example,
 a veil-piercing claim was brought on the debtor’s behalf alleging that “when it was clear that
 [the debtor] would ultimately have to be liquidated,” its parent implemented “a scheme
 entitled ‘Project Harvest,’ a program to transfer as many of [the debtor’s] assets and as much
 of its value as possible to [the parent] before [the debtor’s] inevitable collapse.”106 The
 bankruptcy court denied a motion to dismiss that claim notwithstanding that there was “much
 in the Complaint inconsistent with a viable alter ego claim” or “merely indicative of many
 unremarkable parent-subsidiary relationships.”107 Nonetheless, the court explained, “[t]he key
 to a finding of alter ego liability is that the controlling owners operated the subsidiary as an
 ‘incorporated pocketbook,’” and the plaintiff had adequately alleged that the parent “stripped
 [the debtor] of assets” while “attempting to shield itself from [the debtor’s] liabilities.”108

     “[T]he mere making of payments and transfers [between a parent and subsidiary] alone
 does not create alter ego liability.”109 A transfer made for adequate consideration and with a


 104 Autobacs Strauss, Inc. v. Autobacs Seven Co. (In re Autobacs Strauss, Inc.), 473 B.R. 525, 557 (Bankr. D. Del.

    2012) (quotation marks omitted).
 105 Trustees of the Nat’l Elevator Indus. Pension, Health Benefit and Educ. Funds v. Lutyk, 332 F.3d 188, 195 (3d

    Cir. 2003) (affirming summary judgment piercing corporate veil based in part on sole shareholder’s
    “irregularly scheduled, erratic, but not insignificant ‘drawings’” on corporate assets and “‘loans’ that [the
    shareholder] caused [the corporation] to repay him”) (applying federal common law); In re Saba Enters., Inc.,
    421 B.R. at 653 (denying motion to dismiss veil-piercing claim where complaint alleged that “valuable assets
    of the Debtor, in the form of those subsidiaries with value-generating operations as opposed to abandoned oil
    wells, were siphoned off to . . . its ultimate parent . . . prior to the filing of the Petition” in exchange for
    “nominal consideration”) (applying Colorado law); Gadsden, 2004 Del. Ch. LEXIS 14, at *14–15 (entering
    judgment after trial in favor of plaintiff on veil-piercing claim where “after each Home Preservation project
    was completed, [its sole shareholder] Conaway transferred any excess cash from the company to his personal
    accounts”); Mabon, Nugent & Co., 1990 Del. Ch. LEXIS 46, at *16 (denying defendant’s motion for
    summary judgment on veil-piercing claim where subsidiary guaranteed loans of parent and “received no
    compensation in return”).
 106 In re Verestar, Inc., 343 B.R. at 457.

 107 Id. at 464.

 108 Id. at 465.

 109 Liafail, Inc. v. Learning 2000, Inc., Nos. 01-599 & 01-678, 2002 U.S. Dist. LEXIS 22620, at *37–38 (D. Del.

    2002) (granting defendant’s motion for summary judgment on veil-piercing claim where plaintiff failed to
    “identify any facts from which the court, or a jury, could reasonably determine that [the payments and
    transfers] were improper”).

                                                     VII-A-26
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              A Pg 27 of 85




 legitimate business purpose is unlikely to be viewed as “siphoning” assets.110 Moreover,
 evidence that the parent transferred assets to the subsidiary in an effort to stave off insolvency
 may, in certain circumstances, negate an inference that the parent “siphoned” assets from that
 subsidiary.111

      Infusions of assets by a parent to its subsidiary do not, however, invariably defeat any
 allegation that the parent was abusing the corporate form.112 For example, in United States v.
 Golden Acres, Inc., the U.S. District Court for the District of Delaware’s entry of judgment in
 favor of the plaintiff’s veil-piercing claim relied in part on evidence that “defendants were
 siphoning funds out of the corporation at regular intervals,” notwithstanding a record of
 certain “cash infusions into the corporation.”113 The district court explained that those “cash
 infusions” were “by short-term loan only” and, therefore, were consistent with the conclusion
 that defendants “had no concern for [the corporation’s] balance sheet, they just wanted to keep
 the apartment project secure enough to continue generating funds.”114

       More recently, in Autobacs Strauss, Inc. v. Autobacs Seven Co. (In re Autobacs Strauss,
 Inc.), the Delaware bankruptcy court denied a motion to dismiss a veil-piercing claim and
 rejected the argument that the parent “could not have siphoned money out of [the subsidiary]”




 110 See id.; Harco Nat’l Ins. Co. v. Green Farms, Inc., Civ. No. 1131, 1989 Del. Ch. LEXIS 114, at *16 (Del. Ch.

    Sept. 19, 1989) (denying plaintiff’s motion for summary judgment on veil-piercing claim in part because:
    “[A] transfer of assets [involving a corporation’s repayment of shareholder loans], however, is not necessarily
    a basis for piercing the corporate veil. The plaintiffs must also show that such transfers were done to defraud
    creditors or were done merely to siphon off corporate assets, rather than to repay outstanding loans. This has
    not yet been done.”).
 111 See Alberto v. Diversified Group, Inc., 55 F.3d 201, 207 (5th Cir. 1995) (affirming       granting of parent’s
    motion for summary judgment on veil-piercing claim where bankrupt subsidiary was “already in desperate
    financial straits” when it was purchased and “was not bled white for the benefit of its new ‘grandparent,’ DGI;
    to the contrary, DGI . . . attempted to resuscitate [the subsidiary] by funneling millions of dollars of capital
    into the struggling company”) (applying Delaware law); In re Moll Indus., Inc., 454 B.R. at 590 (plaintiff did
    not adequately allege that the parent “siphoned funds” when it directed the subsidiary “to purchase the Tucson
    facility,” where “the actual net result of this transaction was an increase in the money lent to [the
    subsidiary]”); Tese-Milner v. TPAC, LLC (In re Ticketplanet.com), 313 B.R. 46, 71 (Bankr. S.D.N.Y. 2004)
    (dismissing veil-piercing claim despite allegation “that the Debtor merely served as a tool to further
    Defendants’ interests,” where the debtor had “received a substantial cash infusion from [defendant affiliate
    entity]”).
 112 See NetJets Aviation, Inc., 537 F.3d at 180, 182 (reversing grant of summary judgment dismissing
    veil-piercing claim where there was “ample” evidence to find that “[sole owner] Zimmerman completely
    dominated [limited liability company] LHC and that he essentially treated LHC’s bank account as one of his
    pockets, into which he reached when he needed or desired funds for his personal use,” notwithstanding the
    evidence of “numerous transfers of money by Zimmerman to LHC”).
 113 United States v. Golden Acres, Inc., 702 F. Supp. 1097, 1106 (D. Del. 1988).

 114 Id.



                                                     VII-A-27
12-12020-mg           Doc 3698-20        Filed 05/13/13 Entered 05/13/13 17:08:13            Section VII
                                               A Pg 28 of 85




 when the parent “put ‘net’ cash into the [subsidiary].”115 The court explained that a net cash
 infusion may not always immunize from veil-piercing liability a parent that causes improper
 distributions by an insolvent subsidiary:

                      The question is not what they put in the company, but when they
                      took it out. If the infusions were, in fact, loans, then the insider
                      was siphoning cash by requiring payments to be made under his
                      loan at a time when the company was insolvent. If the infusions
                      were, in fact, capital contributions, it is worse. The controlling
                      insider was making dividends to itself at a time when the
                      company was insolvent.116

      The determination of whether any transfers of debts or assets to or from a subsidiary
 constitute a “siphoning” that could weigh in favor of veil-piercing liability must, therefore,
 turn on the terms of that transfer and the surrounding circumstances.

                         (b) Application To Facts

      The factual record does not evidence any simple looting by AFI of cash or other assets
 from ResCap. Rather than “crude corporate abuse” involving “diverted corporate funds,” the
 Creditors’ Committee asserts, “[t]his case is about practiced corporate abuse” making use of
 “large and often complicated corporate transactions.”117 The Examiner’s analysis of the
 multitude of Affiliate Transactions entered into by ResCap in part considered whether there is
 evidence that any of those transactions resulted in ResCap receiving less than fair market
 value.118 With certain exceptions, the Examiner concludes that the evidence supports the
 proposition that ResCap did not receive less than fair market value in those Affiliate
 Transactions. The bases for the Examiner’s conclusions are set forth in greater detail below as
 to each of: (1) the Ally Bank Transactions; (2) the Second 2009 Tax Allocation Agreement;
 (3) the misallocation of certain brokered-loan revenues beginning in 2009; (4) the various
 asset sales and financings; (5) derivatives including the MSR Swap and the Pipeline Swap;
 and (6) the allocation of liability in connection with government settlements including the
 FRB/FDIC Settlement and the DOJ/AG Settlement.

      Those Affiliate Transactions that were exceptions that resulted in ResCap’s receipt of
 less than fair market value include the 2006 Bank Restructuring and the Second 2009 Tax
 Allocation Agreement.119 The misallocation of revenues on loans brokered by GMAC
 Mortgage to Ally Bank, and more specifically, the response in early 2012, when the


 115 In re Autobacs Strauss, Inc., 473 B.R. at 557.

 116 Id. at 557–58.

 117 Creditors’ Committee Submission Paper, dated Mar. 7, 2013, at 100.

 118 See Section V (analyzing Affiliate Transactions).

 119 See Sections V.A, V.D.



                                                      VII-A-28
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VII
                                               A Pg 29 of 85




 misallocation was discovered, arguably should also be included in this analysis.120 The
 Examiner concludes, however, that the finding that the 2006 Bank Restructuring and the
 Second 2009 Tax Allocation Agreement were for less than fair market value, and that Ally
 Bank retained brokered-loan revenues due to ResCap in 2012, does not—on balance and when
 viewed under all the circumstances—support the proposition that AFI engaged in
 “siphoning.”121 As an initial matter, the approximate total amounts by which the 2006 Bank
 Restructuring (i.e., $390–465 million) and the Second 2009 Tax Allocation Agreement (i.e.,
 $50 million and the avoidance of an obligation now known to be worth up to $1.77 billion)
 fell short of fair market value, combined with the approximately $520.5 million at issue in
 connection with brokered loans, pale in comparison to the $8 billion in financial support that
 AFI provided to ResCap from 2007 to the Petition Date in 2012.122 Specifically, AFI
 contributed to ResCap $2.9 billion in cash, $3.3 billion in debt forgiveness, and $1.9 billion in
 other assets during that time period.123 That $8 billion figure does not account for the other
 Affiliate Transactions where ResCap received at least fair value, many of which provided
 ResCap with much-needed liquidity.124 Indeed, the Examiner finds that at least a few such
 transactions resulted in ResCap’s receipt of more than fair value.125 In at least two instances,
 AFI required its subsidiary GMAC CF to purchase assets from ResCap despite the substantial
 concerns of that entity’s management that the assets were over-valued.126

      Although the Examiner agrees with the Creditors’ Committee that net asset infusions by
 a parent to its subsidiary do not necessarily preclude a finding of “siphoning,”127 here the
 120 See Section V.B.6, VII.L.2. As discussed there, while it appears that the misallocation of revenues that
    occurred from and after August 2009 was originally inadvertent, following the discovery of the issue in
    December 2011, the process which led to Ally Bank’s retention of those revenues (and the requirement that
    ResCap repay revenues from the period January 1, 2009, to July 31, 2009) appears less benign. The events in
    2012 arguably involve only the taking of an additional $51.4 million from GMAC Mortgage; the remaining
    $469.1 million had been taken unwittingly, but was not returned. For purposes of argument, the entire $520.5
    million is considered as part of the “siphoning” analysis.
 121 The Examiner elsewhere considers whether one or more of those transactions may give rise to any other

    causes of action against AFI. See Sections VII.G, VII.H, and VII.L.2.
 122 See Sections V. This approximate dollar amount by which the non-voting IB Finance Class M Shares received

    by ResCap in the 2006 Bank Restructuring were less than the value transferred from ResCap was calculated
    including an indirect benefit to ResCap of avoiding the potential credit downgrade that may have occurred
    had the Cerberus PSA failed to close, which the Examiner has valued at approximately $143 million. See
    Section V.A.1.
 123 See Section VI.C.2, Ex. VI.C.4.f(4)(b)–1; see also Section VII.A.1.f(1)(b) (discussing Creditors’ Committee’s

    characterization of certain of the assets contributed by AFI as “toxic”).
 124 See Sections V.E, V.F.

 125 See Section V.A.1.b (approximate excess value from 2008 Bank Transaction of $127–270 million); Section

    V.A.1.c (approximate excess value from 2009 Bank Transaction of $382–493 million); Section V.B.12
    (GMAC Mortgage received a net benefit from the Pipeline Swap, the MSR Swap, and the related market
    hedges).
 126 See Section V.F (Health Care Finance and Resort Finance transactions).

 127 See Creditors’ Committee Submission Paper, dated Mar. 7, 2013, at 102–3.



                                                      VII-A-29
12-12020-mg             Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VII
                                                  A Pg 30 of 85




 Examiner finds that any inference of “siphoning” is undermined by both the amount of AFI’s
 financial support, and the lack of evidence that such support had the intent or effect of
 disguising or making possible further harm to ResCap and its creditors.128

       Nor has the Investigation uncovered evidence of any broader plan to siphon assets from
 ResCap. Although AFI and various advisors explored from 2007 through 2011 a series of
 strategic initiatives for restructuring ResCap,129 the available evidence distinguishes each of
 those initiatives from the type of “scheme” like the “Project Harvest” alleged in Official
 Comm. of Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp. (In re Verestar, Inc.).130
 Unlike in Verestar, here there is no evidence that any of the AFI strategic initiatives
 contemplated causing ResCap “to sell certain assets to [AFI] for little or no consideration and
 to convey other assets to third parties and divert the proceeds to [AFI].”131 For example, the
 AFI initiative once known as “Project Origin” and later as “Project Timex” contemplated an
 “out of court” purchase by AFI of ResCap’s origination and servicing business.132 Rather than
 a transfer of assets for little or no consideration, however, that initiative proposed a purchase
 price of $3.8 billion, offset by certain liabilities, and an AFI capital contribution of $600
 million.133 Moreover, AFI’s proposal was the subject of counter-proposals from ResCap that
 sought increased consideration and other concessions from AFI.134 In any event, none of the
 AFI strategic initiatives exploring an “out of court” restructuring of ResCap were ever
 implemented.135

      The Creditors’ Committee cites to an August 2008 e-mail exchange between Tessler, AFI
 Director and Managing Director of Cerberus, and de Molina, CEO of AFI, concerning the
 128 Compare Golden Acres, 702 F. Supp. at 1106 (entry of judgment in favor of the plaintiff’s veil-piercing claim

    in part because cash infusions” were “by short-term loan only” and consistent with the conclusion that
    defendants “just wanted to keep the apartment project secure enough to continue generating funds”). The
    Investigation has not uncovered facts comparable to those alleged in In re Autobacs Strauss, Inc., where the
    parent company provided its subsidiary “with a $12.3 million cash infusion” in order to avoid a “going
    concern qualification” on the subsidiary’s audit report, and then compelled the subsidiary to “return $10.6
    million and to treat the transaction as a ‘loan prepayment’” less than two weeks later. See In re Autobacs
    Strauss, Inc. 473 B.R. 525, 549 (Bankr. D. Del. 2012) (denying motion to dismiss veil-piercing claim).
 129 See Sections III.G–J.

 130 See In re Verestar, 343 B.R. at 457.

 131 See  id. at 457. The Examiner expresses no opinion as to whether any of the strategic initiatives for
    restructuring ResCap that were explored by AFI could have, if implemented, resulted in ResCap receiving
    less than fair market value (or otherwise implicated any potential causes of action).
 132 See Section III.I.f; see also Project Timex Update, prepared for a Special Meeting of the Board of Directors of

    GMAC Inc., dated Sept. 10, 2009, at 2 [ALLY_0003185].
 133 See id.

 134 See Section III.I; see also Board Materials
                                               prepared for a Special Meeting of the Board of Directors of
    Residential Capital, LLC, dated Aug. 12, 2009 [EXAM00007335]; Non-Negotiable Items Draft Discussion
    Document, prepared for a Special Meeting of the Board of Directors of Residential Capital, LLC, dated
    Aug. 17, 2009 [EXAM00096379].
 135 See Section III.



                                                     VII-A-30
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              A Pg 31 of 85




 possibility of a sale of ResCap’s mortgage servicing business to AFI as evidence of a plan to
 siphon assets from ResCap.136 The Examiner finds that e-mail exchange to be equivocal, at
 best, and not probative of any plan to siphon assets from ResCap for less than fair value. The
 e-mail exchange could also be read as evidence of a concern to avoid a transaction that could
 “hollow out all of ResCap” and violate obligations to its bondholders.137 Moreover, ResCap
 never did transfer its mortgage servicing business to AFI—let alone transfer it for less than
 fair market value.

     In sum, the Examiner concludes that the evidence does not support the proposition that
 AFI “siphoned” assets from ResCap.

                            (i) The Ally Bank Transactions

      In the 2006 Bank Restructuring, ResCap relinquished its controlling, 100% equity
 interest in Old GMAC Bank and, as required by the DFI, contributed $360 million in cash/
 debt to IB Finance.138 In exchange, ResCap received two million non-voting IB Finance Class
 M Shares.139 The Examiner has found that the 2006 Bank Restructuring resulted in ResCap
 receiving less than reasonably equivalent value.140 In particular, the value of the IB Finance
 Class M Shares ResCap received, as a consequence of the absence of voting rights and the
 concomitant loss of control, was approximately $533–608 million less than the value ResCap
 transferred in the transaction.141 Giving AFI credit for the indirect benefit to ResCap of
 avoiding the potential credit downgrade that may have occurred had the Cerberus PSA failed
 to close (which the Examiner has valued at approximately $143 million), ResCap received
 approximately $390–465 million less than fair value.142

       Although individuals interviewed after the fact by the Examiner’s Professionals in
 general sought to minimize the value of ResCap’s loss of control, evidence arguably suggests
 that the 2006 Bank Restructuring was executed with knowledge or intent that ResCap would

 136 See Creditors’ Committee Submission Paper, dated Mar. 7, 2013, at 50 (citing E-mail from L. Tessler to A. de

    Molina (Aug. 9, 2008) [CCM00121380] (“We can’t hollow out all of ResCap or we are going to have a
    problem with Bonds but I am sure we can figure out something that works.”)).
 137 See E-mail from L. Tessler to A. de Molina (Aug. 9, 2008) [CCM00121380]; see also Int. of L. Tessler,

    Feb. 28, 2013, at 60:23–61:11 (“Most bonds have a ‘substantially all’ provision. And you can’t sell all of the
    assets of an organization without triggering those obligations.”). The Examiner considers in Section VIII
    whether the “substantially all” covenant in ResCap’s bonds was violated.
 138 See Section V.A.1.a.

 139 See Section V.A.1.a.

 140 See Section V.A.1.a.

 141 See Section V.A.1.e.

 142 See Section V.A. (estimating the approximate total value of the 100% interest in Old GMAC Bank and the

    cash/debt contribution to IB Finance at $1.98–2.26 billion and the approximate total value of the IB Finance
    Class M Shares, together with an indirect benefit to ResCap of avoiding potential credit downgrades that may
    have occurred had the Cerberus sale failed to close, at $1.59–1.80 billion).

                                                    VII-A-31
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                               A Pg 32 of 85




 thereby receive less than fair value for the assets transferred, particularly given ResCap’s loss
 of a controlling interest in the Bank.143 The facts concerning this issue are detailed in Sections
 V.A.1, VII.E, and VII.L.1.

      The Examiner does not reach the same conclusions with respect to the subsequent 2008
 Bank Transaction and 2009 Bank Transaction. The Examiner has found that the 2008 Bank
 Transaction, through which ResCap transferred to AFI the ResCap Preferred Interests and the
 right to exchange those interests for IB Finance Preferred Interests and AFI contributed to
 ResCap certain ResCap bonds, did not result in ResCap receiving less than FMV.144 The
 Examiner has also found that the 2009 Bank Transaction, through which ResCap transferred
 to AFI its remaining IB Finance Class M Shares and AFI transferred to ResCap certain
 ResCap bonds, likewise did not result in ResCap receiving less than FMV.145 Indeed, in both
 the 2008 Bank Transaction and the 2009 Bank Transaction, the Examiner has found that the
 value of the consideration received by ResCap likely exceeded the value of the assets
 transferred by ResCap.146 The approximate amount of the “excess” value received by ResCap
 in the 2008 Bank Transaction and the 2009 Bank Transaction was $127–270 million and
 $382–493 million, respectively.147

                            (ii) Second 2009 Tax Allocation Agreement

      As discussed in Section V.D.3, the Second 2009 Tax Allocation Agreement, one of
 several agreements entered into by ResCap and AFI to allocate responsibility for payment of

 143 See Int. of S. Khattri, Oct. 25, 2012, at 97:18–21 (“I think the focus was this was considered a successful way

    where we were enabling the transaction and also protecting everybody’s funding sources.”); Int. of J. Young,
    Sept. 28, 2012, at 91:24–25 (“ResCap ended up in the same position they would’ve had before.”); Int. of E.
    Feldstein, Dec. 14, 2012, at 110:17–18 (“I don’t recall that being an issue.”); Int. of M. Neporent, Feb. 6,
    2013, at 26:1–3 (“[T]he voting or non-voting interest sort of seemed irrelevant at the time, at least from my
    perspective.”). But see Int. of T. Melzer, Oct. 10, 2012, at 206:23–25 (“I think . . . voting would be better.”);
    Int. of T. Hamzehpour, Oct. 5, 2012, at 157:17–19 (describing “a feeling personally that we should have at
    least had a voting interest versus a non–voting interest”); Int. of T. Marano, Nov. 26, 2012, at 35:21–36:23
    (describing as “odd” and “kind of a remarkable thing” that ResCap “could own 51% of the company and have
    no voting rights”).
 144 See Section V.A.

 145 See Section V.A. The Examiner attributed no material value to ResCap’s loss of the right to redeem its IB

    Finance Preferred Interests at par value, which interests had an estimated value at the time of the 2009 Bank
    Transaction of below par. See Section V.A. Nor did the Examiner attempt to quantify the value of the sixty-
    day extension of the Initial Line of Credit Facility that was provided to ResCap by AFI pursuant to the
    2009 Bank Transaction, which facility was undrawn at the time of the 2009 Bank Transaction. See Section
    V.A.
 146 See Sections V.A.

 147 See Section V.A. (estimating the total value of the bonds contributed by AFI in 2008 at approximately $841

    million and the total value of the right transferred to AFI to exchange the ResCap Preferred Interests for IB
    Finance Preferred Interests at approximately $571–714 million); id. (estimating the total value of the bonds
    contributed by AFI at approximately $600 million and the total value of ResCap’s remaining IB Finance Class
    M Shares at approximately $107–218 million).

                                                     VII-A-32
12-12020-mg        Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                             A Pg 33 of 85




 income tax liabilities and the right to tax refunds, was fully executed on January 26, 2011.148
 AFI may use a total of up to $5 billion in tax benefits generated by ResCap, which (at a
 federal tax rate of 35%) would result in tax savings of up to $1.77 billion for AFI.149 Had the
 First 2009 Tax Allocation Agreement remained in place, the amount of tax savings AFI
 realized would be payable to ResCap, though it is not clear how much of this benefit the
 parties should have anticipated would be payable to ResCap at the time they entered into the
 Second 2009 Tax Allocation Agreement.

       The Examiner has concluded that the Second 2009 Tax Allocation Agreement resulted in
 ResCap receiving less than fair market value (regardless of whether the First 2009 Tax
 Allocation Agreement is held enforceable).150 By its terms, there are no circumstances under
 which AFI would be required to make any payment to ResCap.151 That agreement does,
 however, purport to require ResCap to make payments to AFI with respect to any tax on
 account of excess inclusion income generated by ResCap.152 Under that agreement, ResCap
 paid to AFI approximately $32 million for the tax on account of excess inclusion income
 generated by ResCap from November 2, 2009 through December 31, 2011, and would be
 expected to make an additional payment of approximately $17.7 million to AFI for the tax on
 account of excess inclusion income projected to be generated for the following year.153 Absent
 any tax allocation agreement and on a stand-alone basis, as a disregarded entity ResCap would
 not have had any income tax liability arising from its excess inclusion income (or
 otherwise).154 As discussed in Section VII.K.2.c, the Examiner concludes that the
 approximately $50 million in ResCap payments under the Second 2009 Tax Allocation
 Agreement have not been made for FMV and may be avoided as fraudulent transfers. Given
 that the Examiner concludes that the First 2009 Tax Allocation Agreement is more likely than
 not to be deemed enforceable, the shortfall in value ResCap received in the Second 2009 Tax
 Allocation Agreement would include not just the $50 million, but also the value, at the time,
 of the AFI obligations to ResCap under the First 2009 Tax Allocation Agreement.

      As detailed in Section V.D.2.b(3) and VII.K.2, the Investigation uncovered conflicting
 evidence as to whether the ResCap Board or its members knew, when they approved the
 Second 2009 Tax Allocation Agreement, that ResCap would have been entitled to significant
 payments under the First 2009 Tax Allocation Agreement and would receive nothing under

 148 See Section V.D.

 149 See Section V.D.

 150 See Section V.D.

 151 See Second 2009 Tax Allocation Agreement, at sections 1.03D, 2.03 [RC40016871]; see also Section V.D.

 152 See Second 2009 Tax Allocation Agreement, at sections 1.03D, 2.03 [RC40016871]; see also Section V.D.

 153 See Section V.D. The available evidence indicates that approximately $3 million of the $32 million billed by

    and paid to AFI corresponds to excess inclusion income generated by ResCap from July 1, 2009 through
    November 1, 2009—before the effective date of the Second 2009 Tax Allocation Agreement. See
    Section V.D.
 154 See Section V.D.



                                                   VII-A-33
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              A Pg 34 of 85




 the Second 2009 Tax Allocation Agreement. Nonetheless, the evidence does not, ultimately,
 support a conclusion that the Second 2009 Tax Allocation Agreement was entered into with
 the intent to hinder, delay or defraud creditors.155

                             (iii) Misallocation Of Brokered-Loan Revenues

      As discussed in Sections V.B and VII.L.2, beginning August 1, 2009, Ally Bank retained
 revenues on brokered loans that, under the terms of the parties’ agreement in connection with
 the Brokering Consumer Loans to Bank project, should have been allocated to GMAC
 Mortgage, revenues that totaled approximately $469.1 million. At least before the issue was
 discovered in December 2011, there is no evidence that this was intentional. On the contrary,
 the misallocation arose as the apparently unwitting result of the Ally Bank’s fair-value
 election. When the issue came to light and then was investigated in early 2012, Ally Bank did
 not pay the amounts it had retained. Instead, ResCap was prevailed upon to pay Ally Bank the
 amounts it received from January 1, 2009 to July 31, 2009 (when revenues had been allocated
 as the parties agreed), plus interest, totaling $51.4 million, while AFI forgave an equivalent
 amount of debt upon this payment. As explained in Section VII.L.2, the evidence suggests that
 the 2012 resolution of this matter stemmed not from a fair, objective attempt to address the
 issue, but from an overarching concern, on the eve of ResCap’s bankruptcy filing, to avoid
 restating prior financials, particularly those for Ally Bank, and the regulatory scrutiny that
 would have ensued. Nonetheless, given that Ally Bank’s original retention of monies was not
 intentional, and that, for the most part, what is at issue is not taking additional funds from
 GMAC Mortgage, but failure when the issue came to light in 2012 to pay the additional
 monies due, it is debatable whether such sums should be considered for these purposes. For
 purposes of argument, however, the entire $520.5 million is considered as part of the
 siphoning analysis.

                             (iv) Asset Sales And Financings

      With respect to prepetition, related-party asset sales that ResCap entered into between
 August 2007 and May 2009, the Examiner has concluded that ResCap did not receive less
 than FMV in the Health Capital Sale, Excess Servicing Rights Sales, June 2008 Model Home
 Sale, September 2008 Model Home Sale, Resort Finance Sale, ResMor Sale, or US/UK
 Broker-Dealer Sale.156 The approximate combined total of the gross cash consideration
 received by ResCap in those assets sales was approximately $1.75 billion.157 The Examiner
 155 See Sections VII.K.2.

 156 See Section V.F.4. As discussed there, with respect to the June 2008 Model Home Sale the Examiner has

    concluded that, while a close question, the evidence supports the proposition that although the consideration
    ResCap received arguably was slightly below fair market value, particularly when the difficult market
    circumstances and surrounding exigencies are considered, ResCap received reasonably equivalent value.
 157 See Section V.F.4. The breakdown of the approximate gross cash consideration received in those asset sales is

    as follows: Healthcare Sale ($900.5 million); Excess Servicing Rights Sale ($282 million); June 2008 Model
    Home Sale ($230 million); September 2008 Model Home Sale ($59.2 million); Resort Finance Sale ($96.1
    million); ResMor Sale (C$82 million, which was approximately US $67 million as of Dec. 31, 2008); US/UK
    Broker/Dealer Sale ($110.4 million). See id.

                                                    VII-A-34
12-12020-mg         Doc 3698-20        Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                             A Pg 35 of 85




 has likewise concluded that ResCap did not receive less than FMV in any of the prepetition,
 related-party financing transactions it entered into beginning in 2007.158 Each of those
 financings was entered into on terms no less favorable—and in several cases more
 favorable—than those that could have been obtained in the market.159

       The Investigation has not uncovered evidence that any of these asset sales or financings
 were executed with knowledge or intent that ResCap would receive less than FMV.160 To the
 contrary, much of the available evidence appears to be inconsistent with such knowledge or
 intent. For example, the genesis of the Resort Finance Sale appears to have been as part of an
 effort to address “the fading asset sales and other situations” at ResCap by raising $650
 million to $1 billion in cash.161 The terms of the Resort Finance Sale were negotiated by
 ResCap, including the addition of a profit-sharing clause (that later proved inapplicable).162
 Indeed, management of GMAC CF appears to have believed that the Resort Finance Sale was
 executed on terms too favorable to ResCap and better than ResCap could have obtained from
 a third party.163

                           (v) Derivatives

      The Examiner’s Professionals have concluded that, considered separately from GMAC
 Mortgage’s market hedges, the Pipeline Swap was near break-even, that the MSR Swap was
 “in the money,” and that GMAC Mortgage received a net benefit from the Pipeline Swap, the
 MSR Swap, and the related market hedges, considering the entirety of the economics of these
 transactions as they were implemented by the parties.164 With respect to the MSR Swap—the
 transaction that seems to have engendered the most suspicion about its impact on ResCap—
 records reflect cumulative net cash payments made by Ally Bank to GMAC Mortgage of
 approximately $700 million over the period from its September 2007 inception through




 158 See Section V.E.

 159 See id.

 160 See Sections V.F.4 and V.E.

 161 See E-mail from J. Young (May 23, 2008) [EXAM10175040]; see also Section V.F.4.c.

 162 See Section V.F.4.c; Int. of L. Voss, Dec. 13, 2012, at 77:15–78:6 (describing negotiations and stating that

    “[t]here’s no way that deal could have been a bad deal for ResCap”).
 163 See Section V.F.4.c; Int. of W. Hall, Dec. 13, 2012, at 29:19–30:5, 177:2–177:12; Int. of L. Voss, Dec. 13,

    2012, at 77:15–78:6; Minutes of a Special Meeting of the Board of Directors of GMAC Commercial Finance
    LLC, June 23, 2008, at ALLY_PEO_0001822 [ALLY_PEO_0001813] (“[AFI] has decided that the Business
    should be acquired by the Company and has directed the Company to enter into an asset purchase agreement
    with RFC for the purchase of the business.”).
 164 See Sections V.B.12.a and V.B.12.b.



                                                   VII-A-35
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                               A Pg 36 of 85




 April 2012.165 Accordingly, the Examiner concludes that the evidence concerning the MSR
 Swap and the Pipeline Swap does not support the proposition that either transaction
 constituted “siphoning.”166

                             (vi) Government Settlements

       The Examiner concludes that evidence concerning the allocation of costs among ResCap
 and AFI in connection with the FRB/FDIC Settlement and the DOJ/AG Settlement does not
 support the proposition that such allocation constituted “siphoning.”167 ResCap and its
 subsidiaries, as the mortgage servicers, were responsible for a significant portion of the
 actionable issues that were the subject of those settlements. Although there may have been
 problematic aspects to ResCap’s acceptance of an allocation of 92% of the settlement costs,
 that allocation appears to have been limited in effect to ResCap’s and AFI’s accounting. AFI
 further agreed to provide $196.5 million in debt forgiveness, thereby resulting in an effective
 allocation to AFI of approximately 25% of the total settlement costs. The Investigation has not
 located evidence to suggest that the allocation of costs was agreed to with knowledge or intent
 that ResCap would thereby be allocated a share of costs greater than its actual share of
 liability.168

                   (3) Nonpayment Of Dividends

      In certain circumstances, the failure to pay dividends has been found, like the absence of
 corporate formalities or adequate recordkeeping, to suggest that a company is not being
 operated like “a viable corporation, trying to maximize profits, pay off debt and distribute
 excess earnings.”169 However, context matters. Indeed, “many jurisdictions actually hold that
 the payment of dividends at a time when a corporation is insolvent favors piercing the
 corporate veil.”170

     With the exception of the LLC Conversion Dividend declared by the ResCap Board on
 November 27, 2006 and paid in the amount of $575 million, ResCap did not declare or pay any
 165 See Section V.B.12.b.

 166 The Examiner’s conclusion concerning the MSR Swap and the Pipeline Swap excludes the misallocation of

    brokered revenues, which was discussed separately above. See Section VII.A.1.f(2)(b)(iii).
 167 See Section V.C.

 168 See Sections IV.A.2, V.C.1.f(4).

 169 See United States v. Golden Acres, 702 F. Supp. 1097, 1106 (D. Del. 1988).

 170 Trustees of the Nat’l Elevator Indus. Pension, Health Benefit and Educ. Funds v. Lutyk, 332 F.3d 188, 196 (3d

    Cir. 2003) (agreeing with district court’s decision to “not afford any weight to . . . [the company’s] failure to
    pay dividends” in a veil-piercing analysis) (emphasis in original); see also Official Comm. of Unsecured
    Creditors of Moll Indus., Inc. v. Highland Capital Mgmt. LP (In re Moll Indus., Inc.), 454 B.R. 574, 591
    (Bankr. D. Del. 2011) (“[T]he Court finds that a [subsidiary’s] failure to pay a dividend (especially in light of
    [subsidiary’s] financial distress) is not enough to state a claim that [the subsidiary and parent] were a single
    economic enterprise.”).

                                                     VII-A-36
12-12020-mg         Doc 3698-20           Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VII
                                                A Pg 37 of 85




 dividends to AFI.171 By their terms, the 2005 Operating Agreement and the 2006 Amended
 Operating Agreement restricted ResCap from declaring or paying any dividend unless its
 stockholder’s equity exceeded $6.5 billion and, even in such circumstances, imposed
 limitations on the amount of any dividend.172 The stated purpose of this restriction (and others)
 was to “create separation between GM and [AFI], on the one hand, and ResCap, on the other”
 so that ResCap could “obtain[] investment grade credit ratings for its unsecured indebtedness
 that are separate from [AFI’s] ratings and the ratings of GM.”173 In light of this context, and
 ResCap’s distressed financial condition during 2007 through 2012, the Examiner does not
 afford any weight to ResCap’s non-payment of dividends.174

                   (4) Failure To Observe Corporate Formalities And Absence Of Corporate
                       Records

                        (a) Legal Principles

       Relevant factors include, without limitation, consideration of “whether adequate
 corporate records were kept, directors and shareholders met regularly, and corporate directors
 and officers functioned properly.”175 “When those formalities are not respected, the legal
 fiction of corporateness becomes less ‘real’ in the everyday experience of those involved in
 the firm’s operations and any expectation that others would treat it as a distinct, liability-
 limiting entity becomes less reasonable.”176 “In the alter-ego analysis of an LLC, somewhat
 less emphasis is placed on whether the LLC observed internal formalities because fewer such
 formalities are legally required.”177 “[T]he Delaware Limited Liability Company Act . . .
 requires little more than that an LLC execute a proper certificate of formation, maintain a

 171 See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 80, 116. Because the LLC

    Conversion Dividend was authorized by the 2006 Amended Operating Agreement and declared and paid
    while ResCap was solvent, the Examiner concludes that the evidence does not support the proposition that it
    constituted “siphoning.” See Section V.D.3.b.
 172 See
       2005 Operating Agreement, § 2(d) [ALLY_0140795]; 2006 Amended Operating Agreement, § 2(d)
    [ALLY_0041818].
 173 General Motors Acceptance Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 5; see also Section

    III.B.
 174 See Trustees of the Nat’l Elevator Indus. Pension Funds, 332 F.3d at 196; In re Moll Indus., Inc., 454 B.R. at

    591.
 175 Golden Acres, 702 F. Supp. at 1105, see also Phoenix Can. Oil Co. v. Texaco, Inc., 842 F.2d 1466, 1476 (3d

    Cir. 1988) (noting that relevant facts may include “overlapping directorates and officers, separate record
    keeping, payment of taxes and filing of consolidated returns, maintenance of separate bank accounts, level of
    parental financing and control over the subsidiary, and subsidiary authority over day-to-day operations”); PSG
    Poker, LLC, 2008 U.S. Dist. LEXIS 4225, at *29 (finding that company and it sole shareholder were a “single
    economic entity” where the company “held no corporate meetings, employed no one other than [the
    shareholder], had no other officers or directors, . . . operated out of [the shareholder’s] home,” and
    “maintained no corporate records”).
 176 Irwin & Leighton, Inc. v. W.M. Anderson Co., 532 A.2d 983, 989 (Del. Ch. 1987).

 177 NetJets Aviation, Inc., 537 F.3d at 178.



                                                    VII-A-37
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 38 of 85




 registered office in Delaware, have a registered agent for service of process in Delaware, and
 maintain certain records for membership and tax purposes.”178

      Evidence of a parent’s and its subsidiary’s shared officers, directors, employees, offices,
 corporate functions or services, and/or bank accounts may, in certain circumstances, be
 indicative of a “single economic entity.”179 But, such evidence must show something other
 than what is common in a normal parent-subsidiary relationship.180 For example, “wholly-
 owned subsidiaries may share officers, directors and employees with their parent” and,
 without more, the court need not “infer that the subsidiary is a mere instrumentality for the




 178 Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R.

    112, 138 (Bankr. S.D.N.Y. 2009) (dismissing veil-piercing claim despite allegations that limited liability
    company “Holdings had no Board meetings” and explaining that “Holdings had a single Manager at all times”
    pursuant to “the Holdings LLC Agreements”). The Delaware Limited Liability Company Act affords “broad
    discretion [to alter its default rules] in drafting the [Operating] Agreement.” See Elf Atochem N.A., Inc. v.
    Jaffari, 727 A.2d 286, 291 (Del. 1999); see also DEL. CODE ANN. tit. 6, § 18-1101(b) (“It is the policy of this
    chapter to give the maximum effect to the principle of freedom of contract . . . .”).
 179 See TradeWinds Airlines, Inc., 2012 U.S. Dist. LEXIS 39459, at *16–17 (denying motion to dismiss
    veil-piercing claim where plaintiff alleged that defendant “disregarded corporate formalities, failed to keep
    proper records, and comingled C-S Aviation’s funds with those of other companies”); Sykes, 757 F. Supp. 2d
    at 430 (denying motion to dismiss veil-piercing claim where plaintiff alleged “overlap in ownership, officers,
    directors, and personnel, common office space among the corporate entities”) (quotation marks omitted);
    Mabon, Nugent & Co., 1990 Del. Ch. LEXIS 46, at *16 (denying defendant’s motion for summary judgment
    on veil-piercing claim in part because “the [parent’s] and [subsidiary’s] boards are substantially, if not wholly,
    identical”).
 180 See Upjohn Co. v. Syntro Corp., Civ. No. 89-107, 1990 U.S. Dist. LEXIS 11512, at *15 (D. Del. Mar. 9,

    1990) (granting summary judgment in favor of defendant on veil-piercing claim where “plaintiff establishes
    merely a normal, legitimate parent-subsidiary relationship” and “has adduced no evidence of [the
    subsidiary’s] failure to keep separate records or accounts, or any lack of authority over its day-to-day
    operations”).

                                                     VII-A-38
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 39 of 85




 parent” or “that those officers and directors were not functioning properly.”181 “[T]he fact that
 a parent holds out to the public that a subsidiary is a department of its own business increases
 the likelihood that the parent will be held liable for the subsidiary’s acts.”182 Such evidence
 has, however, been found insufficient—without more—to establish that a parent and its
 subsidiary were “a single economic entity.”183

      Evidence that a subsidiary failed to adequately maintain separate corporate records (e.g.,
 financial statements, tax returns, minutes of board meetings) has been found probative of a




 181 In re BH S&B Holdings LLC, 420 B.R. at 138; see also Fletcher v. Alex, Inc., 68 F.3d 1451, 1460 (2d Cir.

    1995) (finding existence of one overlapping director between parent and subsidiary to be “negligible” and
    explaining that “[p]arents and subsidiaries frequently have overlapping boards of directors while maintaining
    separate business operations”); Spagnola, 264 F.R.D. at 87 (dismissing veil-piercing claims and explaining
    that “some overlap between the operations of Chubb and its subsidiaries” is “not unusual and Plaintiffs’
    allegations do not rise to the level that indicates the kind of complete domination and control that is required”)
    (applying Minnesota and Indiana law); In re Ticketplanet.com, 313 B.R. at 71 (“An overlap in ownership,
    officers and directors and responsibilities is not uncommon or impermissible.”); Official Comm. of Unsecured
    Creditors of RSL Com Primecall, Inc. v. Beckoff (In re RSL Com Primecall, Inc.), 2003 Bankr. LEXIS 1635,
    at *53 (Bankr. S.D.N.Y. Dec. 11, 2003) (dismissing veil-piercing claim in part because allegations of
    “extensive overlapping officers and directors,” “managerial and other services that [the parent] provided to
    [the subsidiary], and “unspecified involvement in the day-to-day business affairs of [the subsidiary] by several
    officers and directors of [the parent],” merely “describe[d] a ‘typical’ relationship between parent and
    subsidiary”); In re Foxmeyer Corp., 290 B.R. at 245 (finding that evidence of whether “corporate formalities
    of [subsidiary] Fox Drug were observed” was “equivocal at best” where there was a “certain overlap in
    ownership, officers, directors, and personnel between Fox Drug and [parent] Fox Corp., and that both entities
    used common office space, addresses, and telephone numbers,” but “Fox Drug maintained corporate records,
    elected directors, held board meetings, and compiled minutes for such meetings”); Case Fin., Inc. v. Alden,
    Civ. No. 1184, 2009 Del. Ch. LEXIS 153, at *12–15 (Del. Ch. Aug. 21, 2009) (entering judgment after trial
    rejecting attempt by parent “to pierce its own corporate veil” where parent “Case Financial admits that
    [subsidiary] Case Capital’s Board of Directors had some formal meetings or acted by written consent in lieu
    of such meetings,” despite “overlapping boards of directors” and the “limited number of board meetings” by
    that subsidiary).
 182 Japan Petroleum Co. (Nigeria), Ltd. v. Ashland Oil Co., 456 F. Supp. 831, 841 (D. Del. 1978); see also

    Gabriel Capital, LP, v. NatWest Fin., Inc., 122 F. Supp. 2d 407, 434 (S.D.N.Y. 2005) (denying motion to
    dismiss veil-piercing claim where “documents and representatives of the NatWest defendants referred
    interchangeably to NatWest Finance, NatWest Capital and NatWest Bank”).
 183 Fletcher, 68 F.3d at 1460 (“[T]he district court properly rejected the plaintiffs’ argument that the descriptions

    of [the subsidiary Atex as a ‘division’ of the parent Kodak] and the presence of the Kodak logo in Atex’s
    promotional literature justify piercing the corporate veil.”); Nat’l Gear & Piston, Inc., 2012 U.S. Dist. LEXIS
    72879, at *83 (dismissing veil-piercing claim where plaintiff alleged that parent and subsidiary “shared the
    email address ‘@cummins.com’”); Akzona Inc. v. E.I. DuPont De Nemours & Co., 607 F. Supp. 227, 237–38
    (D. Del. 1984) (excerpts from the parent company’s annual report and the testimony of an officer of the
    subsidiary referring to the subsidiary as a “division” of the parent were not sufficient evidence to support
    veil-piercing); In re Wash. Mut., Inc., 2010 Bankr. LEXIS 2453, at *39 (“[A] common trade name is
    frequently used in parent-subsidiary relationships and is not a basis for disregarding the corporate form.”)
    (applying Washington law).

                                                      VII-A-39
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                               A Pg 40 of 85




 single economic entity.184 On the other hand, the practice of preparing consolidated financial
 statements and tax returns, where permitted by applicable accounting principles and
 regulations, has in general not been considered evidence of such a failure.185

      Courts have “refuse[d] to pierce the veil just because parent corporations retain decision-
 making authority over subsidiaries.”186 The Second Circuit Court of Appeals has observed that
 the fact that a parent required its subsidiary “to seek its approval and/or participation” for
 major transactions “is typical of a majority shareholder or parent corporation.”187 Evidence




 184 Compare Kacprzycki v. A.C. & S., Inc., Civ. No. 88-34, 1990 U.S. Dist. LEXIS 16552, at *6 (D. Del. Oct. 31,

    1990) (granting defendant’s motion for summary judgment on veil-piercing claim where subsidiary “kept its
    own books and records” and the “respective boards of directors of the [parent and subsidiary] held separate
    meetings and each kept their own minutes of such meetings”); and In re Opus East, LLC, 480 B.R. at 571
    (granting motion to dismiss veil-piercing claim in part because allegation that “the Secretary was told to keep
    ‘bare-bones’ minutes does not create a facially plausible allegation that . . . the Debtor lacked proper
    corporate records”); with Leber Associates, LLC v. Entm’t Group Fund, Inc., Civ. No. 00-3759, 2003 U.S.
    Dist. LEXIS 13009, at *45 (S.D.N.Y. July 22, 2003) (issues of fact precluded summary judgment on
    veil-piercing counterclaim where the plaintiff “was unable to produce any corporate records or financial
    documents in response to defendants’ discovery requests”); Golden Acres, 702 F. Supp. at 1106 (“Defendants
    also failed to meet their duty to observe corporate formalities with respect to the corporate records of Golden
    Acres. While corporate tax returns were filed and accounting books maintained, the corporate kit and record
    book were never even opened.”); Autobacs Strauss, Inc. v. Autobacs Seven Co. (In re Autobacs Strauss, Inc.),
    473 B.R. 525, 558 (Bankr. D. Del. 2012) (denying motion to dismiss veil-piercing claim in part because
    “plaintiffs have sufficiently alleged there was an inappropriate absence of corporate records” where “none of
    the loan agreements were circulated to the full ABST board for approval, no resolutions were passed, and no
    minutes of meetings exist”); and Harco Nat’l Ins. Co., 1989 Del. Ch. LEXIS 114, at *15-16 (denying
    plaintiff’s motion for summary judgment but noting that evidence of “lack of corporate formalities in
    operating Green Farms, Inc., especially [with respect to] the maintenance of adequate corporate records”
    would “seemingly present a good case for [veil] piercing”).
 185 See Alberto v. Diversified Group, Inc., 55 F.3d 201, 207 (5th Cir. 1995) (affirming       granting of parent’s
    motion for summary judgment on veil-piercing claim where parent “properly employed consolidated financial
    statements and consolidated tax returns for itself and its subsidiaries”) (applying Delaware law); McAnaney,
    665 F. Supp. 2d at 145 n.12 (“The fact that [defendants] consolidated the financial results of their subsidiaries
    in publicly filed statements merely reflects compliance with the SEC requirement that corporations
    consolidate the results of subsidiaries for which they own a 50 percent or more interest in such statements,
    and is not probative of control for corporate veil piercing purposes.”) (applying New York law); see also
    Volkswagenwerk Aktiengesellschaft v. Beech Aircraft Corp., 751 F.2d 117, 121 n.3 (2d Cir. 1984) (noting that
    “rules regarding the consolidation of subsidiaries are controlled by generally accepted accounting principles,
    which require parent corporations to consolidate subsidiaries if the parent owns more than 50 percent of the
    subsidiary’s stock”).
 186 In re BH S&B Holdings LLC, 420 B.R. at 138 (allegations that “parents retained decision-making authority”

    over subsidiary insufficient to pierce veil) (collecting cases); see also Upjohn Co., 1990 U.S. Dist. LEXIS
    11512, at *14 (“Even the exercise of a significant degree of control by a parent over a subsidiary will not
    suffice to warrant the disregard of separate corporate entities.”).
 187 Fletcher, 68 F.3d at 1459–60.



                                                     VII-A-40
12-12020-mg            Doc 3698-20      Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              A Pg 41 of 85




 that the parent’s management made decisions on behalf of a subsidiary without the
 subsidiary’s management observing appropriate corporate formalities, however, may weigh in
 favor of a finding that the two were a “single economic entity.”188

                         (b) Application To Facts

      This is a case where certain evidence concerning corporate formalities appears
 “inconsistent with a viable alter ego claim.”189 For example, ResCap has maintained a board
 of directors from its commencement of operations in 2005 to the present, which held meetings
 (ranging in number from four in 2005 to eighty-six in 2009), retained legal and financial
 advisors, considered resolutions, and kept minutes.190 ResCap likewise has maintained
 corporate officers from its commencement of operations to the present including, among other
 officers, a Chief Executive Offer, Chief Financial Officer, Chief Operating Officer, Treasurer,
 and Secretary.191 Moreover, ResCap maintained, separate from those of AFI, corporate
 headquarters, subsidiaries, employees, bank accounts, and books and records.192 Such
 evidence is not, however, necessarily dispositive of whether Rescap observed all appropriate
 corporate formalities.193

      To the contrary, the Examiner concludes that the evidence supports the proposition that
 ResCap failed to follow or followed inconsistently certain appropriate corporate formalities.
 For example, ResCap did not always follow certain provisions of the Operating Agreement
 including those requiring that (1) all “material” Affiliate Transactions be entered into on
 “arm’s-length” terms and for “fair value”; (2) ResCap at all times maintain two Independent
 Directors; and (3) ResCap at all times maintain a tax allocation agreement that provides “for


 188 Compare Sykes v. Mel Harris and Assocs., 757 F. Supp. 2d 413, 430 (S.D.N.Y. 2010) (denying motion to

    dismiss veil-piercing claim alleging “low amount of business discretion displayed by the allegedly dominated
    corporations”) (quotation marks omitted); and In re Autobacs Strauss, Inc., 473 B.R. at 556 (denying motion
    to dismiss veil-piercing claim in part because “Plaintiffs have sufficiently alleged the failure of [parent] AB7
    and [subsidiary] ABST to observe corporate formalities” where “AB7 made decisions in Japan,
    communicated them to the Individual Defendants, and those decisions were implemented without observing
    corporate formalities at the [subsidiary]”); with Fletcher, 68 F.3d at 1461 (rejecting argument that subsidiary
    “Atex’s assignment of its former CEO’s mortgage to [parent] Kodak in order to close the sale of Atex’s assets
    to a third party is evidence of Kodak’s domination of Atex” where “[f]ormal contracts were executed, and the
    two companies observed all corporate formalities”).
 189 Official Comm. of Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp. (In re Verestar, Inc.), 343 B.R.

    444, at 464 (Bankr. S.D.N.Y. 2006).
 190 See Section IV.A.

 191 See Appendix IV.A.

 192 See ResidentialCapital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at Item 1 (describing
    business and operations of ResCap).
 193 See In re Verestar, Inc., 343 B.R. at 464 (denying motion to dismiss veil-piercing claim notwithstanding that

    subsidiary had officers and directors, “its own employees and subsidiaries,” and “a separate business with
    separate headquarters”).

                                                     VII-A-41
12-12020-mg         Doc 3698-20       Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                            A Pg 42 of 85




 two-way sharing payments” between ResCap and AFI.194 In connection with certain Affiliate
 Transactions (e.g., the 2006 Bank Restructuring and the Second 2009 Tax Allocation
 Agreement), ResCap’s officers and directors—many of whom were burdened by multiple
 affiliations and potentially divided loyalties—failed to function properly both with respect to
 the requirements of the Operating Agreement and otherwise. Moreover, the lines of authority
 within ResCap were sometimes blurred, as a result in part of initiatives that centralized a
 number of corporate functions and services within AFI and of day-to-day interference in
 ResCap’s operations by Cerberus and AFI employees who held no positions at ResCap.

      The Examiner discusses in detail below the evidence uncovered by the Investigation
 concerning those and other corporate formalities, including: (i) ResCap’s compliance with its
 Operating Agreement; (ii) the functioning of ResCap’s officers and directors; (iii) corporate
 functions and services shared by ResCap and AFI; (iv) ResCap’s authority over its day-to-day
 operations; (v) ResCap’s and AFI’s statements concerning their relationship; and
 (vi) ResCap’s consolidated financial reporting and tax returns.

                          (i) Compliance With ResCap’s Operating Agreement

       The Examiner’s analysis of whether appropriate corporate formalities were followed
 includes the extent of ResCap’s compliance with the provisions of its Operating Agreement.
 The Operating Agreement was entered into with a stated purpose to “create separation
 between GM and [AFI], on the one hand, and ResCap, on the other” so that ResCap could
 “obtain[] investment grade credit ratings for its unsecured indebtedness that are separate from
 [AFI’s] ratings and the ratings of GM.”195 Section 2 of the Operating Agreement includes
 provisions restricting the ability of ResCap to, inter alia, enter into any “material transactions”
 with any “GMAC Affiliate” unless “on terms and conditions that are consistent with those that
 parties at arm’s-length would agree to and for fair value.”196 That section also requires ResCap
 to have “at least two Independent Directors” and that it at all times maintain separate from any
 “GMAC Affiliate”: (1) “books, records and financial statements”; (2) “bank accounts and cash
 management and account receivable systems”; (3) assets, which it must maintain in a manner
 not “costly or difficult to segregate, ascertain or identify” and must not “commingle”;
 (4) “asset investment and hedging programs and systems”; (5) use of “its own stationary,
 invoices, checks and business forms”; and (6) its identity as “a legal entity separate and
 distinct” including by holding itself out to the public as such.197 It further requires ResCap to

 194 2005 Operating Agreement, §§ 2(a)–(d) [ALLY_0140795]; see also 2006 Amended Operating Agreement,

   §§ 2(a)–(d) (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 195 See General Motors Acceptance Corporation, Annual Report (Form 10-K) (March 28, 2006), at 5; see also

   Section III.B.
 196 See 2005 Operating Agreement, § 2(b) [ALLY_0140795]; see also 2006 Amended Operating Agreement,

   § 2(b) (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1);
   Section III.B.
 197 See 2005 Operating Agreement, § 2(f) [ALLY_0140795]; see also 2006 Amended Operating Agreement,

   § 2(e) (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1); Section
   III.B.

                                                  VII-A-42
12-12020-mg        Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              A Pg 43 of 85




 “maintain in effect an income tax allocation agreement [with AFI] that shall provide for two-
 way sharing payments based on the separately calculated tax liability or benefit of ResCap.”198

      To the extent that AFI intends to suggest that the Operating Agreement alone could
 defeat a potential veil-piercing claim, the Examiner is not persuaded.199 If a plaintiff were to
 prove that material terms of the Operating Agreement were in practice disregarded, then the
 mere existence of the Operating Agreement would not shield AFI from a conclusion that
 ResCap and AFI operated as a single economic entity.200 To the contrary, such proof would be
 evidence of a failure to observe appropriate corporate formalities.201 On the other hand, that
 the ResCap Board waived or amended certain provisions of its Operating Agreement does not,
 without more, evidence that ResCap failed to observe appropriate corporate formalities. The
 Operating Agreement has by its terms always provided that its provisions could be “amended
 or waived” by agreement of the parties thereto and, in the case of “an amendment or waiver
 that materially and adversely affects the rights of any Class of Rated Indebtedness,” subject to
 the additional requirement of approval by a majority of both the ResCap Board and its
 Independent Directors who shall “consider only the interest of ResCap, including its
 creditors.”202

      The Investigation has uncovered evidence that, in some cases, ResCap’s officers and
 directors failed to follow or followed inconsistently certain provisions of its Operating
 Agreement. First, ResCap entered into certain “material” Affiliate Transactions that were not,
 contrary to section 2(b) of the Operating Agreement, “on terms and conditions that are
 consistent with those that parties at arm’s-length would agree to and for fair value.”203 Neither
 the 2006 Bank Restructuring nor the Second 2009 Tax Allocation Agreement met those
 requirements.204 Those Affiliate Transactions were executed without the parties obtaining any

 198 2005 Operating Agreement, § 2(b)(iii) [ALLY_0140795]; 2006 Amended Operating Agreement, § 2(b)(iii)

    (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1); see also
    Section V.D.
 199 SeeAFI Submission Paper, dated Dec. 19, 2012, at 10 (“Claimants have no answer for the Operating
    Agreement—and the binding institutional measures of separation it contractually imposed.”).
 200 See FHFA v. Ally Fin., Inc., Civ. No. 11-7010, 2012 U.S. Dist. LEXIS 179768, at *13 (S.D.N.Y. Dec. 19,

    2012) (denying motion to dismiss control person claim asserted against AFI under federal securities law and
    concluding that the “operating agreement entered into between AFI and ResCap in June 2005” failed to
    “demonstrate[] as a matter of law that [AFI] did not exercise control over the ResCap Sponsor and the ResCap
    Depositors during the period that the securitizations at issue were sold”).
 201 See In re BH S&B Holdings LLC, 420 B.R. at 137 (considering terms of “the Holdings LLC Agreements”

    when determining whether the plaintiff had adequately pleaded that “Holdings failed to observe certain
    corporate formalities”).
 202 2005  Operating Agreement, § 8 [ALLY_0140795]; see also 2006 Amended Operating Agreement, § 8
    (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1); Section III.B.
 203 2005 Operating Agreement, § 2(b) [ALLY_0140795]; see also 2006 Amended Operating Agreement, § 2(b)

    (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1); Section III.B.
 204 See Sections V.A.2 and V.D.



                                                    VII-A-43
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              A Pg 44 of 85




 third-party fairness opinions or valuations, despite that ResCap received less than FMV.205
 ResCap was not represented by outside counsel in connection with the negotiation or
 execution of the 2006 Bank Restructuring (although the Independent Directors retained Bryan
 Cave).206

      Notwithstanding that the Independent Directors considered it their duty to review each
 Affiliate Transaction for compliance with section 2(b) of the Operating Agreement, and that
 material transactions which deviated from the arm’s length and fair value requirements were a
 breach of section 2(b) absent waiver by the Independent Directors, such transactions were not
 uniformly presented to the ResCap Board for approval.207 Instead, it appears that ResCap
 management sometimes elected not to seek the approval of the ResCap Board where, for
 example, management concluded that an Affiliate Transaction was not “material” and, in any
 event, “met the standard for arms length” and “fair value.”208 In other cases where Affiliate
 Transactions were executed without presentation to the ResCap Board for approval, the
 Investigation has revealed no evidence that any such determination that they satisfied section
 2(b) of the Operating Agreement had been made by ResCap management.209

       For example, the MMLPSA, the Pipeline Swap, the MSR Swap, and the amendments thereto,
 were, except for certain amendments in 2010 and 2011, never brought to the ResCap Board (or the
 GMAC Mortgage board of directors) for approval.210 The 2010 MSR Swap amendment, entered into
 in or after November 2010 with a retroactive effective date of July 1, 2010, appears to be the first
 instance where such an amendment was approved by the ResCap Board.211 Even then, it appears
 GMAC Mortgage and Ally Bank applied the new terms (including the increased Funding Fee interest
 rate) provided for by the 2010 Net Funding Schedule before it was executed or approved (and
 without obtaining any fairness opinion).212


 205 See Sections V.A.1.a(2) (2006 Bank Restructuring), V.D. (Second 2009 Tax Allocation Agreement). Those

    were not the only Affiliate Transactions where no third-party valuation or fairness opinion was obtained. See,
    e.g., V.F.4.b(3) (June 2008 Model Home Sale).
 206 See Section V.A.1.a; Int. of T. Melzer, Oct. 10, 2012, at 184:9–186:7; Memorandum, Bank Restructuring

    Projects Plan, dated July 25, 2006, at Tasks E.19, E.20 [EXAM10256021].
 207 See Section IV.A.2. The Operating Agreement does not by its terms require that the ResCap Board or the

    Independent Directors approve Affiliate Transactions. See 2006 Amended Operating Agreement, § 2(b)
    (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov 30, 2006), Ex. 10.1).
 208 E–mail from T. Hamzehpour (Dec. 11, 2009) [MELZER.006946] (responding to e–mail from counsel for

    Independent Directors concerning a November 2007 Affiliate Transaction with Cerberus for a “sales price of
    $3.2 million” that was not presented to the ResCap Board); see also Section IV.A.2.
 209 See Section IV.A.2; see also 2006 Amended Operating Agreement, § 2(b) (attached to Residential Capital,

    LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 210 See Section V.B.1.a.

 211 SeeSections V.B.9.d, VII.L.2; Minutes of a Special Meeting of the Board of Residential Capital, LLC,
    Nov. 5, 2010, at RC40018847–48 [RC40018729].
 212 See Section V.B.9.d; E-mail from A. Glassner (Aug. 26, 2010) [EXAM10436075].



                                                    VII-A-44
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              A Pg 45 of 85




      Similarly, the allocation among ResCap and AFI of liability in connection with the FRB/
 FDIC Settlement and the DOJ/AG Settlement was not presented for the approval of the
 ResCap Board.213 Instead, decisions concerning that allocation appear to have been made by
 ResCap accounting personnel in consultation with AFI and AFI’s auditors Deloitte & Touche
 LLP.214 ResCap thereby agreed to an allocation where it would bear 92% of the costs
 associated with the government settlements while AFI would bear 8% of those costs, which
 was consistent with an FRB press release dated February 9, 2012, despite that such an
 allocation was not specified by the DOJ/AG Settlement or the CMP.215

      As another example of inconsistent application of section 2(b) of the Operating
 Agreement, the Investigation has not located any evidence that the 2006 Tax Allocation
 Agreement was ever presented to the ResCap Board for approval.216 Three other income tax
 allocation agreements (i.e., the Implemented 2005 Tax Allocation Agreement, the First 2009
 Tax Allocation Agreement, and the Second 2009 Tax Allocation Agreement), by contrast,
 were presented to the ResCap Board for approval.217 Notably, both of the Affiliate
 Transactions where the Examiner has found that ResCap received less than FMV (i.e., the
 2006 Bank Restructuring and the Second 2009 Tax Allocation Agreement) were presented to
 and approved by the ResCap Board.218

      Second, the Investigation also has located evidence that ResCap at least arguably did not
 comply with the Operating Agreement’s requirement that it “shall at all times have . . . at least
 two Independent Directors,” when the ResCap Board approved certain Affiliate Transactions
 213 See Sections IV.A, V.C; see also Int. of T. Marano, Feb. 27, 2013, at 51:17–23 (“I am not aware that [the

    ResCap Board] specifically approved the allocation.”).
 214 See Section V.C; see also Int. of T. Marano, Feb. 27, 2013, at 21:4–17, 49:19–20 (allocation to “one or the

    other, I think was the decision of the accountants”); Int. of C. Dondzila, Nov. 9, 2012, at 196:15–18 (“after
    consultation with our parent and with our auditors, the decision was made . . . [as to] the appropriate way to
    allocate the obligation”).
 215 See Section V.C; Int. of C. Dondzila, Nov. 9, 2012, at 195:15–197:8, 198:1–8 (“[B]ecause the press release

    was final and was public, the conclusion was to go with that.”); Memorandum, Accrual for DOJ Settlement at
    December 31, 2011, dated Feb. 28, 2012, at 8–9 [EXAM00220938] (“While neither the DOJ/AG Settlement
    nor the CMP Order specifically allocate a portion of the fine to AFI, such an allocation was inferred in a press
    release issued by the [FRB] . . . .”). As explained above, AFI agreed to provide capital support to ResCap in
    connection with these costs pursuant to the January 30 Letter Agreement, which was approved by the ResCap
    Board on January 30, 2012. See Section V.C; Minutes of a Special Meeting of the Board of Residential
    Capital, LLC, Jan. 30, 2012, at RC40019197 [RC40019179].
 216 See Section V.D.

 217 See Section V.D; Unanimous Consent to Action of the Board of Directors of Residential Capital Corporation,

    June 15, 2006, at 2 [RC40005468] (Implemented 2005 Tax Allocation Agreement); Minutes of a Regular
    Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6, 2012, at RC40018820–22
    [RC40018729] (First 2009 Tax Allocation Agreement); Minutes of Special Meeting of Board of Directors of
    Residential Capital, LLC, Dec. 22, 2010, at 6 [RC40018729] (Second 2009 Tax Allocation Agreement). The
    Other 2005 Tax Allocation Agreement, which was not followed by the parties, was not presented to the
    ResCap Board for approval. See Section V.D.
 218 See Sections V.A.1.a(2) and V.D.2.b(3).



                                                     VII-A-45
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                               A Pg 46 of 85




 absent a second Independent Director.219 Independent Directors Tom Jacob and Tom Melzer
 resigned from the ResCap Board on April 20, 2008.220 It was not until June 12, 2008 that both
 Edward Smith and Karin Hirtler-Garvey had been installed to replace them and, meanwhile,
 the Secured Revolver Facility and Resort Finance Sale were approved by the ResCap Board
 with Smith voting as the sole Independent Director.221

       Third, there is evidence that ResCap was, at certain times, not in compliance with section
 2(b)(iii) of the Operating Agreement, which required ResCap to “maintain in effect an income tax
 allocation agreement [with AFI] that shall provide for two-way sharing payments based on the
 separately calculated tax liability or benefit of ResCap.”222 For example, the 2006 Tax Allocation
 Agreement was entered into by ResCap and AFI effective December 1, 2006, but was not drafted
 or executed until late 2008 (and only after AFI’s Director of Tax Allocation and Analysis noticed
 that an income tax allocation agreement was required by the 2006 Amended Operating
 Agreement).223 Moreover, the Second 2009 Tax Allocation Agreement did not, contrary to
 section 2(b)(iii) of the Operating Agreement, provide for “two-way sharing payments” between
 ResCap and AFI.224 Rather, there are no circumstances under which that agreement requires that
 any payments be made by AFI to ResCap.225 The Investigation has not uncovered any evidence
 that the ResCap Board considered the requirements of section 2(b)(iii) of the Operating
 Agreement when it approved the Second 2009 Tax Allocation Agreement.226




 219 See 2005 Operating Agreement, § 2(g)(i) [ALLY_0140795]; see also 2006 Amended Operating Agreement,

    § 2(f)(i) [ALLY_0041818]. That question is not free from doubt. This section of the Operating Agreement
    further provides that “[i]n the event of a vacancy . . . [AFI] shall, as promptly as practicable, elect a successor
    Independent Director.” See id. The Operating Agreement does not define “promptly” or specify whether the
    ResCap Board has the power to issue resolutions during such a vacancy. See id.
 220 See E-mail from A. de Molina (Apr. 20, 2008) [EXAM12336204]; Section IV.A.

 221 See
       Minutes of a Meeting of the Board of Directors of Residential Capital, LLC, June 1, 2008, at
    RC40005749, 55–56 [RC40005652]; Section IV.A.
 222 See 2006 Amended Operating Agreement, § 2(b)(iii) [ALLY_0041818]; see also Section V.D.

 223 See Section V.D.2.a; see also 2006 Tax Allocation Agreement, at ALLY_0178791 [ALLY_0178779]; Letter

    from W. Marx to D. DeBrunner (Sept. 30, 2008), at ALLY_0178792 [ALLY_0178779] (“To comply with the
    terms of the Operating Agreement, we have drafted the attached new tax allocation agreement between [AFI]
    and ResCap.”).
 224 See 2006 Amended Operating Agreement, § 2(b)(iii) (attached to Residential Capital, LLC, Current Report

    (Form 8-K) (Nov. 30, 2006), Ex.10.1); see also Section V.D.
 225 See Second 2009 Tax Allocation Agreement, §§ 1.03D, 2.03 [RC40016871]; see also Section V.D.

 226 See Section V.D.



                                                      VII-A-46
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 47 of 85




                            (ii) Functioning Of ResCap’s Officers And Directors

       AFI exercised its authority under the Operating Agreement to elect each of the directors
 that served on the ResCap Board—including the Independent Directors.227 The Rescap Board
 was consistently populated by directors affiliated with AFI and/or Cerberus.228 As permitted
 under the 2006 Amended Operating Agreement (after the restrictions imposed under the 2005
 Operating Agreement were eliminated with the approval of the Independent Directors), many
 officers and other employees of ResCap also possessed such multiple affiliations.229 Without
 more, these facts do not support an inference that “the subsidiary is a mere instrumentality for
 the parent” or “that those officers and directors were not functioning properly.”230 The
 Investigation has revealed evidence suggesting, however, that ResCap officers and directors—
 perhaps as result of these potentially divided loyalties—failed in certain circumstances to
 function properly.

      In particular, and in addition to the failures described above to follow consistently certain
 provisions of the Operating Agreement, ResCap directors and officers did not function
 properly in connection with the 2006 Bank Restructuring. With respect to the 2006 Bank
 Restructuring, the Investigation has uncovered no evidence that the Independent Directors
 were ever informed that an alternative transaction structure was possible where ResCap could
 have retained a voting interest in IB Finance (or in fact that such an alternative had been
 proposed by ResCap Chief Operations Officer David Applegate).231 Neither the Cerberus PSA
 nor bank regulators mandated that ResCap lose its voting interest.232 Nonetheless, and
 notwithstanding that ResCap General Counsel David Marple had warned management that as
 proposed the restructuring “cannot reasonably be deemed a transaction to which parties at
 arm’s-length would agree,” no evidence has been located that any of ResCap’s inside directors
 or officers advised the Independent Directors that it could have been otherwise.233


 227 See 2005 Operating Agreement, § 2(g)(i) [ALLY_0140795]; 2006 Amended Operating Agreement, § 2(f)(i)

    (attached to Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex.10.1); E-mail from W.
    Solomon (Apr. 14, 2008) [MELZER.004778] (“I am writing on behalf of [AFI] to confirm that you [T.
    Melzer and T. Jacob] were originally recruited, and continue to serve, as independent directors of Residential
    Capital, LLC at the request of [AFI], the sole shareholder of that company.”).
 228 See Section IV.A; Appendix IV.A.

 229 Examples  include without limitation: (1) Eric Feldstein, Chairman of the ResCap Board and AFI CEO;
    (2) Sanjiv Khattri, ResCap Director and AFI CFO; and (3) David Walker, Director of ResCap (and other
    Debtors) and AFI officer. See Appendix IV.A.
 230 In re BH S&B Holdings LLC, 420 B.R. at 138.

 231 SeeSection V.A.1.a; see also Memorandum, ILC Ownership and Control, dated Apr. 24, 2006
    [EXAM11248641].
 232 See Section V.A.1.a; see also Int. of L. Tessler, Nov. 16, 2012, at 27:21–23 (“The specifics of how that [bank

    restructuring] ultimately got structured was more likely left in the hands of [AFI] and ResCap . . . .”).
 233 Section
          V.A.1.a; see also Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 4
    [EXAM11248642].

                                                      VII-A-47
12-12020-mg        Doc 3698-20       Filed 05/13/13 Entered 05/13/13 17:08:13        Section VII
                                           A Pg 48 of 85




      As discussed in Section VII.K.2, the Examiner concludes that, although it is a close
 question in both cases, neither Young’s actions with respect to the First 2009 Tax Allocation
 Agreement nor the ResCap Board’s approval of the Second 2009 Tax Allocation Agreement
 involved a breach of fiduciary duty. Nonetheless, for the reasons discussed in Section VII.K.2,
 both circumstances arguably bespeak a level of dysfunction that the Examiner has considered
 as part of the present veil-piercing analysis.

      Similarly, the process and decision-making in 2012 in connection with the allocation of
 revenues on brokered loans seems to reflect a failure by ResCap management to function
 properly and to defend ResCap’s interests.234 The initial, unvarnished reaction of ResCap and
 Ally Bank personnel when the issue was discovered in December 2011 was that Ally Bank
 had improperly retained a portion of the gain on sale. This was in contravention not only of
 the parties’ specific agreements in connection with the Brokering Consumer Loans to Bank
 project, but of the long-standing arrangement that GMAC Mortgage, in exchange for
 assuming all the risk (including representation and warranty risk), was to receive the gain on
 sale. The process that followed discovery of the issue, however, appears to have been
 dominated by AFI and Ally Bank, particularly Young (who left ResCap for Ally Bank in mid-
 2011), and then left to accountants for resolution, without an effective advocate for ResCap.
 The result in 2012—in which ResCap not only did not pursue the additional $469 million the
 Examiner concludes likely would be held due to ResCap, but paid $51.4 million to Ally
 Bank—does not appear to be the product of a fair or balanced attempt to determine the parties’
 intent.

      Likewise, as discussed in Section V.C, the process which led to the FRB/FDIC
 Settlement and the DOJ/AG Settlement and the allocation of costs under those settlements
 also reflects some level of dysfunction. For example, ResCap’s officers only retained Bradley
 Arant as counsel, which also represented AFI (despite ResCap’s and AFI’s potentially adverse
 interests). AFI, on the other hand, was also represented by separate counsel at Sullivan &
 Cromwell (although it is unclear what, if any, effect this ultimately had on the settlement
 agreements). Further, the 92/8 allocation of the settlements between ResCap and AFI seems to
 have been settled on by the accountants, without involvement or approval by the ResCap
 Board.

                           (iii) Shared Functions and Services

      The Investigation has uncovered evidence reflecting that, over time, AFI and ResCap
 became increasingly intertwined with respect to a range of corporate functions and services.235
 Although the overlap of certain corporate functions and services among affiliated corporations
 is not unusual, the facts here depart to some extent from the “‘typical’ relationship between




 234 See Sections V.B and VII.L.2.

 235 See Section V.H.



                                               VII-A-48
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              A Pg 49 of 85




 parent and subsidiary” in the scale of overlap, the degree of confusion in the lines of corporate
 reporting that resulted, and the undocumented basis on which certain services were shared.236

      In March 2007, AFI CEO Eric Feldstein announced that “[t]he staff functions of GMAC
 [would] be realigned into strong global functions” in areas including, Finance, Information
 Technology, Communications, Human Resources, and Legal.237 According to Feldstein, AFI’s
 “historical business model” had “emphasized autonomous business units.”238 That structure
 had in many cases “led to the creation of duplicate and sometimes disparate support systems
 and fragmented staff functions.”239 By creating these “global functions,” AFI anticipated “as
 much as $500 million in cost savings by eliminating redundant work, aligning processes, and
 integrating systems.”240 Although “local functional leadership [would] remain responsible for
 supporting individual business units as they [had] in the past, they [would] now also be
 charged to operate on a unified global basis within their function.”241

      Beginning in 2008, in an effort led by AFI CEO de Molina, additional steps were taken to
 further eliminate duplication and centralize the “global functions” of AFI and its
 subsidiaries.242 Among other changes, the centralization of “global functions” resulted in
 certain ResCap employees reporting directly to employees of AFI, and vice versa. For
 example, as part of the “global” legal function Tammy Hamzehpour was both “the general
 counsel of ResCap but . . . also chief counsel for Ally’s corporate services attorneys.”243
 Moreover, “all of the litigation team that [had] reported to [Hamzehpour] . . . became reports
 of [AFI].”244


 236 Official Comm. of Unsecured Creditors of RSL Com Primecall, Inc. v. Beckoff (In re RSL Com Primecall,

    Inc.), Adv. Proc. No. 03-2176, 2003 Bankr. LEXIS 1635, at *53 (Bankr. S.D.N.Y. Dec. 11, 2003) (dismissing
    veil-piercing claim in part because allegations of “managerial and other services that [the parent] provided to
    [the subsidiary]” merely “describe[d] a ‘typical’ relationship between parent and subsidiary”).
 237 See Memorandum, GMAC Global Functions, Mar. 15, 2007 [EXAM10063058].

 238 See id.

 239 See id.; see also Int. of L. Tessler, Feb. 28, 2013, at 34:7–14 (“ResCap was and has always been operated as a

    standalone company . . . . And, but definition, you have redundancies in cost structure as a result of that.”);
    Int. of J. Whitlinger, Nov. 30, 2012, at 11:4–5 (“[Y]ou had two companies [RFC and GMAC Mortgage] that
    had two of everything. We called it Noah’s Ark.”).
 240 Memorandum, GMAC Global Functions, Mar. 15, 2007 [EXAM10063058].

 241 See id.

 242 See Int. of T. Hamzehpour, Oct. 5, 2012, at 67:21–68:3 (“The [AFI] organization historically was an
    organization of business unit silos and he viewed that as redundant and he wanted centralized functions. So all
    of the functions—finance, compliance, risk, legal were expected to centralize, and legal was one of the last
    ones [in January 2009].”); Int. of L. Tessler, Feb. 28, 2013, at 33:23–34:3 (“[T]here are two ways to survive a
    crisis. You know, raise revenues and reduce expenses and raise liquidity. And I suspect all of those options
    were on the table [in June 2008].”).
 243 See Int. of T. Hamzehpour, Oct. 5, 2012, at 67:5–7.

 244 Int. of T. Hamzehpour, Oct. 5, 2012, at 63:20–22.



                                                     VII-A-49
12-12020-mg         Doc 3698-20           Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                A Pg 50 of 85




      From the beginning, certain individuals within ResCap were concerned that this
 centralization of “global functions” within AFI could decrease ResCap’s independence.245
 ResCap CFO James Giertz viewed these changes as part of a “drive to dismantle the ResCap
 structure and replace it with a more substantial infrastructure within the parent company
 [AFI].”246 Giertz resigned in March 2007 citing this and other reasons.247 A year later, ResCap
 Treasurer Bill Casey voiced similar complaints in an e-mail sent to Jim Jones, ResCap CEO,
 where Casey stated that he had been “left without direction, support or guidance from the
 senior management team in dealing with the past and current [AFI] leadership” and that
 “[o]ver the past nine months [his] reporting lines changed repeatedly” from reporting to
 ResCap, to AFI, then back again to ResCap.248 Casey left ResCap a few months later.249

      As of the Debtors’ bankruptcy filing, ResCap and AFI continued to provide each other
 with a variety of services in areas including information technology, human resources,
 finance, compliance, risk management, treasury, legal, supply chain, capital markets,
 marketing, and facilities.250 According to the Debtors, such services were “historically”
 provided “on an undocumented basis.”251

 245 See Int. of T. Marano, Nov. 26, 2012, at 190:23–191:2 (Q: “Were there any concerns expressed . . . that by

    having shared functions it might erode the firewall that existed between ResCap and [AFI]?” A: “Yes.”); E-
    mail from K. Tietjen (Apr. 17, 2008) [CCM00005242] (“Things are a little dicey at ResCap/RFG with the
    [AFI] corporate functions having been given the green light by Al to really start driving their agendas into the
    business units . . . . I’m fearful there will be a mass exodus of the leadership team at [ResCap] . . . if Al’s team
    continues to treat them like second class citizens / impose the corporate agenda on the leaders without their
    input.”). Marano agreed that the centralization of global functions “would get [ResCap] more entangled in
    [AFI],” but considered that an “advantage” because it would “probably make it harder for them to let us file.”
    Int. of T. Marano, Nov. 26, 2012, at 191:9–14.
 246 E-mail from J. Giertz (Mar. 26, 2007) [EXAM10166630].

 247 See id.

 248 E-mail from W. Casey (Apr. 28, 2007), at EXAM10173944 [EXAM10173943]; see also Int. of J. Jones,

    Nov. 30, 2012, at 148:23–149:3 (“I think that the tension [that] was created for those functional managers
    [like Bill Casey] of well, do I report to you, Jones and Company, as the business heads [of ResCap] or do I
    report to the functional head of these activities at [AFI]. . . generally, the answer to that was yes.”).
 249 See Int. of W. Casey, Jan. 31, 2013, at 6:12–16 (Casey resigned from ResCap in “June or July of [2008,]

    approximately”).
 250 See Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code Sections 105(a) and 363(b)
    Authorizing Residential Capital, LLC to Enter into a Shared Services Agreement with Ally Financial Inc.
    Nunc Pro Tunc to the Petition Date for the Continued Receipt and Provision of Shared Services Necessary for
    the Operation of the Debtors’ Business [Docket No. 41] at 14–16.
 251 Id. at 6; see also Appendix to Ally Sept. 23, 2011 Board Presentation, at ALLY_0157506 [ALLY_0157478]

    (“Many intercompany administrative service agreements are being revised subject to approval by the FDIC.
    ResCap services under these agreements are currently provided to Ally Bank at no charge.”); E-mail from J.
    Lombardo (Nov. 4, 2008) [ALLY_0324332] (describing “concerns” raised by J. Peterson including “the cost
    of services provided by ResCap to the Bank and the lack of true ‘billing’ between the two parties”). As
    discussed in Section V.H, for those periods where available information permits a conclusion to be drawn, the
    Examiner concludes that ResCap received adequate consideration for these services, when unallocated AFI
    Stewardship Costs for services provided to ResCap are taken into account.

                                                      VII-A-50
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                               A Pg 51 of 85




                            (iv) Authority Over Day-To-Day Operations

       The Investigation has uncovered evidence of certain instances of interference by AFI and
 its affiliates in the day-to-day operations of ResCap. After the closing of the Cerberus PSA in
 particular, there is evidence that, in the words of one Cerberus employee, “[t]he lines of
 authority and accountability [became] blurred among [AFI], ResCap and Cerberus.”252 Upon
 his resignation in March 2007, ResCap CFO James Giertz would similarly observe that it was
 not “clear to [him] who is making the key decisions within the business but certainly the
 official management structure and decision making processes are not being respected
 frequently.”253

      Upon completion of the 2006 Cerberus acquisition of 51% of AFI, a number of high-
 ranking Cerberus personnel joined the AFI Board, including Leonard Tessler (Managing
 Director, Cerberus Capital Management), Mark Neporent (COO and General Counsel,
 Cerberus Capital Management), Frank Bruno, and Seth Plattus. They remained on AFI’s
 Board until early 2009, when, in connection with AFI’s becoming a bank holding company
 and its receipt of TARP funds, Cerberus entered the passivity agreement and Stephen
 Feinberg, co-founder, CEO, and Chief Investment Officer of Cerberus, became the Cerberus
 appointee to the AFI Board.

      As of April 1, 2007, AFI entered into the Consulting Agreement with Cerberus.254
 Although ResCap was not a party to that agreement, it nonetheless provided for dozens of
 Cerberus employees to be embedded as consultants at ResCap.255 This arrangement lasted
 until Cerberus entered into the passivity agreement in 2009. The evidence supports the
 proposition that, in certain instances, employees of Cerberus (who also held positions with
 AFI, or reported to those who did)—without holding any position at ResCap—gave
 instructions to employees of ResCap or its subsidiaries. For example, in April 2007 a ResCap
 trader reported to Ralph Flees, then the Controller of RFC, that “Frank Bruno . . . of Cerberus




 252 Memorandum (undated) [CCM00045982] (attached to an e-mail from R. Wechsler to L. Tessler (June 11,

    2008) [CCM00045981]).
 253 E-mail from J. Giertz (Mar. 26, 2007) [EXAM10166630] (“I submitted my resignation to Bruce [Paradis] late

    last week . . . .”); see also Int. of E. Feldstein, Dec. 14, 2012, at 200:25–201:2 (explaining that he has resigned
    as CEO of AFI in part because “Cerberus had injected people into ResCap and other places who had felt like
    they were reporting to Cerberus not to me”).
 254 See Section III.E.11; Consulting Agreement [ALLY_0401248].

 255 See Section III.E.11; Consulting Agreement, Ex. A [ALLY_0401248] (listing fifty-nine Cerberus employees

    to provide consulting services to ResCap). The Investigation has not located any evidence that ResCap
    executed a copy of the addendum to the Consulting Agreement to “opt-in” to that agreement. See Section
    III.E.11.

                                                      VII-A-51
12-12020-mg          Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                               A Pg 52 of 85




 has requested that we begin selling portions of the HFI Book.”256 Similarly, in January 2008,
 Tessler negotiated terms of ResCap’s engagement of Bear Stearns to market Resort Finance to
 third parties.257

      Indeed, the evidence further indicates that members of ResCap senior management were
 replaced by Cerberus and AFI—rather than by the ResCap Board as the ResCap LLC
 Agreement contemplates.258 For example, ResCap Chief Operating Officer David Applegate
 and CEO Bruce Paradis resigned in early 2007.259 According to Tessler, they were replaced
 because “we lacked confidence in the ability of Mr. Paradis and Mr. Applegate to execute the
 underwriting discipline we thought was appropriate for the environment that the company was
 now operating in.”260 It was only after the fact that the ResCap Board acknowledged “recently
 announced organizational changes” and “accepted” the resignations of Applegate and
 Paradis.261

                             (v) Statements By AFI And ResCap Concerning Their Relationship

      Certain parties have argued to the Examiner that ResCap and AFI should be considered a
 single economic entity in part because they “held themselves out to the public as a single




 256 E-mail from F. Dibias to R. Flees (Apr. 4, 2007) [EXAM10164490]; see also Int. of R. Flees, Jan. 18, 2013, at

    177:15–184:12.
 257 See Int. of L. Tessler, Feb. 28, 2013, at 12:9–12 (“I do recall being somewhat more involved in trying to

    market [R]esort [F]inance. I had some participation with Bear Stearns in this process.”); E-mail from
    M. St. Charles (Jan. 18, 2008) [EXAM11309086] (“Steve Lipman spoke to Leonard Tessler last night about
    the $6 [million] fee that Bear [Stearns] has proposed for Time Off. Leonard spoke with Mike Rossi and they
    agreed that $6m was an appropriate fee for this transaction.”).
 258 See Section III.F.2.d(2); 2006 ResCap LLC Agreement, § 16 (authorizing the ResCap Board to appoint and

    remove officers).
 259 See Section III.F.2.d(2).

 260 See Int. of L. Tessler, Nov. 16, 2012, at 86:14–19; see also Int. of M. Neporent, Feb. 6, 2013, at 55:7–9

    (performance of Applegate and Paradis was a “general board issue at GMAC”); id. at 55:23–56:7 (“[W]e did
    not think that they were being properly responsive to the changes in the market and weren’t recognizing . . .
    some tectonic changes in the . . . way the business had to be run. . . . I can’t pinpoint who, or what, or when.”);
    Section III.F.2.d(2).
 261 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital LLC, Mar. 23, 2007, at

    1–2 [EXAM00066636] (“The Chairman remarked on recently announced organizational changes and
    recommended that the Board accept David M. Applegate’s resignation as a Director and Chief Operating
    Officer.”); see also Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC,
    May 11, 2007, at EXAM00066659 [EXAM00066660] (accepting resignation of Paradis); 2007 ResCap
    Update Report to GMAC Board of Directors, Mar. 15, 2007, at ALLY_0007505 [ALLY_0007439] (stating
    that a “new strategic plan is being implemented” and that ResCap had “[i]nstalled new senior management”);
    Memorandum, RFG Leadership, dated Mar. 5, 2007 [EXAM10255578] (reporting replacement of Applegate
    and Scholtz).

                                                      VII-A-52
12-12020-mg        Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              A Pg 53 of 85




 entity.”262 Those parties in principal part rely upon various public statements including, for
 example, language in AFI’s SEC filings stating that “We are a leading real estate finance
 company” or referring to “Our Origination and Servicing Operations.”263 The Examiner does
 not find those or similar statements to be remarkable, or probative that AFI and ResCap held
 themselves out as a single entity. As an initial matter, those very same SEC filings disclose the
 existence of ResCap as a separate legal entity through which AFI conducts certain of its
 mortgage businesses.264 Moreover, ResCap made its own SEC filings as a separate legal entity
 from AFI, including annual reports, quarterly reports, and current reports.265 Courts have
 found inadequate allegations of similar statements in a parent corporation’s annual report
 describing a subsidiary as part of a “division” where, as here, “[t]he annual report makes it
 clear that the . . . ‘division’ is composed of separate corporations.”266

       The Creditors’ Committee and other parties have further argued that “ResCap employees
 held themselves out to the world as one with AFI” by “using email addresses with the
 ‘ally.com’ domain name.”267 It is undisputed that certain officers or employees of ResCap




 262 See Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 15–17; see also FGIC Submission Paper,

    dated Oct. 17, 2012, at 14–18 (“[AFI] describes its subsidiaries as its own business units rather than separate
    and distinct entities.”).
 263 GMAC   LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 2 (emphasis added); Ally Financial, Inc.,
    Annual Report (Form 10-K) (Feb. 25, 2011), at 5 (emphasis added); see also General Motors Acceptance
    Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 1; GMAC LLC, Annual Report (Form 10-K)
    (Feb. 26, 2009), at 2; GMAC Inc., Annual Report (Form 10-K) (Feb. 26, 2010), at 3; 2011; Ally Financial,
    Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 4.
 264 See General Motors Acceptance Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 1, 5 (“We

    operate directly and through our subsidiaries and affiliate in which we or GM have equity investments”;
    describing “Residential Capital Corporation” as “the holding company for our residential mortgage
    business”); GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 6 (noting that the mortgage business
    is run by “Residential Capital, LLC or ResCap” and defining “[t]he terms ‘GMAC’, ‘the company’, ‘we’, and
    ‘us’ [to] refer to GMAC LLC and its subsidiaries as a consolidated entity”); Ally Financial, Inc., Annual
    Report (Form 10-K) (Feb. 25, 2011), at 11 (“These [mortgage] operations are conducted through . . .
    subsidiaries of the Residential Capital, LLC (ResCap) legal entity in the United States.”).
 265 See, e.g., Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007); see also Section III.I.5

    (explaining that the SEC permitted ResCap to discontinue filings in 2009).
 266 Akzona Inc., 607 F. Supp. at 237. The Examiner reaches the same conclusion as to the other similar public

    statements identified by the parties, including, for example, certain excerpts from an AFI web site and ResCap
    marketing materials. See FGIC Submission Paper, dated Oct. 17, 2012, at 14–18 & Exs. 25, 28. Statements
    that ResCap was part of a “family of companies” or a “business unit” of AFI are not fairly construed under the
    circumstances as statements that ResCap and AFI were a single legal entity. See id.
 267 Creditors’ Committee Submission Paper, dated Mar. 7, 2013, at 16; see also Wilmington Trust Submission

    Paper, dated Mar. 8, 2013, at 15–17; Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 3–4
    (“[ResCap] employees used ‘ally.com’ e-mail addresses, and letters and presentations were often made on
    AFI stationary”); FGIC Submission Paper, dated Oct. 17, 2012, at 11, 17–18.

                                                    VII-A-53
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              A Pg 54 of 85




 maintained at various times an additional e-mail account with an AFI or Ally Bank domain
 name. This practice may have become more prevalent with the centralization of certain
 services and functions among ResCap and AFI beginning in 2007.268 It also appears to be
 undisputed that certain ResCap marketing materials, presentations, and written
 correspondence sometimes bore AFI logos.269 But, courts have often found such facts, without
 more, to be of little or no probative value when assessing whether a parent and subsidiary
 should be considered a single economic entity.270

      The Examiner reaches the same conclusion here. Without more, evidence that ResCap
 employees used AFI e-mail addresses or that ResCap promotional materials or letterhead bore
 an AFI logo does not present a case where, for example, the “blur” between ResCap and AFI
 was so “pervasive” that the two entities were used interchangeably in contracts with third
 parties.271 Nor has the Investigation uncovered evidence that any ResCap creditor was
 misinformed as to the separate legal identities of ResCap and AFI, or relied upon such
 misinformation as a promise that AFI would guarantee ResCap’s obligations.272 Although the
 Examiner is aware of certain instances where a third party (e.g., UBS Securities LLC,
 Berkshire Hathaway Inc.) appeared to have mistakenly referred in correspondence to a
 ResCap officer as an officer of AFI, or vice versa, such instances alone do not evidence that
 those parties perceived ResCap and AFI as sharing a legal identity.273




 268 See E-mail from E. Halloran (May 3, 2010) [EXAM20040019] (“[B]ecause we [in the GMAC Treasury

    group] are a global function our emails and business cards will change [to reflect the change from GMAC to
    AFI].”).
 269 See, e.g., AFI Submission Paper, dated Dec. 19, 2012, at 13–16. AFI does, of course, dispute that these things

    are of any moment.
 270 See Fletcher, 68 F.3d at 1460 (“[T]he district court properly rejected the plaintiffs’ argument that the
    descriptions of [the subsidiary Atex as a ‘division’ of the parent Kodak] and the presence of the Kodak logo in
    Atex’s promotional literature justify piercing the corporate veil.”); Nat’l Gear & Piston, Inc., 2012 U.S. Dist.
    LEXIS 72879, at *83 (dismissing veil-piercing claim where plaintiff alleged that parent and subsidiary
    “shared the email address ‘@cummins.com’”); In re Wash. Mut., Inc., 2010 Bankr. LEXIS 2453, at *39 (“[A]
    common trade name is frequently used in parent-subsidiary relationships and is not a basis for disregarding
    the corporate form.”) (applying Washington law).
 271 See Motown Record Co. v. iMesh.com, Inc., Civ. No. 03-7339, 2004 U.S. Dist. LEXIS 3972, at *14–16

    (S.D.N.Y. Mar. 12, 2004) (denying motion to dismiss veil-piercing claim where lawsuit commenced by parent
    company was settled by an agreement naming its subsidiary as the releasor) (applying Delaware law).
 272 Cf. Gabriel Capital, L.P. v. NatWest Fin. Inc., 122 F. Supp. 2d 407, 434–35 (S.D.N.Y. 2000), 122 F. Supp. 2d

    at 434–35 (denying motion to dismiss veil-piercing claim where “documents and representatives of the
    NatWest defendants referred interchangeably to NatWest Finance, NatWest Capital and NatWest Bank” and
    plaintiffs “were unaware of the role of [alleged alter ego] NatWest Bank when they purchased the Notes”).
 273 See Letter from R.T. Weschler to M. Carpenter (May 4, 2012) [CCM00637385] (addressing T. Marano as

    “Chief Executive Officer Mortgage Operations and Chief Capital Markets Executive, Ally Financial Inc.”);
    Letter from UBS Securities LLC to T. Marano (undated) [EXAM00220064] (addressed to T. Marano at
    “GMAC, LLC”).

                                                     VII-A-54
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 55 of 85




      In sum, the Examiner’s assessment of whether ResCap and AFI could be deemed a single
 economic entity does not ascribe significant weight to allegations that they held themselves
 out to the public as such.

                            (vi) Consolidated Financial Reporting And Tax Returns

      Wilmington Trust and other parties have argued that ResCap and AFI should be
 considered a single economic entity in part because ResCap “stopped filing public financial
 statements after the second quarter of 2009.”274 By letter dated November 3, 2009, the SEC
 approved ResCap’s request to “stop filing periodic and current reports under the Securities
 Exchange Act of 1934.”275 Thereafter, AFI continued to file with the SEC consolidated
 financial statements.276 Without more, the Examiner does not consider consolidated financial
 reporting to be probative of a failure to observe appropriate formalities.277 The Investigation
 has not uncovered evidence that, as Wilmington Trust asserts, consolidated financial reporting
 concealed “the true state of [ResCap’s] financial health and the extent of AFI’s asset-stripping
 program.”278 Indeed, it appears that, even after deregistration, ResCap continued to make
 separate, unconsolidated financial statement available to bondholders.279
 274 Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 24–25; see also FGIC Submission Paper, dated

    Oct. 17, 2012, at 16 (noting that AFI reported on the businesses “of its subsidiaries in later filings on an
    integrated basis”).
 275 SEC No Action Letter (Nov. 3, 2009); see also Section III.I.5.

 276 See, e.g., GMAC LLC, Annual Report (Form 10-K) (Mar. 1, 2010), at 120.

 277 See Alberto, 55 F.3d at 207 (affirming granting of parent’s motion for summary judgment on veil-piercing

    claim where parent “properly employed consolidated financial statements . . . for itself and its subsidiaries”)
    (applying Delaware law); McAnaney v. Astoria Fin. Corp., 665 F. Supp. 2d 132, 145 n.12 (E.D.N.Y. 2009)
    (“The fact that [defendants] consolidated the financial results of their subsidiaries in publicly filed statements
    merely reflects compliance with the SEC requirement that corporations consolidate the results of subsidiaries
    for which they own a 50 percent or more interest in such statements, and is not probative of control for
    corporate veil piercing purposes.”) (applying New York law); see also Volkswagenwerk Aktiengesellschaft,
    751 F.2d at 121 n.3 (noting that “rules regarding the consolidation of subsidiaries are controlled by generally
    accepted accounting principles, which require parent corporations to consolidate subsidiaries if the parent
    owns more than 50 percent of the subsidiary’s stock”).
 278 Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 24–25.

 279 The June 2008 Indentures provide that, if ResCap were not required to file with the SEC, then it would

    “maintain a non-public website on which Holders of Notes . . . may access the quarterly and annual financial
    information of [ResCap], and [ResCap would] direct Holders of Notes . . . on its publicly available website to
    contact [ResCap’s CFO] to obtain access to the non-public website.” See Senior Secured Notes Indenture,
    § 4.03(b); Junior Secured Notes Indenture, § 4.03(b) (same). During its deliberations concerning
    deregistration, the ResCap Board contemplated that certain more limited financial information would continue
    to be provided to debt investors and full audited financial statements would continue to be prepared by
    ResCap. See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 24,
    2009, at RC40006226–27 [RC40005949]; ResCap Board Presentation: ResCap’s De-registration from SEC
    Filing Requirements, presented at a Special Meeting of the Board of Directors of Residential Capital, LLC,
    June 24, 2009 [EXAM11625696]. The available evidence indicates that ResCap continued to prepare such
    financial statements in the years after deregistration. See Residential Capital, LLC, Consolidated Financial
    Statements for the Years Ended December 31, 2011 and 2010 [EXAM00122651].

                                                     VII-A-55
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                               A Pg 56 of 85




      Nor does the Examiner find the consolidated income tax returns of AFI and ResCap to be
 probative of a failure to follow appropriate corporate formalities. Following ResCap’s
 conversion to a limited liability company on October 24, 2006, ResCap elected to change its
 federal tax classification to that of a disregarded entity.280 This treatment of ResCap as a
 “division” of AFI for federal income tax purposes is not, however, evidence that ResCap and
 AFI should be considered a single economic entity for all purposes.281

                   (5) Merely A Facade For The Operations Of The Dominant Parent

                        (a) Legal Principles

       “When a parent corporation exercises significant control over a subsidiary’s operations
 and finances, an inference may arise that Defendants created a facade.”282 This factor requires
 that the control be in a nature outside of “a prototypical parent-subsidiary relationship.”283 One
 Delaware court has described this factor as satisfied where a corporation is “ignored” by its
 shareholders, who instead “operate[] the [corporation’s business] as if they own[] it outright”
 despite the corporation’s obligations to creditors.284 Other courts applying Delaware law have
 suggested that “[t]he extent of the domination and control must preclude the controlled entity
 from having legal or independent significance of its own.”285 Moreover, several courts have




 280 See Sections III.E.5 and V.D; Memorandum, Final Tax Liabilities Allocated from GM, dated Jan. 25, 2008, at

    ALLY_0208456 [ALLY_0208456].
 281 See Alberto, 55 F.3d at 207 (affirming granting of parent’s motion for summary judgment on veil-piercing

    claim where parent “properly employed . . . consolidated tax returns for itself and its subsidiaries” and
    explaining that “[t]he Internal Revenue Code allows a parent corporation to file consolidated income tax
    returns with its subsidiaries” in certain circumstances) (applying Delaware law and quotation marks omitted).
 282 In re Autobacs Strauss, Inc., 473 B.R. at 558 (denying motion to dismiss veil-piercing claim); see also Blair,

    720 F. Supp. 2d at 472 (“[Plaintiff’s] other allegations also give rise to the inference that the Infineon
    defendants created a facade by exercising significant control over the Qimonda Subsidiaries’ operations,
    finances, and the ultimate decision to close their plants in the United States.”).
 283 In re Autobacs Strauss, Inc., 473 B.R. at 558.

 284 See Golden Acres, 702 F. Supp. at 1106 (“Golden Acres was merely a facade for defendants’ operations.

    Defendants operated the apartment complex as if they owned it outright, not as shareholders in a corporation
    which had defaulted on its mortgage on the building and still had payments to make. Now they are trying to
    rely on the very entity they ignored to shield themselves from liability to the corporation’s creditors.”)
    (applying federal common law).
 285 In re BH S&B Holdings LLC, 420 B.R. at 140–41 (quotation marks omitted); see also Wallace v. Wood, 752

    A.2d 1175, 1184 (Del. Ch. 1999) (same).

                                                      VII-A-56
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 57 of 85




 recognized that “the existence of separate operating companies usually negates a piercing of
 the veils,” finding such circumstances “inconsistent” with the allegation that a subsidiary was
 a “mere shell” or facade.286

                       (b) Application To Facts

      The Examiner expects that it would be a challenge to establish that ResCap was no more
 than a “shell” or “façade” for AFI. As an initial matter, the Examiner is not persuaded by the
 arguments of the Creditors’ Committee and other parties that ResCap and AFI have
 “admitted” to the requisite degree of control.287 Those parties cite to public statements
 concerning AFI’s “control” of ResCap including, for example, a statement in the FRB/FDIC
 Consent Order that AFI “indirectly owns and controls Ally Bank . . . and numerous direct and
 indirect nonbank subsidiaries, including [ResCap and its subsidiaries].”288 Courts have
 considered such statements insufficient to show that the subsidiary was a mere façade for its
 parent or that the subsidiary and parent were a single economic entity.289 Were the rule
 otherwise, every parent company of a wholly owned subsidiary would be subject to




 286 In re RSL Com Primecall, Inc., 2003 Bankr. LEXIS 1635, at *54 (dismissing veil-piercing claim); see also

    Japan Petroleum Co. (Nigeria), Ltd. v. Ashland Oil Co., 456 F. Supp. 831, 843 (D. Del. 1978) (declining to
    pierce veil where subsidiary “AON is in no way a shell corporation, but is an operating company with
    extensive obligations and rights of its own under the Production Sharing Contract”); In re Moll Indus., Inc.,
    454 B.R. at 589 (dismissing veil-piercing claim where plaintiff admitted that subsidiary and parent
    “conducted fundamentally different businesses,” namely that the parent was “a hedge fund” and the
    subsidiary was “in the injection molding and manufacturing business”); In re Foxmeyer Corp., 290 B.R. at
    244 (finding that plaintiff “failed to produce evidence that would . . . demonstrate that [subsidiary] Fox Drug
    simply functioned as a facade for [parent] Fox Corp” where “Fox Drug existed in order to carry on Fox
    Corp.‘s pharmaceutical distribution business” and “Fox Corp., as a holding company, conducted several
    discrete, albeit related healthcare businesses”); Case Fin., Inc., 2009 Del. Ch. LEXIS 153, at *12–15 (entering
    judgment after trial rejecting attempt by parent “to pierce its own corporate veil” to establish standing to bring
    suit against CEO of subsidiary where parent “Case Financial did not prove that Case Capital operated as a
    mere facade for Case Financial; rather, Case Financial acted as a holding company and Case Capital acted as
    an operating subsidiary, which served a specific purpose within the . . . corporate family”).
 287 See Creditors’ Committee Submission Paper, dated Mar. 7, 2013, at 17 (“AFI’s control was admitted in many

    public and private documents”); see also Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 15–17;
    Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 3–4; FGIC Submission Paper, dated Oct. 17,
    2012, at 11, 17–18.
 288 FRB/FDIC Consent Order (Apr. 13, 2011), at 1.

 289 See PSG Poker, LLC, 2007 U.S. Dist. LEXIS 46661, at *10–11 (explaining that defendant’s admission “to

    being the sole shareholder . . . and that he supervised and controlled the act of the corporations” he owned was
    “not sufficient to satisfy the rigorous standards for piercing the corporate veil [of those corporations] under
    Delaware law”); see also Fletcher, 68 F.3d at 1460 (“[T]he district court properly rejected the plaintiffs’
    argument that the descriptions of [the subsidiary Atex as a ‘division’ of the parent Kodak] and the presence of
    the Kodak logo in Atex’s promotional literature justify piercing the corporate veil.”).

                                                     VII-A-57
12-12020-mg          Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                A Pg 58 of 85




 veil-piercing liability. That is not the law.290 Similar statements concerning the “control” of
 AFI over ResCap contained within ResCap SEC filings291 and ResCap Board materials292 are
 unavailing for the same reasons.

      As set forth above, the Examiner has concluded that the evidence supports the
 proposition that ResCap failed to follow or followed inconsistently certain appropriate
 corporate formalities.293 That conclusion in part relied upon evidence suggesting that the lines
 of authority within ResCap were sometimes blurred by initiatives that centralized a number of
 corporate functions and services within AFI and by day-to-day interference in ResCap’s
 operations by Cerberus and AFI employees who held no positions at ResCap.294 Nonetheless,
 the Examiner concludes that such evidence does not support the proposition that ResCap was
 so dominated and controlled as to be precluded from having any legal or independent
 significance of its own.295

      Such evidence would likely be weighed against the undisputed facts that ResCap and its
 subsidiaries operated multiple businesses including, for example, domestic and international
 residential mortgage loan origination, acquisition, sale and securitization, management of a
 portfolio of HFI loans and retained interests from securitizations, servicing of residential
 mortgage loans, and financing homebuilders and residential land developers.296 Owing to
 these and other businesses, ResCap reported net income in 2005 and 2006 of $1 billion and
 $705.1 million, respectively.297 ResCap and it subsidiaries employed—at peak in or around



 290 See Pearson, 247 F.3d at 484 (“[M]ere ownership of a subsidiary does not justify the imposition of liability on

    the parent.”).
 291 See Residential Capital Corporation, Registration Statement (Form S-4) (Feb. 27, 2008), at 23 (“GM and

    [AFI] control all fundamental matters affecting us”; “[AFI] indirectly owns all of our outstanding common
    stock and has the power to elect and remove all of our directors”); Residential Capital, LLC, Annual Report
    (Form 10-K) (Mar. 13, 2007), at 43 (“[AFI] controls all fundamental matters affecting us, and its interests
    may differ from ours.”) (emphasis and italics omitted).
 292 Report to the Board of Directors Residential Capital Corporation, D.C.W. No. 3, dated Nov. 20, 2006, at

    RC40008940 [RC40008925] (“[AFI] would own 100% of the voting shares of the bank, but since [AFI]
    currently wholly owns ResCap and controls the ResCap Board, there would be no effective change in
    control.”); see also E-mail from S. Cohen (Dec. 11, 2009) [ALLY_0307981] (responding to certain
    “accounting notes” and stating that “[s]ince [AFI] has voting control of ResCap the decision to change intent
    by the [AFI] board would carry through to the underlying assets (at the [AFI] level) since [AFI] is presumed
    to control decisions of ResCap”).
 293 See Section VII.A.1.f(4)(b).

 294 See Section VII.A.1.f(4)(b)(iii)–(iv).

 295 See In re BH S&B Holdings LLC, 420 B.R. at 140–41; Wallace v. Wood, 752 A.2d 1175, 1184 (Del. Ch.

    1999).
 296 See Section III.C.

 297 See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006), at 57; Residential Capital, LLC,

    Annual Report (Form 10-K) (Mar. 13, 2007), at 55.

                                                     VII-A-58
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              A Pg 59 of 85




 2006—approximately 14,000 people.298 Moreover, AFI operated additional businesses with
 which ResCap and its subsidiaries had no operational involvement including the automotive
 finance and insurance businesses.299 These facts are likely to be considered “inconsistent with
 the contention that [ResCap] was a mere shell” or façade.300 A court instead would more likely
 find this to be a case of a parent company and an “operating subsidiary, which served a
 specific purpose within the . . . corporate family.”301

              g. Overall Element Of Injustice Or Unfairness

                  (1) Legal Principles

      Applying Delaware law, the Second Circuit Court of Appeals has recently reiterated that
 “[t]o prevail under the alter-ego theory of piercing the veil, a plaintiff need not prove that
 there was actual fraud but must show . . . an ‘overall element of injustice or unfairness.’”302
 Certain Delaware Chancery Court decisions could be read to the contrary and have stated that,
 in order to pierce the corporate veil, “[e]ffectively, the corporation must be a sham and exist
 for no other purpose than as a vehicle for fraud.”303 At least one New York district court has
 expressly declined to follow those “lower court decisions in Delaware [that] appear to require
 a showing of fraud,” explaining that “until the Delaware Supreme Court makes a definitive
 ruling on the requirements of Delaware law, we are bound to follow Second Circuit
 precedent.”304


 298 See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007) at 34.

 299 See GMAC LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 2–3 (describing AFI “lines of business”

    including automotive finance and insurance as operated separately from ResCap’s mortgage business).
 300 In re RSL Com Primecall, Inc., 2003 Bankr. LEXIS 1635, at *54 (dismissing veil-piercing claim).

 301 Case Fin., Inc., 2009 Del. Ch. LEXIS 153, at *12–15 (rejecting attempt by parent “to pierce its own corporate

    veil” to establish standing to bring suit against CEO of subsidiary); see also In re RSL Com Primecall, Inc.,
    2003 Bankr. LEXIS 1635, at *54 (dismissing claim seeking to pierce the veil of company that “operated three
    business units (some or all acquired as operating concerns) and had its own employees responsible for its day-
    to-day operations”).
 302 Kertesz v. Korn, 698 F.3d 89, 92 (2d Cir. 2012) (quotation marks omitted); see also Fletcher, 68 F.3d at 1457

    (“[U]nder Delaware law, the alter ego theory of liability does not require any showing of fraud.”); Harco
    Nat’l Ins. Co., 1989 Del. Ch. LEXIS 114, at *10 (Del. Ch. Sept. 19, 1989) (“Fraud has traditionally been
    sufficient reason to pierce the corporate veil. Other grounds also exist.”) (internal citation omitted); Irwin &
    Leighton, Inc., 532 A.2d at 987 (“[C]onduct short of the active intent to deceive required to establish fraud
    may, nevertheless, occasion the ‘piercing of the corporate veil,’ to use the standard shorthand.”); In re
    Sunbeam Corp., 284 B.R. at 365 (same); In re Verestar, Inc., 343 B.R. at 464 n.7 (“fraud is not a necessary
    element of a claim for alter ego liability”); In re Ticketplanet.com, 313 B.R. at 70 (“[t]here is no requirement
    of fraud”).
 303 Wallace v. Wood, 752 A.2d 1175, 1184 (Del. Ch. 1999); see also Mason, 2005 Del. Ch. LEXIS 99, at *10

    (“Delaware Courts have built on this analysis and require an element of fraud to pierce the corporate veil.”);
    In re Sunstates Corp. S’holder Litig., 788 A.2d 530, 534 (Del. Ch. 2001).
 304 Leber Assocs., LLC, 2003 U.S. Dist. LEXIS 13009, at *44 n.11.



                                                     VII-A-59
12-12020-mg         Doc 3698-20           Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                A Pg 60 of 85




       Assuming arguendo that “fraud, strictly speaking, is not the only basis for finding an
 alter-ego relationship and piercing the corporate veil,” in the absence of evidence of fraud,
 “something like it is required.”305 “[T]o meet the standard, fraud or inequity ‘must be found in
 the defendants’ use of the corporate form.’”306 “The underlying cause of action does not
 supply the necessary fraud or injustice.”307 Moreover, without more, “the possibility that a
 plaintiff may have difficulty enforcing a judgment is not an injustice warranting piercing the
 corporate veil.”308 That said, “nothing prevents a court, in determining whether there is
 sufficient evidence of fraud or unfairness, from taking into account relevant evidence that is
 also pertinent to the question of whether the two entities in question functioned as one.”309
 Finally, “the plaintiff need not prove that the corporation was created with fraud or unfairness
 in mind. It is sufficient to prove that it was so used.”310

      A “typical situation” where “fraud or injustice” may warrant piercing the corporate veil
 has been said to arise:

                   [W]here an entity completely controls an undercapitalized
                   subsidiary or affiliate and, through that dominance, causes the
                   underfunded-controlled entity to engage in inequitable conduct.
                   When, as a result of that conduct, the injured party attempts to
                   obtain redress, the controlling entity shields itself from liability
                   behind the facade of the shell corporation, while the injured


 305 Mobil Oil Corp., 718 F. Supp. at 268; see also In re Moll Indus., Inc., 454 B.R. at 591 (Delaware law does not

    require a showing of fraud but “something like fraud must be proven” and the difference is “largely
    superficial”) (quotation marks omitted). Certain “[c]ourts and commentators have noted that this standard is
    less than clear and has been criticized for its ambiguity and randomness.” Soroof Trading Dev. Co., 2012 U.S.
    Dist. LEXIS 67736, at *27 (quotation marks omitted) (collecting cases).
 306 Soroof Trading Dev. Co., 2012 U.S. Dist. LEXIS 67736, at *27 (quoting Trevino, 583 F. Supp. 2d at 530); see

    also In re BH S&B Holdings LLC, 420 B.R. at 133 (“There must be an abuse of the corporate form to effect a
    fraud or an injustice–some sort of elaborate shell game.”) (quotation marks omitted).
 307 NetJets Aviation, Inc., 537 F.3d at 183 (“To hold otherwise would render the fraud or injustice element

    meaningless.”) (quotation marks omitted); see also Mobil Oil Corp., 718 F. Supp. at 268 (explaining that
    although “[a]ny breach of contract and any tort – such as patent infringement – is, in some sense, an
    injustice,” “[t]he underlying cause of action does not supply the necessary fraud or injustice” for
    veil-piercing); In re CLK Energy Partners, LLC, 2010 Bankr. LEXIS 1564, at *20 (“[P]roof of an underlying
    tort or contract claim against a corporate defendant does not, standing alone, support an alter ego finding
    against the corporation’s principals. . . . The Complaint . . . fails to tie [the] alleged misrepresentations to a
    misuse by each of the Choctaw defendants of the limited liability afforded by CLK’s LLC form.”).
 308 Trevino, 583 F. Supp. 2d at 530 (allegation that subsidiary was “ill-equipped to handle potential liability

    arising from this action” not sufficient to allege necessary “injustice” to pierce its veil) (quotation marks
    omitted); see also Secured Sys. Tech., Inc. v. Frank Lill & Son, Inc., Civ. No. 08-6256, 2012 U.S. Dist. LEXIS
    141845, at *14 (W.D.N.Y. Oct. 1, 2012) (“[T]he required ‘fraud or injustice’ is not established merely
    because the alleged-subsidiary corporation may now be judgment proof.”) (applying Delaware law).
 309 NetJets Aviation, Inc., 537 F.3d at 183.

 310 Id. at 177.



                                                     VII-A-60
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 61 of 85




                   party has no recourse against the undercapitalized shell
                   corporation. In that instance, the corporate form was used to
                   effect a fraud or injustice and the corporate veil is pierced to
                   allow the injured party to obtain redress from the actual
                   wrongdoer who has the wherewithal to pay any damages
                   awarded.311

 Accordingly, the necessary “fraud or injustice” has been found in several cases where a parent
 siphoned funds from a subsidiary to the detriment of the subsidiary’s creditors.312

                   (2) Application To Facts

       The Examiner concludes that the evidence does not support the proposition that AFI
 engaged in the type of “injustice or unfairness” necessary to warrant piercing the corporate
 veil. This case does not present the “typical situation” where “fraud or injustice” may warrant
 piercing the corporate veil when a subsidiary becomes unable to satisfy its creditors either


 311 In re Sunbeam Corp., 284 B.R. at 367; see also On Command Video Corp. v. Roti, 2013 U.S. App. LEXIS 848,

    at *12 (7th Cir. Jan. 14, 2013) (applying Illinois law) (“Whether adherence to the fiction of . . . corporate
    separateness would ‘promote injustice’ is a vague test. But it is best understood as asking whether there has been
    an abuse of limited liability, as when the owner of a party to a contract strips the party of assets so that if it
    breaks the contract the other party will have no remedy.”); In re Ticketplanet.com, 313 B.R. at 70 (“To survive a
    motion to dismiss, a plaintiff must allege facts that the controlling owners operated the company as an
    ‘incorporated pocketbook’ and used the corporate form to shield themselves from liability.”).
 312 See NetJets Aviation, Inc., 537 F.3d at 183 (reversing grant of summary judgment dismissing veil-piercing

    claim where there was sufficient evidence such that a factfinder “could infer that [sole owner] Zimmerman’s
    payments to [limited liability company] LHC were deliberately mischaracterized as loans in order to mask the
    fact that Zimmerman was making withdrawals from LHC that were forbidden by law, and could thereby
    properly find fraud or an unfair siphoning of LHC’s assets”); Soroof Trading Dev. Co., 2012 U.S. Dist.
    LEXIS 67736, at *29-30 (allegations of parent’s “siphoning of funds” from subsidiaries and using those
    subsidiaries “to make promises that they could not meet” sufficient to grant leave to amend to add
    veil-piercing claim); TradeWinds Airlines, Inc., 2012 U.S. Dist. LEXIS at *18-19 (finding “adequate
    injustice” to support veil-piercing claim where plaintiffs alleged that “Defendants siphoned funds from C-S
    Aviation” and thereby “deprived Plaintiffs of the ability to recover damages on its fraudulent inducement
    claim”); Blair, 720 F. Supp. 2d at 473 (denying motion to dismiss veil-piercing claim and concluding that
    plaintiff “sufficiently alleged that the [parent] defendants may have perpetrated an element of fraud or
    injustice” where it was alleged that “[parent] defendants misdirected funds, exercised crippling control, and
    purposely siphoned profits from the Qimonda Subsidiaries”); PSG Poker, LLC, 2008 U.S. Dist. LEXIS 4225,
    at *38 (granting plaintiff summary judgment on veil-piercing claim where there was “ample evidence in the
    record that [sole shareholder] DeRosa-Grund siphoned the funds received by [the company] for his personal
    benefit” and “sought to mislead and defraud” creditors); In re Buckhead Am. Corp., 178 B.R. at 974 (denying
    motion to dismiss veil-piercing claim where plaintiff alleged that the parent caused its subsidiary “to make
    transfers and incur debts solely for the benefit of defendants (and others) to the detriment of [subsidiary] and
    its creditors”); In re Autobacs Strauss, Inc., 473 B.R. at 559 (plaintiffs “sufficiently allege that [parent] may
    have perpetrated fraud . . . or something similar” when it “misdirected funds, exercised crippling control, and
    purposely siphoned money from [its subsidiary]”). Cf. Fletcher, 68 F.3d at 1461 (affirming grant of
    defendant’s motion for summary judgment on veil-piercing claim where “[t]here is no indication that Kodak
    sought to defraud creditors and consumers or to siphon funds from its subsidiary”).

                                                     VII-A-61
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                               A Pg 62 of 85




 because it was undercapitalized at formation or later siphoned of assets by its parent.313 Here,
 the Examiner has concluded that the evidence does not support either proposition.314 Instead,
 the factual record revealed by the Investigation reflects that ResCap was not inadequately
 capitalized or insolvent when it commenced operations but that it later became unable to
 satisfy its creditors because of billions of dollars in operating losses it recorded beginning in
 the fourth quarter of 2006 as market conditions steeply declined.315

       Although ResCap entered into certain Affiliate Transactions, including the 2006 Bank
 Restructuring and the Second 2009 Tax Allocation Agreement for less than fair market value,
 and Ally Bank retained brokered-loan revenues due to ResCap in 2012, the Examiner has
 concluded that—on balance and when viewed under all the circumstances—the evidence does
 not support the proposition that AFI engaged in “siphoning.”316 In any event, the approximate
 amounts at issue with respect to the 2006 Bank Restructuring (i.e., $390-465 million), the
 Second 2009 Tax Allocation Agreement (i.e., $50 million, and the avoidance of an obligation
 now known to be worth up to $1.77 billion), and the misallocation of brokered-loan revenues
 ($567 million), while substantial, would likely be viewed in the context of the more than $8
 billion in financial support that AFI provided to ResCap from 2007 to the petition date in
 2012.317 In the context of that financial support—which AFI did not begin to provide to
 ResCap until months after the close of the 2006 Bank Restructuring—it would be difficult to
 prove from those Affiliate Transactions that AFI used ResCap as an “incorporated
 pocketbook”318 or for “some sort of elaborate shell game.”319

       The Creditors’ Committee and other parties have suggested that there may be an element
 of “injustice or unfairness” in AFI’s financial support of ResCap because that support was
 self-interested and generally inadequate to do more than maintain ResCap on “life support.”
 The Examiner is not persuaded. Without more, this sort of allegation that ResCap “served as a
 tool to further [AFI’s] interests” is unlikely to be considered “injustice or unfairness” arising
 from an abuse of the corporate form that could warrant piercing the corporate veil.320

 313 See In re Sunbeam Corp., 284 B.R. at 368.

 314 See Sections VII.A.1(f)(1)(b) and VII.A.1(f)(2)(b).

 315 See Section VII.A.1(f)(1)(b).

 316 See Section VII.A.1(f)(2)(b).

 317 Id.

 318 In re Ticketplanet.com, 313 B.R. at 70.

 319 In re BH S&B Holdings LLC, 420 B.R. at 133 (quotation marks omitted).

 320 In re Ticketplanet.com, 313 B.R. at 71 (dismissing veil-piercing claim despite allegation “that the Debtor

    merely served as a tool to further Defendants’ interests,” where the debtor had “received a substantial cash
    infusion from [defendant affiliate entity]”); see also In re RSL Com Primecall, Inc., 2003 Bankr. LEXIS 1635,
    at *53-54 (granting motion to dismiss veil-piercing claim where plaintiff argued that the subsidiary “merely
    served as a tool to further Defendants’ interests” and explaining that “[t]his claim alone cannot support a
    finding that [the subsidiary] was used improperly for the benefit of its . . . affiliates, nor does it show overall
    fraud or injustice from the use of the corporate form”).

                                                      VII-A-62
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              A Pg 63 of 85




      Although the available evidence indicates that the precise motives for AFI’s financial
 support of ResCap changed over time, there can be no dispute that AFI (not surprisingly)
 provided such support only when AFI believed it to be in AFI’s interest.321 When that
 financial support began in 2007, AFI believed that ResCap was a viable and valuable business
 that should receive support to weather what was viewed as a temporary crisis.322 By
 November 2008, AFI considered bank holding company approval and eligibility for TARP
 funds to be critical to its survival and concluded that it was necessary for AFI to continue to
 provide financial support to ResCap to achieve that goal.323 AFI also worried that a precipitous
 ResCap bankruptcy filing would have put AFI’s access to financing and its control over Ally
 Bank at risk.324 According to Tessler, AFI Board Member and Managing Director of Cerberus,
 the “unfortunate reality” was that because of these circumstances AFI “was forced to provide
 [ResCap] inter company loans and engage in the affiliated transactions.”325 By
 December 2009, if not earlier, AFI had come to view ResCap as a “millstone around the neck”
 that held “no businesses that are strategic for the future.”326 AFI continued to provide financial
 support to ResCap in part because, as late as December 2011, AFI was concerned about the
 effects of a ResCap bankruptcy given the “operational entanglement of the Bank and
 ResCap.”327

      That AFI may have continued to support ResCap as a means to its own shifting ends does
 not change the effect of that support on ResCap’s balance sheet.328 The Investigation has not
 321 Indeed, AFI acknowledges that it “only provided capital to ResCap when it was in the interest of AFI and its

    stakeholders.” See AFI Submission Paper, dated Dec. 19, 2012, at 19.
 322 See Section III.F; Int. of L. Tessler, Nov. 16, 2012, at 143:24–147:4; Int. of A. de Molina, Nov. 20, 2012, at

    25:12–26:16.
 323 See Section III.H.5; see also Board Agenda & Supporting Materials, GMAC LLC, Nov. 28, 2008, at
    EXAM10277378 [EXAM10277369] (“management believes that BHC status is achievable, but has been
    advised that support for ResCap is a prerequisite”); Int. of A. de Molina, Nov. 20, 2012, at 101:25–102:2 (“I
    was so petrified that [a ResCap bankruptcy] would derail the entire bank holding company strategy.”); Int. of
    R. Hull, Feb. 7, 2013, at 177:8–11 (“it became clear that a filing of ResCap at all in the context of this BHC
    [request], it would complicate matters immensely”).
 324 See E-mail from L. Tessler to M. Carpenter (Dec. 3, 2009), at CCM00065542 [CCM00065540] (“[T]he

    historic choices regarding what to do with ResCap have always resulted in the same conclusion which is,
    filing ResCap will bring down [AFI] . . . . Any actions taken to divorce ResCap from [AFI] during this period
    [before the close of the 2008 Bank Transaction] would have resulted in [AFI’s] bank lines either being pulled
    or not renewed and the probable los[s] of the Bank to the FDIC.”); Board Agenda and Supporting Material,
    GMAC LLC, Sept. 30, 2008, at ALLY_0361451 [ALLY_0361444] (“It is unclear whether the FDIC would
    seize the bank in the event of a [ResCap] bankruptcy. The bank is critical to [AFI’s] future liquidity. This
    uncertainty poses a significant risk.”).
 325 E-mail from L. Tessler to M. Carpenter (Dec. 3, 2009), at CCM00065542 [CCM00065540].

 326 Presentation to the U.S. Department of the Treasury: GMAC Request for SCAP Funding, dated Dec. 11,

    2009, at 4-5 [ALLY_0231352]; see E-mail from M. Carpenter to L. Tessler (Dec. 6, 2009) [CCM00065540]
    (stating that he would “sell the whole company [(i.e., ResCap)] for a dollar”).
 327 E-mail from B. Yastine (Dec. 1, 2011) [ALLY_0304495].

 328 See Section VI.C.4.f(4).



                                                    VII-A-63
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 64 of 85




 uncovered evidence that ResCap and its creditors were defrauded or otherwise harmed by
 AFI’s self-interested financial support. The Examiner does not consider this or any other
 alternative theory of “injustice or unfairness” to be any more likely to succeed.

     Accordingly, the Examiner concludes that any veil-piercing claims asserted on behalf of
 ResCap against AFI are unlikely to prevail.329




 329 The Examiner likewise concludes that any potential veil-piercing claim asserted on behalf of GMAC
    Mortgage or RFC seeking to hold AFI liable for their respective debts would be unlikely to prevail. As
    explained above, the law is unsettled as to whether the veils of each intermediate entity between a subsidiary
    and its ultimate parent must be pierced. See Section VII.A.1.c. Assuming arguendo that it is unnecessary to
    pierce intermediate veils, a veil-piercing claim on behalf of RFC or GMAC Mortgage against AFI would still
    be unlikely to prevail for similar reasons as a veil-piercing claim on behalf of ResCap against AFI. The
    evidence indicates that RFC and GMAC Mortgage were not insolvent at creation and were not rendered
    insolvent by the actions of their parent entities, but by operating losses. See Sections VI.E and VII.A.1.f(1)(b).
    There is no viable evidence of any program to siphon assets from either entity. Old GMAC Bank was a
    subsidiary of neither RFC nor GMAC Mortgage. See May 19, 2006, Application to OTS [ALLY_0401697]
    (Old GMAC Bank was wholly owned subsidiary of GMAC Residential Holding Corp., a direct subsidiary of
    ResCap). The tax allocation agreement issues are germane to ResCap, not RFC or GMAC Mortgage. The
    misallocation of brokered-loan revenues does implicate GMAC Mortgage (but not RFC). However, while
    Ally Bank withheld $469.1 million the Examiner concludes should have been paid to GMAC Mortgage, those
    amounts originally had been withheld by mistake, not design; the argument for “siphoning” is stronger for the
    additional $51.4 million GMAC Mortgage paid to Ally Bank. Moreover, GMAC Mortgage had itself been the
    beneficiary of more than $2.5 billion in AFI debt forgiveness. See GMAC Mortgage LLC Consolidated
    Financial Statements for the Years Ended December 31, 2009 and 2008, at 35 [EXAM00124578]. The
    evidence concerning corporate formalities would be similar on a RFC or GMAC Mortgage claim; the analysis
    would be augmented perhaps by the fact that neither of these entities seems to have had any board meetings,
    and to have operated instead by written consent of their all-insider boards, but this seems to have been
    consistent with the requirements of their respective operating agreements. See GMAC Mortgage LLC
    Agreement, § 15.d (Apr. 13, 2006) [ALLY_0118835]; RFC LLC Agreement, § 15.d (Oct. 6, 2006)
    [GSResCap0000124921]; RFC LLC Agreement, § 15.d (Apr. 2, 2007) [EXAM00294621]. Nonetheless, as
    with respect to ResCap, there is no evidence that these entities were a “mere façade” for AFI. Finally, given
    the absence of either undercapitalization at formation or siphoning, there does not appear to be any “injustice
    or unfairness” arising from abuse of the corporate form that could warrant piercing the veil between RFC or
    GMAC Mortgage and AFI.

                                                     VII-A-64
12-12020-mg         Doc 3698-20           Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                A Pg 65 of 85




     2. Substantive Consolidation

     Several parties in interest have asserted that grounds exist to support the substantive
 consolidation of AFI into ResCap’s bankruptcy case.330

       While there is some evidentiary support for a claim of substantive consolidation, the
 Examiner concludes it is unlikely that an attempt to substantively consolidate AFI with and
 into the Estate of any Debtor would prevail.

              a. Introduction

      Substantive consolidation is a doctrine of federal bankruptcy law under which
 bankruptcy courts may, in the exercise of their general equitable powers under section 105(a)
 of the Bankruptcy Code, consolidate the assets and liabilities of affiliated entities and treat
 them as one for purposes of the bankruptcy proceeding.331 Intercompany claims of the
 consolidated debtors are eliminated, the assets of the consolidated debtors are treated as
 common assets, and the claims of outside creditors against any of the debtors are treated as
 claims against the consolidated entity.332

      The purpose of substantive consolidation is to provide for the equitable treatment of all
 creditors, without any undue prejudice to any particular set of creditors.333 If companies
 inappropriately disregard corporate formalities to the detriment of their creditors, the court
 may order relief that disregards corporate boundaries to remedy the harm to injured parties.334
 Before the equitable remedy of substantive consolidation was created, courts employed other
 330 See, e.g., Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 56 (“AFI and Residential Capital should

    be substantively consolidated”).
 331 See In re Owens Corning, 419 F.3d 195, 205 (3d Cir. 2005) (“Substantive consolidation, a construct of federal

    common law, emanates from equity.”); Union Savings Bank v. Augie/Restivo Baking Co. (In re Augie/Restivo
    Baking Co.), 860 F.2d 515, 518 n.1 (2d Cir. 1988) (“Courts have found the power to consolidate substantively
    in the court’s general equitable powers as set forth in 11 U.S.C. § 105.”) (citing cases); James Talcott, Inc. v.
    Wharton (In re Cont’l Vending Mach. Corp.), 517 F.2d 997, 1000 (2d Cir. 1975) (“The power to consolidate
    is one arising out of equity. . . .”). There is no direct statutory authority or prescribed standard for substantive
    consolidation. See In re Augie/Restivo Baking Co., 860 F.2d at 518–19; Alexander v. Compton (In re
    Bonham), 229 F.3d 750, 765–66 (9th Cir. 2000). But see In re Cyberco Holdings, Inc., 431 B.R. 404, 430–31
    (Bankr. W.D. Mich. 2010) (concluding that Bankruptcy Code section 542 and, to a lesser extent, Bankruptcy
    Code section 502(j) serve as the statutory authority for substantive consolidation); In re Stone & Webster,
    Inc., 286 B.R. 532, 541–42 (Bankr. D. Del. 2002) (holding that Bankruptcy Code section 1123(a)(5)(C)
    authorizes substantive consolidation).
 332 See In re Augie/Restivo Baking Co., 860 F.2d at 518; In re Owens Corning, 419 F.3d at 202.

 333 See FDIC v. Colonial Realty Co., 966 F.2d 57, 61 (2d Cir. 1992) (sole aim of substantive consolidation is

    fairness to all creditors); Windels Marx Lane & Mittendorf, LLP v. Source Enters., Inc. (In re Source Enters.,
    Inc.), 392 B.R. 541, 552 (S.D.N.Y. 2008) (noting that the “sole purpose” of substantive consolidation is “to
    ensure the equitable treatment of all creditors”) (citing In re Augie/Restivo Baking Co., 860 F.2d at 518); In re
    Richton Intern. Corp., 12 B.R. 555, 558 (Bankr. S.D.N.Y. 1981).
 334 See In re Owens Corning, 419 F.3d at 205.



                                                      VII-A-65
12-12020-mg            Doc 3698-20      Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              A Pg 66 of 85




 remedies to rectify the misuse of corporate forms by related entities. These remedies included
 veil-piercing, equitable subordination, debt recharacterization, avoidance of fraudulent
 conveyances to an insider, and turnover actions.335
       As discussed below, courts have formulated different tests to be used in determining
 when substantive consolidation is warranted. Regardless of the test, courts have recognized
 that substantive consolidation may result in a harsh redistribution of value to some creditors at
 the expense of others336 and, therefore, the remedy is an extraordinary one that must be
 exercised sparingly.337
                   b. The Evolution Of Substantive Consolidation
                      (1) Sampsell v. Imperial Paper & Color Corp.
      Substantive consolidation as an independent remedy was first recognized by the Supreme
 Court in 1941 in Sampsell v. Imperial Paper & Color Corp.338 In Sampsell, an individual
 named Downey incurred significant debt that he was unable to repay. The same month that he
 incurred the debt, he formed a corporation, of which he, his wife, and his son were the only
 stockholders, directors, and officers. He transferred his personal assets on credit to the
 company, which continued Downey’s business.339 Downey then filed for bankruptcy. In
 bankruptcy, the trustee sought to marshal the assets of the company for the benefit of
 Downey’s creditors. The trustee’s petition was granted, based on the referee’s finding that
 Downey’s transfer of property to the company was made with the intent to place the assets
 beyond the reach of Downey’s creditors. The court ordered that the property of the company
 was property of Downey’s bankruptcy estate to be administered for the benefit of the creditors
 of the estate.340
 335 See Timothy E. Graulich, Substantive Consolidation—A Post-Modern Trend, 14 AM. BANKR. INST. L. REV.

    527 (2006); see also In re Owens Corning, 419 F.3d at 205–06 (identifying remedies utilized for corporate
    disregard prior to creation of substantive consolidation remedy).
 336 See Drabkin v. Midland-Ross Corp. (In re Auto-Train Corp, Inc.), 810 F.2d 270, 276–77 (D.C. Cir. 1987)

    (noting “consolidation almost invariably redistributes wealth among the creditors of the various entities”).
 337 See Bank of N.Y. Trust Co. v. Official Unsecured Creditors’ Comm. (In re Pac. Lumber Co.), 584 F.3d 229,

    249 (5th Cir. 2009); Wells Fargo Bank of Tex. N.A. v. Sommers (In re Amco Ins.), 444 F.3d 690, 696 n.5 (5th
    Cir. 2006) (noting that those jurisdictions that allow substantive consolidation emphasize that such relief
    should be granted sparingly); In re Owens Corning, 419 F.3d at 210–11; Gandy v. Gandy (In re Gandy), 299
    F.3d 489, 499 (5th Cir. 2002) (substantive consolidation is “an extreme and unusual remedy”); FDIC v.
    Colonial Realty Co., 966 F.2d at 61 (“Certainly this Court has insisted that substantive consolidation be
    invoked ‘sparingly because of the possibility of unfair treatment of creditors’”) (citing Chem. Bank N.Y. Trust
    Co. v. Kheel, 369 F.2d 845, 847 (2d Cir. 1966)); In re Augie/Restivo Baking Co., 860 F.2d at 518); James
    Talcott, Inc. v. Wharton (In re Cont’l Vending Mach. Corp.), 517 F.2d 997, 1001 (2d Cir. 1975) (noting
    consolidation should be used sparingly because of possibility of unfair treatment of creditors); Flora Mir
    Candy Corp. v. R. S. Dickson & Co., 432 F.2d 1060, 1062–63 (2d Cir. 1970); In re Source Enters. Inc., at 392
    B.R. 552 (citing In re Augie/Restivo, Baking Co., 860 F.2d at 518); In re Snider Bros., Inc., 18 B.R. 230, 234
    (Bankr. D. Mass. 1982).
 338 Sampsell v. Imperial Paper & Color Corp., 313 U.S. 215 (1941).

 339 Id. at 216.

 340 Id. at 217.



                                                     VII-A-66
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              A Pg 67 of 85




       Thereafter, a creditor of Downey’s company filed a claim seeking priority to distributions
 from the company’s assets. The referee refused to grant the claim priority, and instead allowed
 it as a general unsecured claim against the estate. On appeal, the court of appeals reversed, and
 the trustee petitioned the Supreme Court for certiorari. The Supreme Court ultimately affirmed
 the referee’s decision and, in the process, implicitly approved the referee’s earlier decision
 “consolidating the estates” of the company and Downey.341 The issue of substantive
 consolidation was not discussed in great detail, but courts following Sampsell have cited it as
 the seminal case from which the remedy of substantive consolidation evolved.342

                   (2) Courts Begin To Recognize Substantive Consolidation

       The very next year the Fourth Circuit invoked Sampsell’s substantive consolidation
 remedy343 in Stone v. Eacho.344 In that case, Stone, the trustee for Tip Top Tailors, Inc., a
 corporation in bankruptcy in Delaware, filed a claim in the bankruptcy proceeding of one of
 its subsidiaries pending in Virginia for funds owed to the Delaware parent. Eacho, the trustee
 appointed in the bankruptcy proceeding of the Virginia subsidiary, objected to the claim,
 arguing that it should be subordinated to payment of other unsecured creditors on the basis
 that the Virginia corporation was not a separate entity, but merely a department of the
 Delaware corporation, and that the funds for which Stone sought repayment represented an
 advancement of operating capital.345 The matter was referred to a special master who, siding
 with Eacho, found that Stone’s claim should be subordinated to the claims of the unsecured
 creditors of the Virginia debtor. In response, Stone filed a petition seeking consolidation of the
 Virginia and Delaware entities. The district court denied Stone’s petition and upheld the
 findings of the special master. Stone appealed.

      On appeal, the Fourth Circuit noted that the subsidiary had no real separate existence
 from its parent: among other things it had no separate officers; it executed no contracts; it did
 not pay its own employees’ salaries; and it kept none of its records on site. Noting that courts
 “will not be blinded by corporate forms,” the Fourth Circuit stated “there is no reason why the

 341 Id. at 217.

 342 See In re Owens Corning, 419 F.3d at 206 (“the Supreme Court [in Sampsell] . . . approved (at least indirectly

    and perhaps inadvertently) what became known as substantive consolidation”); Alexander v. Compton (In re
    Bonham), 229 F.3d 750, 764 (9th Cir. 2000); In re Cyberco Holdings, Inc., 431 B.R. 404, 411 n.19 (Bankr.
    W.D. Mich. 2010); Gold v. Winget (In re NM Holdings), 407 B.R. 232, 273–74 (Bankr. E.D. Mich. 2009); In
    re Coleman, 417 B.R. 712, 725 (Bankr. S.D. Miss. 2009); Simantob v. Lahijani (In re Lahijani), No. SV 98-
    15561 GM, 2005 WL 4658490 at *6 (Bankr. C.D. Cal. Oct. 3, 2005); In re Am. HomePatient, Inc., 298 B.R.
    152, 165 (Bankr. M.D. Tenn. 2003); In re Stone & Webster, Inc., 286 B.R. 532, 538 (Bankr. D. Del. 2002);
    Gill v. Sierra Pac. Constr., Inc. (In re Parkway Calabasas Ltd.), 89 B.R. 832, 837 (Bankr. C.D. Cal. 1988);
    White v. Creditors Serv. Corp. (In re Creditors Serv. Corp.), 195 B.R. 680, 689 n.4 (Bankr. S.D. Ohio 1996).
 343 The Third Circuit points out that the actual term “substantive consolidation” was not used in a reported case

    until 1975. See In re Owens Corning, 419 F.3d at 206 n.11 (3d Cir. 2007) (discussing in James Talcott, Inc.
    v. Wharton (In re Cont’l Vending Mach. Corp.), 517 F.2d 997, 1004 n.3 (2d Cir. 1975)).
 344 Stone v. Eacho, 127 F.2d 284 (4th Cir. 1942).

 345 Id. at 287.



                                                     VII-A-67
12-12020-mg         Doc 3698-20           Filed 05/13/13 Entered 05/13/13 17:08:13       Section VII
                                                A Pg 68 of 85




 courts should not face the realities of the situation and ignore the subsidiary for all purposes,
 allowing the creditors of both corporations to share equally in the pooled assets.”346

       Other circuits were slower to recognize substantive consolidation. It was not until 1964
 that the Second Circuit recognized substantive consolidation in Soviero v. Franklin
 National Bank.347 In that case, the trustee of Raphan Carpet Corporation sought the turnover
 of assets of fourteen entities, none of which were in bankruptcy. The facts were not disputed:
 the same individuals were the sole directors and stockholders of the debtor and each affiliate;
 the affiliates had no working capital; the debtor paid all obligations of the affiliates, including
 their leases, advertising and insurance charges; all individual accounting records were kept by
 the same staff at the debtor’s place of business; no separate corporate minutes were
 maintained by the affiliates; and the affiliates had no real separate existences of their own.348
 Based on these facts the referee concluded that the affiliated companies were really mere
 instrumentalities of the debtor and to adhere to a “separate corporate entities” theory would
 result in injustice. Based on this conclusion, turnover was warranted. The court of appeals
 agreed and, citing to Stone v. Eacho, noted that ignoring the corporate entity of a subsidiary
 was appropriate based on the facts because only then could “all the creditors receive that
 equality of treatment which it is the purpose of the bankruptcy act to afford.”349

      Two years later the Second Circuit again invoked the remedy of substantive
 consolidation in Chemical Bank New York Trust Co. v. Kheel.350 In Kheel, the referee
 recommended consolidation of eight debtor shipping companies that were operated as a single
 entity under the control of one individual. The Second Circuit affirmed the district court’s
 grant of substantive consolidation, reasoning that consolidation was warranted due to the
 hopeless commingling of the debtors’ assets and liabilities:

                   Moreover, we have here an additional factor not present in
                   Soviero or Stone v. Eacho, the expense and difficulty amounting
                   to practical impossibility of reconstructing the financial records
                   of the debtors to determine intercorporate claims, liabilities and
                   ownership of assets. The power to consolidate should be used
                   sparingly because of the possibility of unfair treatment of
                   creditors of a corporate debtor who have dealt solely with that
                   debtor without knowledge of its interrelationship with others.
                   Yet in the rare case such as this, where the interrelationships of
                   the group are hopelessly obscured and the time and expense
                   necessary even to attempt to unscramble them so substantial as


 346 Id. at 288.

 347 Soviero v. Franklin Nat’l Bank, 328 F.2d 446 (2d Cir. 1964).

 348 Id. at 447.

 349 Id. at 449 (citing Stone v. Eacho, 127 F.2d at 288).

 350 Chem. Bank N.Y. Trust Co. v. Kheel, 369 F.2d 845 (2d Cir. 1966).



                                                      VII-A-68
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              A Pg 69 of 85




                   to threaten the realization of any net assets for all creditors,
                   equity is not helpless to reach a rough approximation of justice
                   to some rather than deny any to all.351

      In the cases that followed Kheel, courts in the Second Circuit considered numerous
 factors in determining whether substantive consolidation would result in equitable treatment
 for creditors. Courts evaluated: (1) whether creditors knowingly dealt with the companies to
 be consolidated as a unit;352 (2) the presence of parent and inter-corporate guarantees;353
 (3) the presence of asset transfers without observance of corporate formalities;354 (4) the
 presence of consolidated financial statements;355 (5) whether the interrelationships of the
 group were closely entangled;356 and (6) whether the cost of untangling would outweigh the
 benefit to creditors.357

     In 1988, the Second Circuit reviewed prior decisions and synthesized the substantive
 consolidation factors into a two-prong test. That test is described in the next section.358




 351 Id. at 847. The Second Circuit again recognized the remedy of substantive consolidation in 1970 and 1975.

    See Flora Mir Candy Corp. v. R.S. Dickson & Co., 432 F.2d 1060 (2d Cir. 1970); James Talcott, Inc. v.
    Wharton (In re Cont’l Vending Mach. Corp.), 517 F.2d 997 (2d Cir. 1975).
 352 See Union Savings Bank v. Augie/Restivo Baking Co. (In re Augie/Restivo Baking Co.), 860 F.2d 515, 518 (2d

    Cir. 1988) (citing In re Cont’l Vending Mach. Corp., 517 F.2d at 1001).
 353 SeeIn re Augie/Restivo Baking Co., 860 F.2d at 518 (citing In re Donut Queen, Ltd., 41 B.R. 706
    (Bankr. E.D.N.Y. 1984)).
 354 See In re Augie/Restivo Baking Co., 860 F.2d at 518 (citing In re Donut Queen, Ltd., 41 B.R. 706).

 355 See In re Augie/Restivo Baking Co., 860 F.2d at 518 (citing In re Donut Queen, Ltd., 41 B.R. 706).

 356 See In re Augie/Restivo Baking Co., 860 F.2d at 518 (citing Flora Mir Candy Corp. v. R.S. Dickson & Co.,

    432 F.2d 1060 and In re Donut Queen, Ltd., 41 B.R. 706).
 357 See In re Augie/Restivo Baking Co., 860 F.2d at 518 (2d Cir. 1988) (citing Chem. Bank N.Y. Trust Co.

    v. Kheel, 369 F.2d 845 (2d Cir. 1966)).
 358 Other circuits have developed different tests in determining whether substantive consolidation is appropriate.

    Some courts have designated certain factors, or elements, to be considered in determining the appropriateness
    of substantive consolidation. Some of the factors considered by courts include, among others: common
    officers and directors; one entity financing the other entity; the parent referring to the subsidiary as
    department or division of the parent; presence or absence of consolidated financial statements; commingling
    of assets and business functions; unity of interests and ownership between entities; existence of parent and
    intercorporate guarantees on loans; and transfers of assets without formal observance of corporate formalities.
    See In re Tureaud, 45 B.R. 658, 662 (Bankr. N.D. Okla. 1985) (citing Fish v. East, 114 F.2d 177 (10th Cir.
    1940) and FDIC v. Hogan (In re Gulfco Inv. Corp.), 593 F.2d 921 (10th Cir. 1979); In re Vecco Constr.
    Indus., Inc., 4 B.R. 407 (Bankr. E.D. Va. 1980). Other courts take these elements into account within the
    context of a balancing test in which the interests of the parties objecting to substantive consolidation are
    considered. See Drabkin v. Midland-Ross Corp. (In re Auto-Train Corp.), 810 F.2d 270, 277 (D.C. Cir. 1987);
    Eastgroup Props. v. S. Motel Ass’n., 935 F.2d 245, 249 (11th Cir. 1991).

                                                    VII-A-69
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 70 of 85




              c. Substantive Consolidation In The Second Circuit Today

      In In re Augie/Restivo Baking Co.,359 the Second Circuit set forth alternative tests to
 determine whether substantive consolidation is warranted:

        •    whether creditors dealt with the entities as a single economic unit and did not rely
             on their separate identities in extending credit (corporate separateness test); or

        •    whether the entities’ affairs are so entangled that substantive consolidation will
             benefit all creditors (entanglement test).360

 The presence of either factor is sufficient to grant substantive consolidation.361 Numerous
 courts have adopted and explained the alternative tests,362 and the bankruptcy courts in the
 Southern District of New York have found a variety of factors persuasive in connection with

 359 860 F.2d 515 (2d Cir. 1988).

 360 See id. at 518. The Second Circuit reaffirmed these tests in FDIC v. Colonial Realty Co., 966 F.2d 57, 61 (2d

    Cir. 1992).
 361 See In re Augie/Restivo Baking Co., 860 F.2d at 518; Alexander v. Compton (In re Bonham), 229 F.3d 750,

    766 (9th Cir. 2000). See also In re 599 Consumer Elecs., Inc., 195 B.R. 244, 250 (S.D.N.Y. 1996) (“A finding
    that creditors knew they were dealing with separate entities does not necessarily preclude substantive
    consolidation on the ground that it is impossible or prohibitively expensive to unravel the debtors’
    commingled finances.”).
 362 See, e.g., Windels Marx Lane & Mittendorf, LLP v. Source Enters., Inc. (In re Source Enters., Inc.), 392 B.R.

    541, 553–54 (S.D.N.Y. 2008); ACC Bondholder Grp. v. Adelphia Comm’ns Corp. (In re Adelphia Comm’ns
    Corp.), 361 B.R. 337, 359 (S.D.N.Y. 2007); In re 599 Consumer Elecs., Inc., 195 B.R. at 247–48; In re
    Jennifer Convertibles, Inc., 447 B.R. 713, 723 (Bankr. S.D.N.Y. 2011); In re Reserve Capital Corp., No. 03-
    60071–78, 2007 WL 880600, at *3–4 (Bankr. N.D.N.Y. Mar. 21, 2007); Official Comm of Unsecured
    Creditors v. Am. Tower Corp. (In re Verestar, Inc.), 343 B.R. 444, 462–63 (Bankr. S.D.N.Y. 2006); In re
    Worldcom, Inc., No. 02–13533, 2003 WL 23861928, at *35–37 (Bankr. S.D.N.Y. Oct. 31, 2003); In re
    I.R.C.C., Inc., 105 B.R. 237, 241–42 (Bankr. S.D.N.Y. 1989); see also In re Bonham, 229 F.3d at 766. In In re
    Owens Corning, the Third Circuit also followed the Second Circuit’s test, which it recharacterized as follows:
    “what must be proven (absent consent) concerning the entities for whom substantive consolidation is sought is
    that (i) prepetition they disregarded separateness so significantly their creditors relied on the breakdown of
    entity borders and treated them as one legal entity, or (ii) postpetition their assets and liabilities are so
    scrambled that separating them is prohibitive and hurts all creditors.” In re Owens Corning, 419 F.3d 195, 211
    (3d Cir. 2005) (footnotes omitted). In expanding on the “corporate separateness” prong of the Augie/Restivo
    tests, the Third Circuit held that a prima facie case for substantive consolidation exists when, based on the
    parties’ prepetition dealings, a proponent can prove “corporate disregard creating contractual expectations of
    creditors that they were dealing with debtors as one indistinguishable entity.” Id. at 212. (footnote omitted).
    To this end, proponents of substantive consolidation “must also show that, in their prepetition course of
    dealing, they actually and reasonably relied on debtors’ supposed unity.” Id. An opponent of consolidation
    can defeat this prima facie showing by proving it is “adversely affected and actually relied on debtors’
    separate existence.” Id. With respect to the entanglement test, the Third Circuit held that a proponent of
    substantive consolidation must demonstrate that every creditor will benefit from consolidation and, moreover,
    “the benefit to creditors should be from cost savings that make assets available rather than from the shifting of
    assets to benefit one group of creditors at the expense of another.” Id. at 214. Benefit to only some creditors or
    administrative benefit to the court “falls far short” of that necessary to justify substantive consolidation. Id.

                                                     VII-A-70
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              A Pg 71 of 85




 the “corporate separateness” test, including, inter alia: (1) operation under unified direction
 and control; (2) failure to observe corporate formalities; (3) dissemination of consolidated
 financial information to creditors; (4) use of consolidated cash management systems; and (5)
 whether one entity was run in the interest of another.363

                   (1) Review Of Augie/Restivo

      In the Augie/Restivo case, Union Savings Bank (“Union”) extended credit to Augie’s
 Baking Company (“Augie’s”). Thereafter, Augie’s entered into an agreement with Restivo
 Brothers Bakers, Inc. (“Restivo”) pursuant to which Restivo acquired all of Augie’s stock in
 exchange for fifty percent of Restivo’s stock. After the stock exchange, Restivo changed its
 name to Augie/Restivo Baking Company, Ltd. (“Augie/Restivo”). Augie/Restivo became the
 sole operating company, but Augie’s was not dissolved. Shortly after the name change,
 Manufacturers Hanover Trust Company (“MHTC”) lent funds to Augie/Restivo, at the same
 time requiring a guarantee from Augie’s. (MHTC had previously lent money to Restivo as
 well.) During this period, various other trade creditors extended credit to Augie/Restivo.364

      The next year, Augie/Restivo and Augie’s were forced into bankruptcy. In bankruptcy,
 the debtors sought the substantive consolidation of Augie/Restivo and Augie’s, which was
 granted over Union’s objection. Union appealed.365

      In considering Union’s appeal, the court of appeals reviewed the considerations of other
 courts in determining whether substantive consolidation was warranted and distilled those
 considerations into the two alternative tests noted above—the corporate separateness test and
 the entanglement test.366

     In reviewing the corporate separateness test, the court of appeals asserted that creditors’
 expectations at the time of lending funds to a debtor create “significant equities,” and lender
 expectations in the case before it did not justify substantive consolidation. The court of
 appeals noted that at the time that Union lent money to Augie’s, the loan was based solely on
 Augie’s financial condition and, at that time, Union had no knowledge of the merger
 negotiations between Augie’s and Restivo. It was only after Union became a creditor of
 Augie’s that Augie’s and Restivo merged. The court of appeals also noted that MHTC, like
 Union, operated on the assumption that it was dealing with separate entities when it loaned
 363 See In re The Leslie Fay Cos., 207 B.R. 764, 771, 780 (Bankr. S.D.N.Y. 1997); In re Lionel L.L.C., No. 04-

    17324, 2008 Bankr. LEXIS 1047, at *31 (Bankr. S.D.N.Y. Mar. 31, 2008) (finding that, “[a]s a result of the
    Debtors’ integrated and interdependent operations, substantial intercompany guaranties, common officers and
    directors, common control and decision making, reliance on a consolidated cash management system, and
    dissemination of principally consolidated financial information to third parties, the Debtors believe that they
    operated, and creditors dealt with the Debtors, as a single, integrated economic unit.”); cf. In re 599 Consumer
    Elecs., Inc., 195 B.R. at 249 (consolidation was not appropriate under the first prong of the Augie/Restivo test
    where there was no evidence of creditor confusion as to the debtors’ separateness).
 364 In re Augie/Restivo Baking Co., 860 F.2d at 516–17.

 365 Id. at 517.

 366 Id. at 518. The Second Circuit reaffirmed these tests in FDIC v. Colonial Realty Co., 966 F.2d 57, 61 (2d Cir.

    1992).

                                                     VII-A-71
12-12020-mg          Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                               A Pg 72 of 85




 money to Augie/Restivo, evidenced by its request that Augie’s guarantee the debt of Augie/
 Restivo. With these circumstances, even though other trade creditors may have believed they
 were dealing with a single entity in extending credit to Augie/Restivo, consolidation was not
 warranted.367

      In reviewing the “entanglement test,” the court of appeals established a stringent standard
 for the degree to which the debtors’ affairs need to be obscured by commingled funds or lax
 corporate form before consolidation is appropriate. Reversing the lower court’s substantive
 consolidation order, the court of appeals held:

                    Resort to consolidation in such circumstances [corporate
                    affiliates with commingled assets and business functions],
                    however, should not be Pavlovian. Rather, substantive
                    consolidation should be used only after it has been determined
                    that all creditors will benefit because untangling is either
                    impossible or so costly as to consume the assets . . . .
                    Commingling, therefore, can justify substantive consolidation
                    only where “the time and expense necessary even to attempt to
                    unscramble them [is] so substantial as to threaten the realization
                    of any net assets for all the creditors” . . . or where no accurate
                    identification and allocation of assets is possible. In such
                    circumstances, all creditors are better off with substantive
                    consolidation.368

       Under the “entanglement” analysis, poor or nonexistent record keeping of separate assets
 (particularly cash and other liquid assets) and liabilities and interaffiliate transactions is one of
 the more common reasons for imposing substantive consolidation. When the combination of
 affiliates’ assets, liabilities and business affairs is so “hopelessly entangled” that segregation is
 either prohibitively expensive or impossible, courts are more willing to grant substantive
 consolidation. The degree of entanglement is the central question to be examined because the
 potentially prejudicial effect of substantive consolidation is not likely to be justified based on
 mere contentions of administrative convenience.369



 367 See In re Augie/Restivo Baking Co., 860 F.2d at 519.

 368 See id. (citations omitted).

 369 See Windels Marx Lane & Mittendorf, LLP v. Source Enters., Inc. (In re Source Enters., Inc.), 392 B.R. 541,

    553–54 (S.D.N.Y. 2008) (“The question, of course, is not whether some affairs were not entangled, but rather
    whether the commingling in this case was so pervasive that ‘the time and expense necessary even to attempt
    to unscramble’ the debtors’ books would be ‘so substantial as to threaten the realization of any net assets for
    all the creditors . . .’ or where no accurate identification and allocation of assets is possible.’”) (citing In re
    Augie/Restivo Baking Co., 860 F.2d at 519). See also In re Owens Corning, 419 F.3d 195, 214 (3d Cir. 2005)
    (“Neither the impossibility of perfection in untangling the affairs of the entities nor the likelihood of some
    inaccuracies in efforts to do so is sufficient to justify consolidation.”).

                                                      VII-A-72
12-12020-mg        Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              A Pg 73 of 85




              d. Review Of Evidence Relating To Claim Of Substantive Consolidation

                  (1) AFI’s Eligibility For Substantive Consolidation

      As an initial matter, the fact that AFI is not a debtor under title 11 would not prevent the
 Bankruptcy Court from ordering the substantive consolidation of AFI’s assets and liabilities
 with those of the Debtors in these bankruptcy cases, assuming the circumstances warranted the
 extraordinary remedy of substantive consolidation.

      While there is some disagreement among courts as to whether a non-debtor may be
 substantively consolidated with other debtors,370 the majority of courts, including those in the




 370 Some courts have raised jurisdictional concerns or asserted that substantive consolidation should not be used

    to bypass the requirements to place an entity into a bankruptcy proceeding involuntarily. See In re Pearlman,
    462 B.R. 849 (Bankr. M.D. Fla. 2012) (noting among things that substantive consolidation of a non-debtor
    into a debtor would “circumvent” Bankruptcy Code section 303’s procedures for involuntary bankruptcy
    proceedings); Helena Chem. Co. v. Circle Land and Cattle Corp. (In re Circle Land and Cattle Corp.), 213
    B.R. 870 (Bankr. D. Kan. 1997) (dismissing complaint seeking to substantively consolidate assets of debtor’s
    corporate parent company with debtor’s estate on basis that to grant relief would be contrary to the
    Bankruptcy Code limitations on an involuntary bankruptcy filing and outside the bankruptcy court’s
    jurisdiction); Weinman v. Hamilton Props. Corp. (In re Hamilton), 186 B.R. 991 (Bankr. D. Colo. 1995)
    (dismissing complaint seeking to “reverse pierce” the corporate veil to hold non-debtor entity liable for
    individual debtor’s liabilities); In re Julien Co., 120 B.R. 930 (Bankr. W.D. Tenn. 1990) (denying motion to
    amend petition to add debtor’s shareholder as “debtor” based upon substantive consolidation theory);
    Goldman v. Haverstraw Assoc. (In re R.H.N. Realty Corp.), 84 B.R. 356 (Bankr. S.D.N.Y. 1988) (same); In re
    DRW Prop. Co. 82, 54 B.R. 489 (Bankr. N.D. Tex. 1985) (denying application for substantive consolidation
    of 109 related non-debtor partnerships with estate of affiliated debtor); In re Alpha & Omega Realty, Inc., 36
    B.R. 416 (Bankr. D. Idaho 1984) (denying motion to substantively consolidate non-debtor partnership with
    estate of affiliated debtor raising jurisdictional concerns and the issue that consolidation would violate due
    process rights otherwise protected by Bankruptcy Code section 303); Kurt A. Mayr, Back to Butner’s Basic
    Rule—the Fundamental Flaw of Nondebtor Substantive Consolidation, 16 NORTON J. BANKR. L. & PRAC., 77
    (Feb. 2007) (citing cases). See also United States v. AAPC, Inc. (In re AAPC, Inc.), 277 B.R. 785 (Bankr. D.
    Utah 2002) (ordering that notice of requested consolidation be given to all creditors of non-debtor and
    requesting that parties brief the issue of how and under what circumstances the provisions and safeguards of
    Bankruptcy Code section 303 may be defeated by Bankruptcy Code section 105 for purposes of consolidating
    a non-debtor individual into a corporate bankruptcy); In re Horsley, No. 99–30458, 2001 WL 1682013
    (Bankr. D. Utah Aug. 17, 2001) (questioning propriety of proposed substantive consolidation of non-debtor
    with individual debtor control person of non-debtor); Raslavich v. Ira S. Davis Storage Co. (In re Ira S.
    Davis, Inc.), Bankr. No. 92-14259S, Adv. No. 93-0530S, 1993 WL 384501 (E.D. Pa. Sept. 22, 1993)
    (clarifying that prior Lease-A-Fleet decision should be read to render non-debtor substantive consolidation
    “doubtful in any circumstances”) (emphasis in original); Morse Operations, Inc. v. Robins Le-Cocq, Inc. (In
    re Lease-A-Fleet, Inc.), 141 B.R. 869, 872–78 (Bankr. E.D. Pa. 1992) (noting “conceptual difficulties” in
    consolidating a non-debtor with debtor and suggesting that more conventional, expressly Code-sanctioned
    methods are preferable).

                                                    VII-A-73
12-12020-mg         Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 74 of 85




 Second Circuit, have permitted the substantive consolidation of non-debtor entities with a
 debtor pursuant to the same standard applicable to the consolidation of multiple debtors.371

                   (2) Standard For Substantive Consolidation—Augie/Restivo

      The Second Circuit’s standard for substantive consolidation, as articulated in the Augie/
 Restivo cases, will govern the Court’s review of whether substantive consolidation is
 warranted in these circumstances.372 As discussed in Section VII.A.2.c, the court of appeals
 created two alternative tests to determine when substantive consolidation is warranted.373

                       (a) “Corporate Separateness” Test

      The Examiner concludes that the evidence does not support the proposition that creditors
 reasonably relied on ResCap and AFI as a single economic unit at the time they extended
 credit to ResCap. Actions by creditors after they extended credit to ResCap that demonstrate a
 hope or expectation that such debt will be satisfied by AFI will not satisfy the corporate
 separateness test.

 371 See, e.g., Alexander v. Compton (In re Bonham), 229 F.3d 750, 765 (9th Cir. 2000) (noting that the
    substantive consolidation of a debtor with non-debtors is within the equitable powers of the bankruptcy court
    and citing cases); Soviero v. Franklin Nat’l Bank of Long Island, 328 F.2d 446 (2d Cir. 1964) (permitting
    consolidation of assets and liabilities of fourteen non-debtors into debtor in bankruptcy); Kapila v. S & G Fin.
    Servs., LLC, (In re S & G Fin. Servs. of S. Fla., Inc.), 451 B.R. 573, 580–82 (Bankr. S.D. Fla. 2011) (holding
    that allegations in complaint seeking substantive consolidation with non-debtors were sufficient to withstand
    motion to dismiss); Logistics Info. Sys., Inc. v. Braunstein (In re Logistics Info. Sys., Inc.), 432 B.R. 1, 10–11
    (Bankr. D. Mass. 2010) (holding that substantive consolidation with a non-debtor was warranted under the
    Auto-Train and veil-piercing test and noting that the majority of courts have found non-debtor consolidation
    to be appropriate in some circumstances); see also In re Owens Corning, 419 F.3d at 208 n.13. (noting that
    courts “have not restricted the remedy to debtors, allowing the consolidation of debtors with non-debtors,”
    and citing cases); Majik Market v. TOC Retail, Inc. (In re Munford, Inc.), 115 B.R. 390, 397–98 (Bankr. N.D.
    Ga. 1990) (denying motion to dismiss debtor’s action to substantively consolidate non-debtor licensee and
    management services company after determining that complaint’s allegations sufficiently asserted grounds for
    relief under the Augie/Restivo substantive consolidation test); cf. Official Comm of Unsecured Creditors v.
    Am. Tower Corp. (In re Verestar, Inc.), 343 B.R. 444, 463 (Bankr. S.D.N.Y. 2006) (stating, “[a]lthough there
    is some authority to the contrary, it is assumed that in an appropriate case, it would be possible for the
    bankruptcy court to substantively consolidate debtor and non-debtor entities.”); Creditors Servs. Corp. v.
    Cooley (In re Creditors Servs. Corp.), 182 F.3d 916 (Table), No. 98-3838, 1999 WL 519296, at *1–2 (6th Cir.
    July 15, 1999) (unpublished decision). Some courts have suggested that a stricter standard would apply. See,
    e.g., Wells Fargo Bank of Tex. N.A. v. Sommers (In re Amco Ins.), 444 F.3d 690, 695–96 n.3 (5th Cir. 2006)
    (recognizing that some courts “have cautioned that ‘as careful as the courts must be in allowing substantive
    consolidation of debtors to occur . . . , the caution must be multiplied exponentially in a situation where a
    consolidation of a debtor’s case with a non-debtor is attempted.”) (quoting In re Lease-A-Fleet, 141 B.R.
    872).
 372 Substantive consolidation is a creation of federal bankruptcy law and its analysis is not driven by state law.

    Therefore, the fact that AFI is a Delaware company with its principal office located in Michigan will not
    require application of law outside the circuit where the bankruptcy cases are pending.
 373 Augie/Restivo Baking Co., 860 F.2d at 518. The Second Circuit reaffirmed these tests in FDIC v. Colonial

    Realty Co., 966 F.2d 57, 61 (2d Cir. 1992).

                                                     VII-A-74
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              A Pg 75 of 85




       The Examiner reviews below the arguments that have been made by the parties in these
 Chapter 11 Cases with respect to whether substantive consolidation is warranted under the
 first prong of the Augie/Restivo test—whether creditors extended credit to ResCap on the
 belief that ResCap and AFI were a single economic unit.

                            (i) Lack Of Corporate Formalities

      As discussed in Section VII.A.1 in connection with the Examiner’s review of an “alter
 ego” claim, several parties in interest have asserted that AFI and ResCap operated as a single
 economic unit. Some (but not all) of the factors that support a “single entity” finding in
 connection with an alter ego claim also may be considered by courts in connection with the
 “corporate separateness” test articulated by the Second Circuit in Augie/Restivo. These
 “single entity” factors include: operation under unified direction and control, failure to
 observe corporate formalities, and consolidated financial statements.374

      In support of this prong of the test, one party in interest has asserted that ResCap and AFI
 did not observe sufficient corporate formalities, arguing that: (1) AFI and ResCap had
 overlapping directors and officers; (2) Ally Bank personnel sat on the GMAC Mortgage
 committee that managed interest rate and credit risk for all MSR investments; (3) AFI directed
 ResCap’s management, business, and legal strategies; (4) ResCap employees frequently
 shuttled between employment at different AFI entities; (5) ResCap paid for services provided
 to Ally Bank; and (6) AFI publicly admitted its control over all fundamental matters affecting
 ResCap. Wilmington Trust has likewise asserted that substantive consolidation is warranted
 because AFI and ResCap operated as an integrated single economic unit375 and that AFI and
 ResCap routinely disregarded corporate formalities.376 Wilmington Trust asserts that AFI
 executives often simultaneously held executive positions in ResCap and AFI, and employees
 often did not know for which entity they worked or from which entity they were paid.377
 Wilmington Trust alleges that ResCap employees used “Ally” email domains, AFI stationary
 and received compensation from AFI,378 and that ResCap did not file any standalone financial
 statements after 2009.379
 374 See In re The Leslie Fay Cos., 207 B.R. 764, 771, 780 (Bankr. S.D.N.Y. 1997); In re Lionel L.L.C., No. 04-

    17324, 2008 Bankr. LEXIS 1047, at *31 (Bankr. S.D.N.Y. Mar. 31, 2008) (finding that, “[a]s a result of the
    Debtors’ integrated and interdependent operations, substantial intercompany guaranties, common officers and
    directors, common control and decision making, reliance on a consolidated cash management system, and
    dissemination of principally consolidated financial information to third parties, the Debtors believe that they
    operated, and creditors dealt with the Debtors, as a single, integrated economic unit.”); cf. In re 599 Consumer
    Elecs., Inc., 195 B.R. 244, 249 (S.D.N.Y. 1996) (consolidation was not appropriate under the first prong of
    the Augie/Restivo test where there was no evidence of creditor confusion as to the debtors’ separateness).
 375 Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 31–32, 34–35; Wilmington Trust Submission

    Paper, dated Mar. 8, 2013, at 14–23, 56–58.
 376 Wilmington Trust Submission Paper, dated Oct. 24, 2012, at ¶ 30.

 377 Id. ¶¶ 4–5.

 378 Id. ¶ 5.

 379 Id. ¶ 5.



                                                     VII-A-75
12-12020-mg           Doc 3698-20        Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               A Pg 76 of 85




       The Debtors acknowledge that there is an overlap of senior employees and board
 members that would support an argument that ResCap and AFI operated as a single economic
 unit.380 The Debtors also concede that AFI and ResCap shared services and, during the three
 years prior to the Petition Date, AFI centralized corporate functions, including the IT, legal,
 procurement, risk, treasury, finance and audit departments.381 In addition, contracting was
 centralized and substantially all vendor arrangements ran through AFI.382

      Cutting against a “single economic unit” argument, however, the Debtors assert that
 ResCap maintained an independent board composed of both inside and outside directors, and
 had its own management team, its own headquarters, and its own auditors.383

      For its part, AFI argues that it and ResCap complied with corporate formalities, noting
 that AFI and ResCap had separate boards, separate corporate headquarters and facilities,
 separate financial statements, separate external auditors, separate bank accounts, and issued
 separate debt.384 Several ResCap officers have disputed any claim of conflicting loyalties.385
 ResCap’s Independent Directors testified that their duties were owed to ResCap, not AFI.386

      In Section VII.A.1.f(4), the Examiner reviews the parties’ assertions described above and
 evaluates whether ResCap and AFI observed appropriate corporate formalities. Based on the
 Examiner’s analysis and discussion in that Section, the Examiner concludes that, while a close
 question, it is more likely than not that a court would find that ResCap and AFI operated as a
 single economic unit for purposes of the first prong of the Augie/Restivo test (this is not a
 conclusion concerning the “single economic entity” veil-piercing test, which involves
 additional factors and different standards). But, the Examiner has uncovered no credible
 evidence that creditors dealt with ResCap and AFI as such. As discussed in Section
 VII.A.1.f(4), the evidence does not support a finding that ResCap creditors—when extending
 credit to ResCap—did so on the expectation that a single economic unit comprised of ResCap
 and AFI was responsible for ResCap’s obligations.
 380 See ResCap Presentation to Unsecured Creditors’ Committee Regarding Ally Claims Investigation and
    Settlement, dated June 8, 2012, at 20–21 [RC00067790].
 381 See id. at 22.

 382 Id. at 22.

 383 See Debtors’ Submission Paper, dated Jan. 7, 2013, at 12–13.

 384 AFI Submission Paper, dated Dec. 19, 2012, at 13.

 385 See, e.g., Dep. of T. Marano, Nov. 11, 2012, at 205:8–206:15 (explaining that he always protected ResCap’s

    interests); Dep. of J. Whitlinger, Nov. 15, 2012, at 56:9–57:12 (same); Dep. of J. Ruckdaschel, Nov. 8, 2012,
    17:25–18:4, 22:16–19 (explaining that he is a ResCap employee and that the “the client for me was always
    ResCap,” not AFI); Int. of D. Debrunner, Sept. 13, 2012, at 72:19–74:14 (explaining that as a member of
    ResCap’s board of directors he acted in the interests of ResCap).
 386 See, e.g., Int. of E. Smith, Nov. 30, 2012, at 139:12–20 (rejecting the notion that ResCap’s independent

    directors were anything other than protectors of ResCap’s best interests), 132:12–140:20 (concerned about
    voting in the best interest of only ResCap and its creditors when making decisions about proposed Affiliate
    Transactions); Int. of T. Melzer, Oct. 10, 2012, at 55:21–56:8, 104:1–16 (same); Int. of K. Hirtler-Garvey,
    Dec. 20, 2012, at 94:21–5:19 (explaining that she acted to protect the interests of ResCap, its creditors, and its
    stakeholders), 105:2–107:20 (rejecting suggestion of divided loyalty).

                                                     VII-A-76
12-12020-mg     Doc 3698-20       Filed 05/13/13 Entered 05/13/13 17:08:13             Section VII
                                        A Pg 77 of 85




                       (ii) Trading Activity In ResCap’s Bonds

     The Debtors have suggested that after TARP, ResCap bondholders assumed that AFI
 would back-stop ResCap.387 As seen by the chart below, ResCap bonds jumped in price at the
 time of AFI’s receipt of TARP funding. This correlation could be used to argue that
 bondholders assumed AFI would use some or all of the TARP funds for ResCap’s benefit.




     The Examiner is not persuaded, however, that ResCap bond pricing activity supports a
 conclusion that AFI may have agreed to satisfy ResCap obligations after TARP. The jumps in
 ResCap bond pricing in connection with AFI’s receipt of TARP funding can be readily




 387 ResCap Presentation to Unsecured Creditors’ Committee Regarding Ally Claims Investigation and
   Settlement, dated June 8, 2012, at 23 [RC00067790].

                                            VII-A-77
12-12020-mg        Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              A Pg 78 of 85




 explained by the fact that AFI announced that it would contribute some of the TARP funding
 to ResCap, not that AFI was signaling its guarantee of ResCap debt.388

       AFI at no time overtly promised ResCap bondholders that they could look to AFI for
 satisfaction. The bonds were issued pursuant to the 2005 Indenture and the June 2008
 Indentures. Those indentures stated clearly that the notes and other obligations arising under
 the indentures were solely those of ResCap and its subsidiary guarantors. AFI did not
 guarantee any of the obligations under the 2005 Indenture or June 2008 Indentures. Indeed,
 the indentures explicitly state that there is no recourse against ResCap’s stockholders for any
 obligations contained in the indentures.389 Accordingly, at the time the bondholders extended
 credit to ResCap under the 2005 Indenture and June 2008 Indentures, they could not have had
 any reasonable expectation that AFI and ResCap formed a unified source of repayment of
 ResCap’s obligations to the bondholders.

      As Moody’s observed in December 2009:

                  The US Treasury’s actions increase [AFI’s] ability to support
                  ResCap, and the $2.7 billion capital contribution represents the
                  latest in a long series of actions [AFI] has taken to provide
                  ResCap with capital and liquidity support. However, despite this
                  historical support, there remains no guarantee that [AFI] will
                  support ResCap in the future. Should parental support be




 388 See, e.g., GMAC Financial Services, Press Release, GMAC Financial Services Announces Key Capital and

    Strategic Actions (Dec. 30, 2009), http://media.ally.com/index.php?s=43&item=377 (noting that AFI would
    receive a $3.79 billion capital infusion from the U.S. Treasury and that ResCap would receive approximately
    $2.7 billion in additional capital); Karen Brettell, US CREDIT—ResCap Rallies on Capital Support, Risks
    Remain,      REUTERS,      Jan.      4,    2010,     http://www.reuters.com/article/2010/01/04/markets-credit-
    idUSN0457155120100104 (“[AFI] . . . said on Wednesday it would receive another $3.8 billion from the U.S.
    Treasury, and would inject $2.7 billion into ResCap.”). In late 2008, AFI announced its receipt of TARP
    funds and two days later noted that it had completed the notes exchange offers for certain of ResCap’s notes.
    See GMAC Financial Services, Press Release, GMAC Receives $5.0 Billion Investment from the U.S.
    Treasury (Dec. 29, 2008), http://media.ally.com/index.php?s= 43&item=299; GMAC Financial Services,
    Press Release, GMAC Announces Consummation of Its Notes Exchange Offers (Dec. 29, 2008), http://
    media.ally.com/index.php?s=43&item=301.
 389 See 2005 Indenture, § 13.01 (noting the indenture and securities were solely corporate obligations, with no

    recourse against any past, present or future incorporator, stockholder, officer or director); Junior Secured
    Notes Indenture, § 12.07 (noting that no director, officer, employee, incorporator or stockholder of ResCap or
    any of the listed guarantors would have any liability for any objections of the company of an guarantor under
    the notes, the indenture or the related guarantees); Senior Secured Notes Indenture, § 12.07 (noting that no
    director, officer, employee, incorporator or stockholder of ResCap or any of the listed guarantors would have
    any liability for any objections of the company of a guarantor under the notes, the indenture or the related
    guarantees). In 2008, ResCap was a limited liability company that did not have stock. The June 2008
    Indentures’ definitions note that “Capital Stock” includes membership interests for limited liability
    companies, making the “stockholder” reference applicable to ResCap’s members.

                                                    VII-A-78
12-12020-mg       Doc 3698-20        Filed 05/13/13 Entered 05/13/13 17:08:13                  Section VII
                                           A Pg 79 of 85




                 discontinued, we believe ResCap would eventually default on its
                 obligations and unsecured creditors would face substantial
                 losses.390

                          (iii) CDS Pricing And Credit Ratings

     The CDS spreads, set out in the exhibit below, suggest that the market viewed ResCap
 and AFI as separate and distinct entities.




      As is evidenced by this exhibit, prior to AFI’s receipt of TARP funds, the five-year CDS
 spread on ResCap’s secured debt was higher than the spread on AFI’s secured debt. The
 higher CDS spread for ResCap reflected the market’s perception that there was a greater risk
 of ResCap defaulting on its secured debt than of AFI defaulting on its secured debt. This
 difference in risk perceptions demonstrates that during this time period, the market did not
 view ResCap and AFI as a single, integrated economic unit.



 390 See Moody’s Investors Service, Press Release, Although Positive, ResCap not Stabilized by GMAC Actions

    (Dec 31, 2009) [ALLY_0215406] (emphasis added).

                                                 VII-A-79
12-12020-mg        Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              A Pg 80 of 85




      The difference in CDS spreads for ResCap’s debt and AFI’s debt continued until the third
 infusion of TARP funds. Thereafter, as discussed in Section VI.B, market prices no longer
 reflected the economic fundamentals of ResCap’s business. The CDS spreads for both
 ResCap’s debt and AFI’s debt were minimal, arguably in recognition by the market that the
 U.S. Treasury was willing to backstop each entity’s obligations, not because of any market
 perception that AFI and ResCap had morphed into a single economic unit at that point.

      Lastly, in reviewing market evidence regarding creditors’ perceptions of AFI and
 ResCap, the Examiner notes that AFI and ResCap had separate credit ratings. These credit
 ratings are reviewed in more detail in Section III.E. The rating agencies did not view AFI and
 ResCap as a single economic unit.

     The Examiner does not believe that AFI’s and ResCap’s CDS spreads and credit ratings
 support the proposition that the market viewed AFI and ResCap as a single economic unit.

                           (iv) Consolidated Financial Statements

      Wilmington Trust has also argued that ResCap’s failure to file any standalone financial
 statements after the second quarter of 2009 supports a finding that AFI and ResCap acted as a
 single economic unit.391 As discussed in Section III.I.5, in November 2009 ResCap received
 approval from the SEC to stop filing periodic and current reports under the Securities
 Exchange Act of 1934.392 Thereafter, the Debtors’ financial information was included in
 consolidated financial statements filed with AFI. The fact that the Debtors did not file separate
 financial statements, however, is not remarkable for affiliated entities.393

      AFI continued to state in its consolidated financial statements that ResCap’s financial
 troubles were not necessarily financial troubles of AFI and that AFI should not be relied upon
 to prop up ResCap. Starting in early 2009, AFI consistently asserted in its financial statements


 391 Wilmington Trust Submission Paper, dated Oct. 24, 2012, at 21, 22, 32.

 392 See  SEC No-Action Letter (Nov.             3,    2009),    http://www.sec.gov/divisions/corpfin/cf-noaction/
    2009/residentialcapital110309-12h3.htm.
 393 Note also that the ResCap Board discussed that even with deregistering ResCap, financial information (albeit

    more limited than what would be included in SEC filings) would be provided to debt investors and full
    audited financial statements would continue to be required of ResCap. See Minutes of a Special Meeting of
    the Board of Directors of Residential Capital, LLC, June 24, 2009, at RC40006226–27 [RC40005949]; SEC
    de-Registration Presentation to the ResCap Board, dated June 24, 2009, at RC40010462 [RC40010460].; see
    also Senior Secured Notes Indenture, § 4.03(b) (ResCap covenanted that if it was not required to file reports
    with the SEC, it “will maintain a non-public website on which Holders of Notes, prospective investors and
    securities analysts may access the quarterly and annual financial information of [ResCap], and [ResCap] will
    direct Holders of Notes, prospective investors and securities analysts on its publicly available website to
    contact [ResCap’s] Chief Financial Officer to obtain access to the non-public website.”); Junior Secured
    Notes Indenture, § 4.03(b) (same). Accordingly, the fact that separate financial statements were not filed for
    ResCap does not support a finding that substantive consolidation is warranted under the “entanglement”
    prong, because ResCap’s financial affairs continued to be accounted for separately from those of AFI.

                                                      VII-A-80
12-12020-mg          Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                A Pg 81 of 85




 that, while it continued to believe ResCap was an important subsidiary, AFI’s continued
 support of ResCap should not be assumed. In its Form 8-K filed January 9, 2009, AFI stated:

                    In response to various questions that have come to [AFI’s]
                    attention, [AFI] reiterates that Residential Capital, LLC
                    (“ResCap”) is an important subsidiary of [AFI], and we have
                    made significant progress in reshaping ResCap to better align it
                    with current market conditions. [AFI] believes that the support it
                    has provided to ResCap to date was in the best interests of [AFI]
                    stakeholders. If ResCap were to need additional support, [AFI]
                    would provide that support so long as it was in the best interests
                    of [AFI] stakeholders. While there can be no assurances, [AFI’s]
                    recently approved status as a regulated bank holding company
                    has increased the importance of its support for ResCap.394

      In its Form 10-K for 2008, filed on February 27, 2009, AFI reiterated that its support was
 not unlimited and that it was not guaranteeing ResCap’s obligations. In that report, AFI stated
 that “ResCap remains heavily dependent on [AFI] and its affiliates for funding and there can
 be no assurances that [AFI] or its affiliates will continue such actions”395 and that AFI “would
 provide [ResCap] support so long as it was in the best interests of [AFI’s] stakeholders.”396

     AFI made similar statements each following year noting that its contributions to ResCap
 were not assured and would be made only so long as they benefited AFI’s stakeholders.397 In
 AFI’s Form 10-K filed for year 2011, AFI noted:

                    In the future, [AFI] or ResCap may take additional actions with
                    respect to ResCap as each party deems appropriate. These
 394 GMAC LLC, Current Report (Form 8-K) (Jan. 8, 2009), Item 7.01 (emphasis added).


 395 GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 72.

 396 Id.

 397 See GMAC Inc., Annual Report (Form 10-K) (Feb. 26, 2010), Note 1, at 128.


           “ResCap remains heavily dependent on [AFI] and its affiliates for funding and capital support, and
           there can be no assurance that [AFI] or its affiliates will continue such actions or that [AFI] will be
           successful in executing one or more sales, spin-offs, or other potential transactions with respect to
           ResCap. Although our continued actions through various funding and capital initiatives demonstrate
           support for ResCap, other than as described above, there are currently no commitments or
           assurances for future funding and/or capital support. Consequently, there remains substantial doubt
           about ResCap’s ability to continue as a going concern. Should we no longer continue to support the
           capital or liquidity needs of ResCap or should ResCap be unable to successfully execute other
           initiatives, it would have a material adverse effect on ResCap’s business, results of operations, and
           financial position.”
    See also Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), Item 1A, at 21 (“ResCap remains
    heavily dependent on [AFI] for funding and capital support, and there can be no assurance that [AFI] will
    continue to provide such support.”); Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), Note 1,
    at 128.

                                                      VII-A-81
12-12020-mg         Doc 3698-20         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              A Pg 82 of 85




                   actions may include [AFI] providing or declining to provide
                   additional liquidity and capital support for ResCap . . . . ResCap
                   remains heavily dependent on [AFI] and its affiliates for funding
                   and capital support, and there can be no assurance that [AFI] or
                   its affiliates will continue such actions or that [AFI] will choose
                   to execute any further strategic transactions with respect to
                   ResCap or that any transactions undertaken will be successful.
                   Consequently, there remains substantial doubt about ResCap’s
                   ability to continue as a going concern. Should [AFI] no longer
                   continue to support the capital or liquidity needs of ResCap or
                   should ResCap be unable to successfully execute other
                   initiatives, it would have a material adverse effect on ResCap’s
                   business, results of operations, and financial position.398

      The Examiner concludes that ResCap’s failure after 2009 to file separate financial
 statements with the SEC does not support a finding that substantive consolidation of AFI and
 ResCap is warranted.

                            (v) Lack Of Guarantees

      Some courts have cited to the presence of guarantees as a sign that creditors did not rely
 on the separate identity of the entities when extending credit to one.399 If AFI had guaranteed a
 significant amount of ResCap’s obligations, ResCap’s creditors could argue they reasonably
 relied on the combined creditworthiness of ResCap and AFI. From ResCap’s inception,
 however, AFI made clear that it was not providing a guarantee of ResCap’s obligations. The
 2005 Operating Agreement expressly states that the agreement is not a guarantee by GM or
 AFI of ResCap’s indebtedness.400




 398 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), Note 1, at 128 (emphasis added).

 399 See In re Vecco Constr. Indus., Inc., 4 B.R. 407, 410 (Bankr. E.D. Va. 1980) (stating and elaborating on seven

    factors); see also In re Mortgage Inv. Co., 111 B.R. 604, 610 (Bankr. W.D. Tex. 1990) (applying Vecco
    factors); Gould v. Bank of N.Y. (Holywell Corp. v. Bank of N.Y.), 59 B.R. 340, 347 (S.D. Fla. 1986) (same).
    But see In re Owens Corning, 419 F.3d 195, 212–13 (3d Cir. 2005) (noting it is not unusual for entities to
    demand (and obtain) guarantees from affiliated entities in finance transactions and the presence of guarantees
    by themselves do not evidence a prepetition disregard of an entity’s separateness).
 400 See 2005 Operating Agreement, § 7 [ALLY_0140795] (“This Agreement is not, and shall not be construed to

    be, a guarantee by GM or [AFI] of any indebtedness of ResCap or an agreement by GM or [AFI] to contribute
    additional capital to ResCap.”).

                                                    VII-A-82
12-12020-mg        Doc 3698-20          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              A Pg 83 of 85




      The Examiner is aware of only one guarantee issued by AFI for the benefit of Ally Bank,
 which guaranteed the repayment of obligations of GMAC Mortgage to Ally Bank under the
 MMLPSA, MSR Swap, the Pipeline Swap and the Original Servicing Agreement.401 As
 discussed in Section V.B.9, on October 5, 2010, and in response to FDIC pressures, AFI
 provided a guarantee to Ally Bank of all of GMAC Mortgage’s obligations under the Original
 Servicing Agreement and the MSR Swap.402 In April 2011, and again in response to continued
 FDIC concern about Ally Bank’s exposure to GMAC Mortgage, AFI reaffirmed its October 5,
 2010 Guarantee, extending its scope to include the Pipeline Swap and the MMLPSA.403

       The presence of a guarantee, properly documented, by itself does not evidence a disregard
 of an entity’s separateness. The fact that Ally Bank required the documentation of AFI’s
 guarantee of GMAC Mortgage’s obligations can be cited as an indication that Ally Bank was
 acutely aware of the separateness of GMAC Mortgage and AFI and was not relying on the
 treatment of GMAC Mortgage and AFI as a single economic unit.404 Finally, this guarantee was
 issued only to Ally Bank. Any other creditor would be hard-pressed to prove that it reasonably
 relied on an AFI guarantee to Ally Bank in extending its own credit to the Debtors.

                       (b) “Entanglement” Test

     The Examiner concludes that the evidence does not support the proposition that AFI’s
 and ResCap’s affairs are so hopelessly entangled and confused that substantive consolidation
 would benefit all creditors.

       Under the Augie/Restivo “entanglement” analysis, poor or nonexistent record keeping of
 separate assets (particularly cash and other liquid assets) and liabilities and interaffiliate
 transactions is one of the more common reasons for imposing substantive consolidation. When
 affiliates’ assets, liabilities and business affairs are so “hopelessly entangled” that segregation
 is either prohibitively expensive or impossible, courts are more willing to grant substantive
 consolidation.




 401 Letter from J. Mackey to Ally Bank (Apr. 1, 2011) [RC00067937] (amending the agreements covered by the

    guarantee to included, inter alia, “the Confirmation of the Swap Relating to Loans in the Held For Sale
    Portfolio, dated April 1, 2011”). As discussed above, even if AFI had issued guarantees of more of ResCap’s
    obligations, such guarantees would not necessarily evidence a prepetition disregard of an entity’s
    separateness. See, e.g., In re Owens Corning, 419 F.3d at 212–13. It is not unusual for entities to demand (and
    obtain) guarantees from affiliated entities in finance transactions.
 402 Letter from J. Mackey to Ally Bank (Oct. 5, 2010) [ALLY_0018084].

 403 Letter from J. Mackey to Ally Bank (Apr. 1, 2011) [RC00067937].

 404 See In re Owens Corning, 419 F.3d at, 212–13 (noting it is not unusual for entities to demand (and obtain)

    guarantees from affiliated entities in finance transactions and the presence of guarantees by themselves do not
    evidence a prepetition disregard of an entity’s separateness).


                                                    VII-A-83
12-12020-mg           Doc 3698-20       Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              A Pg 84 of 85




                            (i) 2005 Operating Agreement And 2006 Amended Operating
                                Agreement
       As discussed in Section III.B.3, ResCap entered into the 2005 Operating Agreement in order
 to erect a “firewall” between GM and GMAC, and ResCap.405 Section 2(f) of the 2005 Operating
 Agreement included many of the provisions used to mitigate the risk of substantive consolidation.
 In particular, the 2005 Operating Agreement provided that ResCap shall at all times:
         •    Maintain its books, records, and financial statements separate from those of any and
              all AFI affiliates;
         •    Maintain its assets in a manner such that it would not be costly to segregate and
              identify such assets from those of any and all AFI affiliates;
         •    Maintain bank accounts and cash management and account receivable collections
              systems separate from any and all AFI affiliates;
         •    Maintain its own asset investment, risk management, and hedging programs separate
              for those of any and all AFI affiliates;
         •    Pay its own liabilities out of its own funds;
         •    Conduct the business operations of ResCap and its subsidiaries by its or their own
              employees and officers, who will not also be employees or officers of any AFI
              affiliate;406
         •    Not commingle funds or other assets with those of any AFI affiliate; and
         •    Otherwise take such action so that ResCap will maintain its separate legal existence
              and identity.407
      The 2006 Amended Operating Agreement continued to include many of these
 separateness provisions, removing only the requirement that ResCap have employees that
 were not also employees of other AFI affiliates (as defined in the 2005 Operating
 Agreement).408
      The 2006 Amended Operating Agreement did provide that ResCap and its Subsidiaries
 (as defined in the 2006 Amended Operating Agreement) could use trademarks and names of
 AFI affiliates (as defined in the 2006 Amended Operating Agreement) notwithstanding these
 separateness covenants.409
 405 Int. of B. Paradis, Dec. 14, 2012, at 40:15–17 (“The primary concern of the rating agencies was the ‘firewall’

    or the independence between [AFI] and ResCap.”).
 406 This separateness provision in the 2005 Operating Agreement was deleted in the 2006 Amended Operating

    Agreement.
 407 See 2005 Operating Agreement, § 2(f) [ALLY_0140795].

 408 See 2006 Amended Operating Agreement, § 2(e).

 409 See id. § 2(e)(ix).



                                                    VII-A-84
12-12020-mg         Doc 3698-20   Filed 05/13/13 Entered 05/13/13 17:08:13            Section VII
                                        A Pg 85 of 85




      While it may be argued that ResCap did not fully comply with all provisions of the 2005
 Operating Agreement and 2006 Amended Operating Agreement (particularly in entering into
 transactions with affiliates),410 the Investigation has not uncovered any material evidence that
 ResCap failed to account for its assets and liabilities separately from those of AFI. The
 Debtors maintained separate accounts, books and records and the Examiner has not found the
 Debtors’ financial affairs to be commingled, much less “hopelessly commingled,” with those
 of AFI such that substantive consolidation of AFI into the Debtors would benefit all creditors.

              e. Examiner’s Conclusion

      Based on the foregoing, the Examiner concludes it is unlikely that a proponent of
 substantive consolidation of AFI with and into the Estate of any Debtor would prevail.




 410 See Section VII.L.



                                            VII-A-85
